Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page1of191
[Page 1]
November 1, 2022

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

eee a sib ace aes oe See Se SSIES SL EEK EE ek oH ete ees Be en EL ee eee ee x
YEHUDA SIGALIT,
Plaintiff(s),
Docket No. 21-CV-8921 (AT)
-against-
JOSSEF KAHLON,
Defendant(s).
SS NE a ee a
JOSSEF KAHLON,
Counterclaim-Plaintiff,
-against-
YEHUDA SIGALIT AND AVRAHAM YEHUDA,
Counterclaim-—Defendants.
ie a oa

CONTINUED DEPOSITION of the Defendant, JOSSEF
KAHLON, taken by the Plaintiff, held remotely via
Zoom/LegalView Videoconferencing, on November 1,
2022, at 10:10 a.m., before a Notary Public of the

State of New York.

KKK KKKKEKKEREKRAEKRKREAEKAKAKRRAR KKK KAKA KAKA KKK KKK KKK KEKE

Lexitas Court Reporting
800-678-0166
Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23

Page 2 of 191

[Page 2]
November 1, 2022
(1)
(2) APPEARANCE 8:
(3) GORDON & HAFFNER, LLP
(4) Attorney for Plaintiff
(5) 480 Mamaroneck Avenue
(6) Harrison, New York 10528
(7) BY: STEVEN HAFFNER, ESQ.
(8)
(9)
(10) NAIDICH WURMAN LLP
(11) Attorney for Defendant JOSEPH KAHLON
(12) 111 Great Neck Road
(13) Great Neck, New York 10022
(14) BY: RICHARD NAIDICH, ESQ.
(15)
(16) ALSO PRESENT:
(17) AVRAHAM YEHUDA
(18)
(19)
(20)
(21)
(22)
(23)
(24)
(25)

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 3of191

(1)
(2)

(16)

(17
(18
(19
(20
(21
(22
(23
(24
(25

Sa ea ea ea a

[Page 3]
November 1, 2022

IT IS FURTHER STIPULATED AND AGREED by
and between counsel for all parties present that
Pursuant to CPLR section 3113(d) this deposition is
being conducted by video conference, that the court
reporter, all counsel, and the witness are all in
separate remote locations and participating via
Videoconferencing (LegalView/Zoom) meeting under the
control of Lexitas Court Reporting Service, that the
officer administering the oath to the witness need
not be in the place of the deposition and the
witness shall be sworn in remotely by the court
reporter after confirming the witnesses identity,
that this video conference will not be recorded in
any manner and that any recording without the
express written consent of all parties shall be
considered unauthorized, in violation of law, and
shall not be used for any purpose in this litigation

or otherwise.

IT IS FURTHER STIPULATED that exhibits may be
marked by the attorney presenting the exhibit to the
witness, and that a copy of any exhibit, presented
to a witness shall be emailed to or otherwise in
possession of all counsel prior to any questioning
of a witness regarding the exhibit in question. All
parties shall bear their own costs in the conduct of
this deposition by video conference, notwithstanding
the obligation by CPLR to supply a copy of the
transcript to the deposed party by the taking party
in civil litigation matters.

XXXXX

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 4of191

[Page 4]
November 1, 2022

S T I PU LATION §S
IT IS HEREBY STIPULATED AND AGREED by and between
the attorneys for the respective parties herein,
that filing, sealing and certification, and the same

are, hereby waived.

IT IS FURTHER STIPULATED AND AGREED that all
objections except as to the form of the question,

shall be reserved to the time of the trial.

IT IS FURTHER STIPULATED AND AGREED that the
within deposition may be signed and sworn to by an
officer authorized to administer an oath, with the
same force and effect as if signed and sworn to

before the Court.

XXXKX

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 5of191

[Page 5]
November 1, 2022

J. Kahlon
JOs S E F K A HLON ,
having been first duly sworn before a Notary
Public of the State of New York, was examined
and testified as follows:

BY THE REPORTER:

Q State your name for the record.

A Jossef Kahlon.

Q What is your address?

A 9 Stream Court, Great Neck, New York
11023.

EXAMINATION BY
BY MR. HAFFNER:
Q Good morning, Mr. Kahlon.

You know what this is about we went
through all this last week. T'll just ask
one question, this is just what lawyers do:

Are you under any medication or do you
have any physical or mental condition today
that would interfere with your testimony or
the accuracy or completeness of your answers?
A No.

Q Last week we had -- picking up from
last week we had an issue about the amount of

the disgorgement that the District Court

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 6of191

[Page 6]
November 1, 2022

J. Kahlon
ordered and the Fifth Circuit affirmed. Over
the weekend I took a look at the decisions
it's actually in the Eastern District of
Texas District Court decision and it's also
in the Fifth Circuit's decision on the first
page summarizing what happened at the
District Court, and the amount was about $7
million plus three judgment interest of about
a million, A million and a half. Is that
consistent with your recollection?
A It's like all together about 10
million, yes.
Q I ended up just under nine, but that's
about right. It's in the opinions.

Now, I believe in your answer or maybe
it was in the counterclaim portion of your
answer filed in this case, you allege that
you had to only pay 2 million -- a $2 million
number.

Do you remember settling with the SEC

after the Fifth Circuit decision?

A Yes, and it's close to 3 million.
Q Close to 3 million?
A Yes.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 7 of 191

[Page 7]
November 1, 2022

J. Kahlon
Q Can you break that up for me, that 3
million?
A What do you mean?
Q It was just 3 million. Was the
settlement broken down into the interest,

disgorgement, penalties?

A No, it was just like 3 million.

Q Approximately 3 million, okay.

A It's not the exact number.

Q IT understand it's not an exact number.

We'll just leave it right now approximately 3
million.

And that's part of the reason why you
were asking for a setoff or actually a
counterclaim, an affirmative judgment,
against Mr. and Mrs. Sigalit for about 1.6

million; is that correct?

A I believe so. I'm not sure about the
number.
Q Whenever I ask you a question about an

amount, I may in the question say
approximately and then you don't have to
worry about it. But if I don't, if I say a

specific number you don't have to remember

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 8 of 191

[Page 8]
November 1, 2022

J. Kahlon
without me showing you documents as you sit
here today that that was the exact number.
You can say approximately and that's what.
A Okay.
Q So I'm curious. The SEC spends a
significant amount of money, I'm assuming,
prosecuting these violations. They go
through motions in the District Court, and
twice before the District Court, then you
appeal and the Fifth Circuit affirms the
penalties that we spoke about approximately
$9 million, 10. $9 million.

Why did the SEC settle for 3 million?
I'm glad that they did, I'm sure you are as
well, but, wow, I mean they already had an
award affirmed by a Federal Circuit Court of
Appeals.

Do you know why they agreed to settle
for about a third of that amount? Was there
a collectability issue that got them to take
the money and run?

A So I'll try to explain to you exactly
what it is there. Something that I wasn't

familiar until after the judgment somebody

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 9of191

[Page 9]
November 1, 2022

J. Kahion
actually enlightened me and that's how I
negotiated with them.
Because it's a civil matter, civil
case, the SEC doesn't matter what they win,

they're not allowed to take off your

livelihood. Your livelihood have to stay
intact.

Q You said your livelihood, right?

A Yes, yes. Because it wasn't a crime.
It wasn't a criminal action. So I showed

them all the assets I had and we negotiate --
actually it was very easy. I didn't have to
pay the whole 10 million. I showed them what
I have, and they asked me how much I can pay
without changing my lifestyle, that's what
happened. I guess that's why also the judge
is easy to like convict in those cases. It's
easy for them to give and they know that you
actually can negotiate. Something I didn't
know beforehand.
MR. HAFFNER: Try to talk a
little slower so the court reporter
can get down what you say. I need you

to slow down.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 10 of 191

[Page 10]
November 1, 2022

J. Kahlon
(At this point in time, a
discussion was held off the record.)
Q As I suspected, it was a
collectibility issue. You negotiated because
you showed them your assets, financial
statements, whatever you did and they agreed
to cut it by approximately two-thirds; is

that a fairly accurate statement?

A Yes.
Q Another open matter. You mentioned a
meeting in a car with Mr. Yehuda. I think

initially you may have testified it was
around 2008, 2007, and then when I showed you
some documents, and you don't have to accept
this as gospel, this is just my recollection,
tell me if I'm wrong, I believe you testified
when I showed you the document that it was in
2004.

I believe the document I showed you
was Exhibit A to our Complaint which was the
membership transfer agreement, transferring
50 percent of TJ Management to Sigalit
Yehuda.

So, I did some checking with the New

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 11 of 191

[Page 11]
November 1, 2022

J. Kahlon
York State DOS and saw that TJ Management
their articles, formation documents, are
dated May 21, 2003.

Here is my question: Is it possible
the meeting in the car occurred sometime
maybe in the latter part of 2003?

A I cannot be like affirm to tell you
exactly when it was. I know when TJ was
opened, when I formed TJ, we were involved
from the very beginning. This company did
not open together with Yehuda. I opened TJ
before we formed this kind of partnership.

Q What was the reason you opened TJ
Management in May of 2003?

A I don't recall exactly. Something to
this effect, something to do some kind of
business in the finance area. I think, if I
remember right, I got offered an IPO with
this company. I think that's what TJ
Management was about. I'm not really sure.
Q Did you buy into the IPO, did TJ buy
into it?

A Yes, I bought into two IPOs, yes.

Q When did TJ buy into the two IPOs?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 12 of 191

(25)

[Page 12]
November 1, 2022

J. Kahlon
A Probably when it got firm. I'm not
sure exactly.
Q Briefly, what were the terms of these
IPO transactions?
A I don't know. It was a long time ago.
And the time got all mixed together in my
mind.
Q Other than these two IPO transactions,
how many trades or transactions did TJ have
between May of 2003 and November of 2004, if
any?
A A few. We had a few because that's
when I got together with somebody that works
as the financier, so you arrange the finance
to buy the companies, but not through the
504, through a self-registered stock.
MR. HAFFNER: Off the record.
(At this point in time, a

discussion was held off the record.)
Q Your last answer mentioned financiers.
Who were the financiers and what were they
funding?
A They were middleman. So companies

used to come to them and ask them to find

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 13 of 191

[Page 13]
November 1, 2022

J. Kahlon
people to find them -- to fund it. So I got
introduced to the guy and he showed me the
deal. But it mostly was like what he dealt
with is self-registered stock.
Q So these financiers that you
mentioned, they weren't loaning money,
correct?
A No, they were middleman.
Q They were more in line with what we
might refer to as a "broker"?
A Yes.
Q Collecting money, namely you, with
someone who needs the money, these
self-registration companies who needed, I

guess, private equity; is that accurate?

A No.
Q No, that is not how it works?
A Self-registered stock, those companies

are public already, and when they go public
part of going public was to have
self-registered stock that belongs to nobody,
belong just to the company, that is
registered for future finance.

Q So if their shares are already traded

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 14 of 191

[Page 14]
November 1, 2022

J. Kahlon

on the market, why did they need to retain,
for want of a better term, these brokers or
middlemen to find buyers?
A This happens all day long. First of
all, the company cannot sell its own stock in
the open market because they're insiders.

So they register before they go public
just for this purpose. They have stipulation
what is the minimal they can sell it for or

stuff like that.

Q Approximately when was the first 504
trade that TJ Management -- trade is not
really the right word -- transaction that TJ

Management was engaged in?
A So I believe that it was like -- I
cannot tell you the time, but not so long
after, and the way that they engaged in the
504 was through a chaotic situation.

We fund the company that we thought to
have self-registered stock, actually I
remember the name of the company, the company
name was SRGX, and who sent them §100,000. I
sent them $100,000 and the guy never sent me

the shares. That's the birth of the 504, it

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 15 of 191

[Page 15]
November 1, 2022

J. Kahlon
was kind of an accident. I chased it for a
few months. I don't recall if at this time
Yehuda was into TJ Management or not.

So it took a few months until we
reached the guy, we found him, and he told me
that he doesn't have those shares, he doesn't
have the money to give back, but if I want
any shares I should look into register in
Texas. If I have anything in Texas, because
if I have anything in Texas, the exceptions
the state, the city and the federal together
produce an exemption that ending up with the
free-trading shares.

So at that time I already have the
land in Texas. We already had the land in
Texas, so that's how we arranged receiving
the shares, this was the birth of the 504
deed for TJ Management.

Q So was this one of eleven 504
transactions that TJ entered into or were
there more?

A What do you mean eleven?

Q Well, I looked at the SEC's complaint

and the SEC identified eleven 504

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 16 of 191

[Page 16]
November 1, 2022

J. Kahlon
transactions.
A Oh, no, no. It was a part of it. It
was earlier.
Q With respect to all of TJ's
transactions other than the acquisition of
real property, who made the decision to
transact with these, we'll call them, 504
companies?
A I did.
Q What informed your decision to buy
whether it was eleven or fifteen, whatever
the number was, to buy into these companies
or to do these transactions?
A Can you repeat the question.
Q What informed your decision to select
these particular companies for these
transactions?
A So it was kind of an evolution. At
the beginning we started, we start looking at
the companies, we try to -- you know -- we
learned the business, we see that the
business is pretty tough about selling
shares, not selling shares.

So the main principal was if the

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 17 of 191

[Page 17]
November 1, 2022

J. Kahlon
shares, if the company have a volume trading
daily, daily volume trading, at the end of
the day it came down to that because all of
this due diligence we did and everything
wasn't really the part that make or break the
deal.
Q Is it fair to say that your primary
consideration for selecting these companies
was liguidity?
A A hundred percent.
Q With whom, if anyone, did you consult
in securities markets, finance or whatever,
to assist you with these decisions which
companies to transact with?
A You're asking if I had a consultant or
outsider or what?
Q Some sort of investment advisor or
anyone who helped you do the analysis to
decide which to buy?
A So it was a learning process as I told
you. Everyday was like a rocky beginning,
you know, not knowing who to trust, not to
trust, and later on I had a problem with

liquidity, I had a problem selling into the

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 18 of 191

[Page 18]
November 1, 2022

J. Kahlon
market because of the market maker. So I
came up with an idea of register with five,
six market maker around. I go with
Jefferies, Goldman Sachs, with Hudson,
E*Trade, all the big names, and that results
in problem that I had with unloading the
shares. So the consulting was like
self-learning as I go, as I went.
Q Other than these markets makers that
you mentioned, and other market makers you
may have forgotten, did anybody else assist
you with selecting, identifying and selecting
these companies?
A People that worked for me were cold
callers.

MR. NAIDICH: I don't believe
you're answering his question. His
question was did somebody else help
you decide which companies.

MR. HAFFNER: He answered. He
said cold callers.

Q Right, Mr. Kahlon?
A Yes.

Approximately how many cold callers

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 19 of 191

[Page 19]
November 1, 2022

J. Kahlon
did you engage?
A Three. I worked with maybe like five,
six.
Q Who decided which cold callers to work
with?
A I did.
Q Anyone else?
A No.
Q Were these cold callers paid some type

of compensation, commission, hourly,

anything?

A Yes.

Q How was their compensation determined?
A It was various between them.

Q This went on from 2004 or 5 until you

stopped transacting in these companies; is

that true?

A 2010, yes, 2011. The SEC came.
Q I'll read from the decision.
(Reading): "In May 2011 after the SEC

advised Kahlon it was considering charges
against him, he stopped conducting this form
of transaction."

Is that fairly accurate?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 20 of 191

[Page 20]
November 1, 2022

J. Kahlon
A No. Because I stopped conducting the
business when they came to me. They gave me
a Wells notice and that was a year between
the Wells notice, the answer we gave then,
and then we came back to make the charges.

So we talked after the Wells notice
was settling, we submit it, the papers and
everything, the SEC did not call me for year.
I think about 13 months. This big firm in
New York they called me and said out of the
woods everything is okay. And then a month
after that he called me and said we're
pursuing with the charges.

Q So this Wells notice was the first you
learned that the SEC was investigating these
transactions of yours or of TJ's; is that
correct?

A No. The Wells notice coming after
they're investigating. Meaning they called
me, they asked me for paperwork which is
things that happens routinely. It happens
almost every two or three months, the SEC was
calling me to get information about companies

that they had investigating and had a problem

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 21 of 191

[Page 21]
November 1, 2022

J. Kahlon
with, and after I gave them the information
that they were looking for they asked for
more information, I gave it to them. And
then they called after a few months and said
we're going to send you the Wells notice, the
letter.
Q So, do I understand correctly that you
received the Wells notice a little over a
year prior to May 2011?
A Yes.
Q But you continued to trade after the
Wells notice --
A No.
Q Oh, no, you didn't. I'm sorry, you
did not. And when you --
MR. HAFFNER: I withdraw the

question.

Q You stopped trading after you received

the Wells notice; is that correct?

A A little bit before.

Q How long before?

A A few months.

Q Is there a reason why you stopped

trading a few months before the Wells notice?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 22 of 191

[Page 22]
November 1, 2022

J. Kahlon
A Yes. I told you the investigation
start before the Wells notice.
Q So you were concerned merely by
knowing that they were investigating and so
you decided to stop trading a few months
before you even got the Wells notice; is that
accurate?
A Yes.
Q As a precaution you stopped a few

months before the Wells notice?

A Yes.

Q What was the last trade this 504-type
trade?

A I don't remember.

Q You talked about TJ acquiring this
land in Texas. Can you describe the land

that it acquired?

A It acquired three parcels in Texas.
Two large parcels on one side of the road,
one parcel on the other side of the road. It
wasn't directly acquiring the land, it was
part of a loan and we gave the company named
NXSO, and they put the land as the

collateral.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 23 of 191

[Page 23]
November 1, 2022

J. Kahlon
Q If I understand you, TJ Management's
business was also secured lending; is that
correct?
A As I explained to you before the land
in Texas started before we did the 504. 504
came way later. So everything collateralized

IPOs, shares, anything with collateral I

would give -- I would TIend money to then.
Q That didn't really address my
question. Let me ask you another question.

One of the things I'm trying to do here is to

try to learn what types of business or

transactions TJ engaged in at various times.
So far I know TJ engaged in securities

transaction among which were 504s, correct?

A There is a time chronology.

Q If you want to do a chronology, go
ahead.

A At the very beginning we did -- like

what I told you at the very beginning TJ did
three types of finance; they did IPOs; they
did fund companies with self-registered
stock.

Like I told you the last time like

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 24 of 191

[Page 24]
November 1, 2022

J. Kahlon
where people have options from the company
they have to exercise it, so it's to fund
them. And the self-registered stock. That's
what TJ Management did in the beginning.
That is the idea of how we start.

Now, later on I met this person that
have, you know, that had like had finance.
So introduce me to -- also the financing.
The land in Texas was part of it at that
time. So we lend money to a company NXSO.
This was before the 504 even like happened.
Maybe even before 504 existed.

So we lend this money to this company
named NXSO. I think we gave them two
tranches, lump sum of two tranches, and they
default on the loan.

Now, a third-party put the land in
Texas as a collateral for the loan. What
happened when they default for it -- do you

want me to continue?

Q Yeah, go ahead. I'm listening. Go
ahead.
A Well, you ask me a question. It's

better I answer what you ask.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 25 of 191

[Page 25]
November 1, 2022

J. Kahlon
Q So it sounds like TJ made a loan? Was
it a hard money loan? You know what that

term is, don't you?

A Yes. The loan was more U.S. shares,
the interest was more of like shares. The
money was in some kind of shares -- you
know -- compensation. I don't know how

you're going to put it.

Q I'm not sure I understand that. Was
this some sort of convertible loan?

A Yes, it was a convertible. They can
issue restricted shares which maturing after
one year. So they gave us those restricted
shares which suppose to mature with the time
they give us the money back. They didn't
give us the money back but the share it
self-mature.

Q And the shares were in what company,
the borrower?

A Yes, NXSO.

Q If I recall your testimony, in
addition to the right to elect to take the
shares in lieu of repayment, you also had a

security for this loan, real property placed

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 26 of 191

[Page 26]
November 1, 2022

J. Kahion
by a third-party, or is that not correct?
A Not correct. The shares was like you

would say the interest for the loan, that's

what the shares was about. It wasn't the
principal.

Q The third party who pledged this Texas
property as, I guess, a security for the

repayment of the principal, did that company
have common ownership with the borrower?

A They had common ownership in the land
with the borrower? In the land or the
company, which one?

Q My question was in the company. The
borrower.

A No, no. The borrower, the third-party
didn't have interest, that I know of, in
NXSO. In the company that is actually
borrowing the money. There was something
there that it went down but I didn't
understand the connection there.

Q So possibly it was just some sort of
accommodation by the co-owner of this
borrower's property that the owner of the

property pledged or mortgaged, was it a

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 27 of 191

[Page 27]
November 1, 2022

J. Kahlon
mortgage? Mortgaged this property as

security for repayment of the principal?

A It wasn't my thing to go into this.
Q It's not that important. We can move
on.

So at some point in time the borrower
defaulted and the principal was still due and
owing, correct?

A Yes.

Q At that point is it fair to say that
there was a work-out between TJ and the
borrower to pay off this debt represented by
the principal of the loan?

A We reached out to them, of course.

Q And was that because they did not have

the money?

A They did not have the money.
Q And so you engaged in negotiations to
take the real property in lieu -- in

settlement of your note for the principal; is
that a fair statement?

A The property that pledged to us -- you
see we had two separate procedure. We sued

the company and we had a judgment against the

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 28 of 191

[Page 28]
November 1, 2022

J. Kahilon

company, NXSO.
Q Judgment and foreclosure?
A With NXSO at that time, but not the
properties, just NXSO itself. The owner of
the land each chose to hand us the land. It
was an estate, and I guess people that
inherited it didn't want it because there was
kind of a judgment on the land that they
didn't know about from the city of Dallas and
we took it over.
Q How much was owed at this time?

MR. NAIDICH: Owed to who?

MR. HAFFNER: On this loan. On

the judgment.

A Probably around like -- if I'm not
mistaken around 400. 350, 400. Maybe less,
but in this area.
Q So TJ decided instead of trying to
collect that 350 or 400,000, it would accept
this offer to convey the land or convey -- or
transfer Flowerdale who owned the land to Td;
is that correct?
A No.

Q How did it work?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 29 of 191

[Page 29]
November 1, 2022

J. Kahlon
A First of all, because of the shares
that we got they got mature, we were able to
collect some money back like we sold it in
open market. I think I was like around
50,000, something like that, 60. So it was
much less. So we had no choices because it
was this or the highway, you know, and I take
the land or don't take it, so it was up to
us. Because of the judgment the city had,
the person who actually introduced us to this
deal is a guy, a broker -- I forgot the name
of the broker -- so he formed a company named
Capital TT. Transfer ownership to Capital
TT. So TJ Management never, ever have
ownership of Flowerdale, ever.
Q I'm still a little confused.

At some point in time TJ loaned money
to a company and the company went into
default on the loan.

TJ recovered some money based on the
conversion feature of the note, but after
that money was collected there was still
about 350 to $400,000 in debt unrecovered?

A 300 and change.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 30 of 191

[Page 30]
November 1, 2022

J. Kahlon

Q 300 and change, okay.

And instead of pursuing collection of
that 300 and change --
A No, we did pursue collection.
Q Okay, but at some point you decided
instead of continuing to pursue --
A No, no --
Q Tell me. What was the amount of the
judgment?
A That was the remaining amount that

they owed us.

Q What was that amount?

A You just said yourself was 300 and
change.

Q I was repeating what you said but
that's fine. So it was about 300 and change.

Was this before or after you recovered

about $50,000 by exercising the convertible

A I don't recall. I don't remember
exact number.

Q So you were sitting there with this
company, TJ, and you've made collection

efforts, you've managed to collect some

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 31 of 191

[Page 31]
November 1, 2022

J. Kahlon
money, there's 300 and change, maybe somewhat
less, that is still owed to TJ.

Is it correct that at some point
instead of continuing 261 Le.etunon -- and I
don't care what the reason why you stopped
collection was -- at some point instead of
continuing collection did there come a time
when you were offered, you being TJ, were
offered and accepted in lieu of whatever was
owed these three parcels of Texas property?
A This is part of the collection, yes.
Q When the three properties were
conveyed however they were, whether it was
Flowerdale or Capital TT, how ever TJ
acquired an interest in this property,
indirectly, double indirectly, we can get to
that later, however TJ acquired an interest
in these three properties, after it acquired
that interest, didn't it discharge any
parties that were obligated under this loan,
to discharge and release them?

A Set aside TJ, yes.
Q So when TJ accepted these three Texas

parcels, it released everybody, the borrower,

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 32 of 191

[Page 32]
November 1, 2022

J. Kahlion
anyone else from any claims it had from this
transaction where TJ loaned this money; is
that correct?
A I'm not sure.

MR. NAIDICH: I think the delay
is caused by the question not being
consistent with the testimony,

Mr. Haffner.

Mr. Kahlon said that it did not
acquire Flowerdale which owned the
parcels. He tried to explain to you
the circumstances.

MR. HAFFNER: And I heard that.

MR. NAIDICH: But your question
doesn't appear that that's consistent
with his testimony. He has not
testified that TJ acquired the
property, and I would like that to be
clear.

MR. HAFFNER: I disagree.

Q You want to clarify something, Mr.
Kahlon, based on what your attorney said?
A No.

Q I'll ask the same question but ina

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 33 of 191

[Page 33]
November 1, 2022

J. Kahlon
different way.

After however TJ acquired any interest
at all in these three Texas properties, after
the acquisition of that interest, whether it
was through Flowerdale, Capital TT or some
other way, did it have any remaining claims
against either the borrower or anyone else
for this loan?

A The judgment that we received against
NXSO I think stayed open. It wasn't
collectible, and I think it stays open. Like
there wasn't any -- I don't think it was like
anything that we gave them to release them,
NxsoO.

Q So you may still have an unsatisfied
judgment against the borrower, correct?

A Yes. Now, when we acquired the land,
we gave more money to the owners of the land.
How much money did TJ give?

I don't remember.

Was it over 100,000?

Yes.

Was it over 200?

I don't remember.

> © Pp © PP 0

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 34 of 191

[Page 34]
November 1, 2022

J. Kahlon

Q Could it have been over 200?
A I don't remember. I need to go back
through the numbers.
QO If I recall your testimony, the fee
owner, you know, what that term means, right,
fee owner? The legally titled owner. That's
what "fee owner" means.

The legally titled owner of these
three parcels was Capital TT at the time; is

that correct?

A Flowerdale?

Q No. Capital TT.

A What are you talking about?

Q T'm talking about the three parcels of

Texas property.

A Flowerdale owned them.

Q Flowerdale was the legal title owner
of it?

A Yes.

Q So where did Capital TT come in again?

That's what's confusing me a little bit.
A So, what happened was because of the
judgment that this land had we couldn't

really assess the damage or what we have to

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 35 of 191

[Page 35]
November 1, 2022

J. Kahlon

do there because it was like big work with
excavation, restore floodplain. And that's
why Capital TT that was owned by Ted
Flomenhaft, he is the person that works at
the broker that introduced me to this deal,
he formed Capital TT to acquire Flowerdale.

That's the reason why when you asked
me the question before, I never released NXSO
from the judgment because we didn't know the
value of the land like, you know, what's
going to be. You know what I mean?
Q Did there come a time when TJ had an
appraisal or other valuation of these three
Texas parcels performed?
A When we took the land we had an
appraisal that was done a few years before
that, so we did have an appraisal.
Q I assume that appraisal would have
been maybe around 2005; is that correct?
A I don't recall. I don't remember.
Q How long after you formed TJ
Management did you acquire this interest,
direct or indirect, in these three Texas

parcels?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 36 of 191

[Page 36]
November 1, 2022

J. Kahlon
A The appraisal was done before we even
give the loan to NXSO. So when the land was
presented to us as a collateral, they
presented to us with the appraisal.
Q Do you recall what the valuation of
that appraisal was?
A No, I don't remember exactly but I

think it was in the 7 million.

Q 7 million?
A I think so, yes.
Q Did the appraisal allocate between

these three parcels that 7-million-dollar
fair market valuation?
A I don't recall. I'm not in the real
estate market so I wasn't really
understanding stuff -- in -- you know.
MR. HAFFNER: As a formality
I'll ask for the production of that
appraisal.
MR. NAIDICH: I take it under
advisement if he has it.
A I have it.
MR. HAFFNER: He said he had

it. So, I'll request that. It will

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 37 of 191

[Page 37]
November 1, 2022

J. Kahlon
probably be -- after the mediation --
in subsequent document demands that we
make, but I'll call for it at the
deposition as well.
REQUEST:
Q As part of the recovery of this
defaulted loan, am I correct that TJ accepted
the three parcels of land? And I'm not
asking you right not whether it was direct.
I just mean did you accept an interest -- did
TJ accept an interest in the three parcels?
A Yes.
Q Now let's get to that interest. My
understanding was that TJ acquired the
interest in these three parcels through an
assignment of Flowerdale, assignment of
membership interest in Flowerdale; is that
correct?
A No.
Q How did TJ acquire its interest in
these three Texas parcels?
A Like I told you before, Capital TT was
the one that accepted the ownership in the

Flowerdale. It was transferred to Capital

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 38 of 191

(22)

[Page 38]
November 1, 2022

J. Kahlon
TT.
Q I may have misunderstood your
testimony.
A Capital TT was owned by Ted
Flomenhaft. Yes.
Q Was Ted Flomenhaft a member or did he
have any interest in the borrower?
A No.
Q So he pledged his collateral to these
three properties as an accommodation to the
borrower, is that correct? Would that be
consistent with your understanding?
A No. He's the one that connect me with
the borrower. Later on the borrower pledged
against the property to TJ Management, yes,
but instead TJ Management we take over
Flowerdale, but Capital TT took over
Flowerdale. The reason was the judgment that
this land in Texas Flowerdale had, we
couldn't find out what was the magnitude of
the judgment.
Q What if anything did Ted Flomenhaft,
any company he had an interest in including

Capital TT, get from TJ's loan to the

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 39 of 191

[Page 39]
November 1, 2022

J. Kahlon
borrower?
A He was the broker.
Q So the consideration was what, a
brokerage commission, was that the
consideration for his pledging -- effectively
pledging these three properties?
A He did not pledge the properties.
Q Ted Flomenhaft did or Ted Flomenhaft's
company, correct?
A No, he did not. Ted Flomenhaft was
acting as an agent of TJ Management. Maybe
this will make it easier.
Q Who owned Flowerdale at the time of
this workout where TJ received these three
properties?
MR. NAIDICH: Again, he has not
said that TJ acquired the properties.

MR. HAFFNER: Indirectly.

Q Indirectly.
A It was an estate, like I told you, of
a guy named Jim Carrey. So they are the one

that owned that property. They are the one
that pledged that property.
Q Did they own it directly or did they

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 40 of 191

(12)

[Page 40]
November 1, 2022

J. Kahlon
own it through an entity?
A The estate of Flowerdale directly.
The estate of Flowerdale directly.
Q And was Flowerdale the fee owner of
the three parcels?
A Yes.
Q At the time of this workout, these
members of Flowerdale transferred Flowerdale

to TJ; is that correct?

A No, to Capital TT.

Q They transferred it to Capital TT?
A Yes.

Q Do you know the reason why they

transferred Flowerdale to Capital TT?

A Because at the time TJ Management did
not want to take ownership in Flowerdale.

Q What was the reason for that?

A I thought we covered it. Because
Flowerdale had a judgment, we didn't know
what was the liability of the judgment.

Q So this estate assigned Flowerdale to
Capital TT?

A Yes.

Q And then is it your testimony that

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 41 of 191

[Page 41]
November 1, 2022

J. Kahlon
Capital TT assigned the membership interest

in Capital TT to TJ?

A No.
MR. HAFFNER: Hold on one
second. Let's take a five-minute
break.

(At this point in time, a brief
recess was taken.)

BY MR. HAFFNER:

Q Did there come a time when Flowerdale

conveyed realty to TJ Management?

A Yes.
Q When was that conveyance?
A So Flowerdale conveyed the small third

parcel to TJ Management, and simultaneously
sold the other two big parcel to Zuchaer and
Zuchaer. And in this transaction your client
was supposedly a partner of certain
percentage of the managing member, I think 30
percent with Zuchaer and Zuchaer in that
piece of land.

Q I have a deed executed on September
10, 2007 from grantor Flowerdale LLC by

Capital TT LLC, its sole member, signed by

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 42 of 191

[Page 42]
November 1, 2022

J. Kahlon
Ted Flomenhaft, managing member of Capital TT
to as grantee TJ Management. And you signed
for TJ the grantee as managing member.
A I don't think it ever matured into
like we went ahead with this. You say you
have a deed? What does it mean?

MR. HAFFNER: Well, let me show
it to you.

Miss Court Reporter, could you
among the documents I emailed to
Lexitas this morning it's title Deed
Flowerdale to TJ September 10, 2007.
Can you mark it and show it to the
witness and we'll mark it as
Plaintiff's 1.

(At this point in time, Special
Warranty Deed Executed September 10,
2007 was marked as Plaintiff's Exhibit
1 , for identification, as of this
date.)

BY MR. HAFFNER:
Q Mr. Kahlon, I have just marked as
Plaintiff's Exhibit 1 a Special Warranty Deed

Executed September 10, 2007 which appears to

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 43 of 191

[Page 43]
November 1, 2022

J. Kahlon
convey real property from Flowerdale LLC to
TJ Management Group.

Have you seen that document before?

A You need to scroll through it and see
what this is all about. Is this stating that
TJ Management took all the real estate of
Flowerdale?

Q Mr. Kahlon, the court reporter just
said that she can't take us down while she is
scrolling.

So let's try to do this strictly as
she asked. All my question asked was: Have
you seen this document before. If you need
to review it, she'll scroll it but let's not
talk while she scrolls it. First decide
whether you've seen it before and answer the
question.

MR. HAFFNER: Is that the way
the procedure needs to go Miss Court
Reporter?

COURT REPORTER: Yes.

THE WITNESS: Can you please
scroll.

(Court reporter is scrolling

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 44 of 191

[Page 44]
November 1, 2022

J. Kahlon

through document.)
Q Now that you've read the document have
you seen it before?
A So I don't remember that one exactly.
I need to go over it because I want to see
exactly what was sold from -- what was given
from Flowerdale to TJ, and I'm having a hard
time to see and describe what was sold. What

does a Special Warranty Deed mean?

Q I don't know what it means under Texas
law.

A Me neither.

Q It does operate to convey the land
identified. It has to do with whether the

seller, after the conveyance of the property,
whether the seller remains obligated for
certain representations. But what those are,
I don't know. But my understanding, and I'm
not your attorney, but my understanding is
whether it's a Special Warranty Deed or a
Quick Claim Deed or a General Warranty Deed,
the document, the instrument operates to
convey fee ownership in the described land to

the grantee.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 45 of 191

[Page 45]
November 1, 2022

J. Kahlon
A I don't remember this document. If
this is the ownership in Flowerdale, I don't
remember that.

If it's Flowerdale selling one parcel
from one of the three parcels to TJ, it's
something I'm familiar with. I just have to
go to this to understand exactly what it
says. But I don't really understand the
language and I didn't have time, unless you
want to give me time, to read it.

Q Yes, you can definitely read it.
A So give me like five minutes. Okay?

MR. HAFFNER: Okay. Great.

(At this point in time, a brief
recess was taken.).

MR. HAFFNER: I would ask that
when there is a question pending and
the witness is reading the documents
to refresh his recollection that you
don't have conversations with him
please.

MR. NAIDICH: No problem.

MR. HAFFNER: Thank you.

(At this point in time, a brief

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 46 of 191

[Page 46]
November 1, 2022

J. Kahlon
recess was taken.)
BY MR. HAFFNER:
Q The question is: Have you seen the
document before?
A I don't recall. I don't recall and I

don't have here a description of what was

actually -- if it was transferred or
warranted?

Q I ask you to look at page 4. Exhibit
A.

A Oh, okay. Okay. Yes, yes.

Q So I'll ask you a couple of questions.

I'll try to keep this as simple as possible.
A Yes.

Q The property described in Exhibit A to
this document, out of the entire property
that you described earlier, which tract is
this?

A The small parcel across the street.
There's three parcels, two of them attached.
This is a small parcel across the street from
the other two, they're not attached, and this
parcel wasn't under the judgment from the

city of Dallas.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23. Page 47 of 191

[Page 47]
November 1, 2022

J. Kahlon

Q In or about September of 2007 did TJ
Management acquire legal title to this
parcel?
A That's what it says.
Q And is that your understanding that TJ
Management at some point in 2007 became the
record owner of this small parcel?
A Now it is, it's refreshing my memory.
I thought it happened a little bit later.
Q Is TJ Management currently the owner
of this property?
A Correct.
Q It is. Okay.

Subsequent to TJ becoming the owner of
this tract, did TJ convey, sell, transfer

this tract to anyone?

A I believe from sometime in the middle
of -- I don't know exactly when, it was
supposed to have -- I don't know exactly, I

cannot tell you the dates.

So the person who took Zuchaer and
Zuchaer that acquired the two parcel of land
together with your client, he needed the

small parcel of land in order for him to make

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 48 of 191

[Page 48]
November 1, 2022

J. Kahlon
a deal that he was working on. This deal
never matured, so we had to undue the sale.
So it was done and then undone like ina
matter of a month.
Q Did TJ Management receive for this
conveyance later on, that you just spoke
about to Mr. Zuchaer and his company, did TJ
Management receive any money or other
consideration?
A No, like it was all part of the deal
to go through. So the deal never went
through. It was supposed to get some kind of
compensation for it, I mean I think it was
around 200,000 and some kind of percentage if
the deal would go through, but it didn't
happen.
MR. HAFFNER: Miss Court

Reporter, let's mark a document

entitled BOS-TJ to GPS (tract 2).

Let's mark it as Plaintiff's Exhibit

2.

(At this point in time, Bill of
Sale was marked as Plaintiff's Exhibit

2, for identification, as of this

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 49 of 191

[Page 49]
November 1, 2022

J. Kahlon
date.)
MR. HAFFNER: Let's mark as
Plaintiff's Exhibit 2, this exhibit
which Mr. Kahlon is referring to
presumably to refresh his recollection
to some degree. So I'd like it in
front of him and marked as Plaintiff's
2. The Bill of Sale.
Q Mr. Kahlon, have you seen what has
been marked as Plaintiff's Exhibit 2?
A I believe so. I just want to say that

this is not a signed copy.

Q I understand that.
A Okay.
Q Is it your recollection that this

transaction was never agreed to or finalized?
A What actually happened I mean like the
transfer happened but we undone it. The
transfer itself happened on the land. It's
public record you can see it if you go for
the public record. The transfer happened --
Q You have to talk slower now, I can't
understand you.

MR. NAIDICH: He said if you go

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 50 of 191

[Page 50]
November 1, 2022

J. Kahlon

to the public record you will see that

the transaction did happen, is what he

just said.

MR. HAFFNER: I couldn't

understand hin.
Q So I understand that the transaction
in this Bill of Sale, even though it's
unsigned, was completed at least with respect
to the legal conveyance of this parcel from
TJ to GPS Credit Report LLC; is that correct?
A Yes.
Q And how long after did GPS Credit
Report LLC reconvey back to TJ this parcel of
property?
A The decision was done like a month or
two months after that, but I don't know what
is the gap that you're going to see in the
legal record. It's going to go online it
might take time to like register. But it
happens like in a matter of like a month or
two month. I believe more than a month or
two months.
Q Briefly, because we don't have that

much time and we do have a mediation coming

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 51 of 191

[Page 51]
November 1, 2022

J. Kahlon
up, who proposed this transaction?
A I think we should go to the court
reporter because I gave you all the
information. I actually told you what

exactly happened.

Q I'm sorry if you told me before but I
think it's a pretty straightforward question.
Who proposed this transaction?

A GPS.
Q And specifically who at GPS proposed

this transaction?

A Moshe Zuchaer.

Q Did you know Mr. Zuchaer before this?
A Yes.

Q When did you first meet Mr. ZAuchaer,

approximately?
I don't remember.

Could it have been as early as 2004?

Even earlier.

A

Q

A

Q Even earlier?
A Yes.

Q What were the circumstances of your
first meeting with Mr. Zuchaer?

A Social.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 52 of 191

[Page 52]
November 1, 2022

J. Kahlon
Q Were you introduced by a mutual

friend, acquaintance?

A Something like that. I don't remember
exactly.
Q And you know him for a very long time;

is that correct?

A Yes.
Q Do you still know him?
A How can I not know somebody after you

know him?

Q I'm sorry?

A How can you not know somebody when you
know them already.

Q So at the beginning your relationship

was social; is that correct?

A Yes.

Q If you remember where did the meeting

take place?

A Which?

Q Your first meeting with Mr. ZGuchaer.
A I don't recall.

Q Was it in the United States?

A I believe so.

Q Was it in Florida, New York or some

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 53 of 191

[Page 53]
November 1, 2022

J. Kahlon

other state?

A I don't recall.

Q Could it have been in New York?

A Of course.

Q You answered “of course" because why?

You and Mr. Zuchaer were fairly frequently in
New York? I understand he lives in Florida
but you said "of course," so...

MR. HAFFNER: Let me withdraw

that.
MR. NAIDICH: You're
speculating.
MR. HAFFNER: It's withdrawn.
I get it.
Q After that first meeting, your

relationship, did it become one of business

as well?

A Not really.
Q And about how many times would you and
Mr. Zuchaer get together after that -- how

many times a year after that first meeting?

A I don't recall.

Q Could it have been at least five times

a year?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 54 of 191

[Page 54]
November 1, 2022

(1) J. Kahlon

(2) A Maybe.

(3) Q Were most of those meetings in New
(4) York, Florida, Israel or someplace else?

(5) A Some place in the state.

(6) Q Always in the states?

(7) A Yes.

(8) QO More in Florida or more in New York?
(9) A Probably more in New York.

(10) Q Did there come a time when there was
(11) any business discussed during your

(12) relationship?

(13) A Israelis talk business all the time,
(14) discussing business all the time. So I don't
(15) know how to answer your question.

(16) Q Since the beginning of your

(17) relationship with Mr. Zuchaer, have the two
(18) of you shared an ownership interest in any
(19) business?

(20) A No.

(21) Q So in 2016 what did Mr. Zuchaer

(22) propose?

(23) A Prior to this he took over the piece
(24) of land, he took over Flowerdale just to put
(25) you in the correct place here.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 55 of 191

[Page 55]
November 1, 2022

J. Kahlon

So I think in 2016 -- I think in 2011,
2012 or 10, I don't remember exactly, he took
ownership in Flowerdale. Once second. So
now he have the two parcel of land across the
street.

So he approached me and said that he
might have somebody interested in his parcels
and he might need my small piece of land
which is across the street in order for him
to close the deal.

Q Did TJ Management ever acquire an

interest in Flowerdale?

A No.
Q The answer is "no."
MR. HAFFNER: We couldn't hear
that.
A No
MR. HAFFNER: Can we take a
five-minute break. I'm trying to

identify an exhibit that I want to
show the witness.

MR. NAIDICH: Sure.

MR. HAFFNER: Thank you.

(At this point in time, a brief

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 56 of 191

[Page 56]
November 1, 2022

J. Kahlon
recess was taken.)

BY MR. HAFFNER:
Q So briefly we were talking about this
TJ loan to this company that was secured in
part by the Texas property, all three of the
Texas parcels, correct?
A Correct. Flowerdale.
Q Yes, secured by Flowerdale which owned
all three of these Texas parcels, correct?
A Right.
Q What was the mechanism of that
security, did the managing member of
Flowerdale pledge the interest in Flowerdale?
Was there an assignment of all the interest
in Flowerdale that was kept in escrow? How

did it work?

A I don't remember, but it was their
inheritance. It was people that inherited.
Q So when there were negotiations

following the default, this was TJ's
collateral, all three parcels at the time
owned by Flowerdale, correct?

A Correct.

Q Wasn't the membership interest of

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 57 of 191

assigned or transferred to TJ Management?
MR. NAIDICH: Mr. Haffner, I
think that the testimony has been

clear that there was no settlement,

[Page 57]
November 1, 2022

J. Kahlon
Flowerdale released to TJ? TJ owned the
collateral or held the collateral?
A What is the question?
Q After the default was part of the
negotiations, the settlement of this debt,
that the membership interest in Flowerdale be

that the judgment against the borrower

stayed in effect and so your question

presupposes an answer that's different

than the witness' prior testimony.
Q Well, wasn't there a settlement --

please.

MR. NAIDICH: But I don't want

the question to be different than what

the prior testimony is.

MR. HAFFNER: Rick, I heard you

and I'm asking a different question.

Q Wasn't there a partial settlement

between the creditor, TJ Management, and the

owner of the collateral?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 58 of 191

[Page 58]
November 1, 2022

J. Kahlon

A Yes.

Q What did that partial settlement
entail?

A So the company was pledged against the

loan. They couldn't pay for the loan to
satisfy it, so they tried to pledge the land
to TJ Management.

The problem was that we find out that
there was a judgment from the city of Dallas
that might cost us -- when we went to assess
the judgment, they want us in the beginning
to fence the land. It's a huge piece of
land. Just fencing the land was like we
quoted around $10,000,000. Just fencing the
whole land.

So we didn't know if it would actually
Satisfy the debt itself. So that's why TJ
Management didn't take it because it's a
liability. It was like kind of a liability.
The reason that the little piece of land was
transferred to TJ or whatever it was, because
the small piece of land wasn't part of the
judgment. It wasn't like under the judgment.

It was across the street, separate.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 59 of 191

[Page 59]
November 1, 2022

J. Kahlon
Q So did another entity acquire

Flowerdale?

A We're going to go in circle. I
understand. Capital TT acquired Flowerdale.
Q And Capital TT, was that Zuchaer's

company or was that Flomenhaft's?

A Flomenhaft.

Q At some point Flowerdale conveyed as
we know, conveyed the small parcel to TJ
Management, correct?

A Correct.

Q And after that Flowerdale's assets
were these two remaining properties, correct?
A Correct.

Q And Capital TT acquired Flowerdale, if
I recall your testimony, if I understand your
testimony just now, correct?

A Correct.

Q But Flowerdale was pledged to TJ. In
order for Flomenhaft's company to acquire the
membership interest in Flowerdale, and
indirectly these two properties, didn't
Capital TT or Flomenhaft come to you to ask

you if you would release the collateral?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 60 of 191

[Page 60]
November 1, 2022

J. Kahlon
A I'm surprise that you ask it because
there is an assignment. TJ Management
assigned the pledge to Capital TT.
Q And did TJ ask for or receive any
consideration for the assignment of
Flowerdale to Flomenhaft's company?
A For consideration if you look it can
be like a small piece of land that we
separated.
Q So am I hearing that TJ agreed to
accept direct ownership of the small piece of
land in lieu of its holding Flowerdale, in
lieu of its ownership of Flowerdale as a
secured party, all of Flowerdale?
A Again I don't know exactly how to
answer you but I'll try my best. Flowerdale
they had three parcels. Two parcels was
under judgment from the city of Dallas. When
TJ Management came to it and checked into it,
was way -- exceeded even what the appraisal
shows. Meaning like it was like tens of
millions of dollars just to like satisfy the
city of Dallas. Because Ted Flomenhaft was

the guy that introduced me to the deal, he

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 61 of 191

[Page 61]
November 1, 2022

J. Kahlon
was the broker of the deal, so he
transferred -- actually he acquired
Flowerdale through Capital TT. I'm not sure
exactly how it happened, but I think at the
same time we got the small piece of land or a
little bit later like went to TJ.

Now, if you're asking about
consideration that I got paid for it, I paid
him for that or he paid me for that, I don't
see where the payment should have been. Like
who should pay who when. Like what is the
right place where you think I shouldn't pay
for the land because I convey to him, and
they keep the other two pieces of land to see
what happened with the judgment.

So he took the responsibility as a
broker because this wasn't presented to us
like the way it was, like the presentation at
the time wasn't clear enough but instead that
this collateral might not be a collateral.

It might be a liability.
Q Did there come a time when Mr.
Flomenhaft's company assigned or transferred

Flowerdale, now with only these two

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 62 of 191

[Page 62]
November 1, 2022

J. Kahlon
properties, these two tracts, to Moshe

Zuchaer?

A Yes. Zuchaer & Zuchaer.

QO What was the name?

A Zuchaer & Zuchaer.

Q Do you recall specifically the name of

the assignee, was it Zuchaer & Zuchaer
Consulting, Inc.?

A I don't know. I don't remember.

Q How did Avi Yehuda come to know Moshe

Zuchaer?

A I don't know you can ask hin.
Q Well, did you introduce them?
A I'm not sure.

Q So maybe you would know if you

introduced them but you're not sure, correct?
A I'm not sure.

Q When you met socially initially with
Mr. Zuchaer, I recall you said mostly in New
York, was Avi Yehuda ever part of those
gatherings?

A I don't remember if he was in Israel.
Q So how did Mr. Zuchaer become aware of

this opportunity to purchase these two tracts

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 63 of 191

[Page 63]
November 1, 2022

J. Kahlon
through an assignment of Flowerdale?
A Maybe through social meetings and
stuff like that it was mentioned to him. And
then he had shown interest.
Q So you might of introduced the
opportunity to him?
A I might.
Q Are there any documents that would
refresh your recollection as to how Mr.
Zuchaer became aware of the opportunity to
purchase these two parcels by acquiring the
hundred percent membership interest in
Flowerdale?
A We don't keep a record of our social
meetings, so I don't know.
Q I didn't suggest there would be a
secretary to take minutes. I'm thinking
maybe emails, right? Everybody sends emails
and texts back and forth. Do you have any
texts? Can you think of any texts or emails
that might refresh your recollection as to
how Mr. Zuchaer became aware of an
opportunity to purchase through Flowerdale

two Texas parcels?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 64 of 191

[Page 64]
November 1, 2022

J. Kahlon
A I don't recall any text from me to
him, but maybe your client introduced him to
me or maybe I said something about it. He
had an opportunity because he bought it
together with the partner. So maybe they was
looking for investments, so maybe they were
looking around, parcels, and found out about
it.
Q When you say he bought it together
with the partner, who is "he"? Who is the
partner?
A So I think he have like some Israeli
guy, he was a soccer player in Israel, a
famous guy, so they were friends they were
looking for investments.
Q Do you know the terms of the
transaction whereby Zuchaer or his company,
whatever his full name was, acquired by
transfer or assignment a hundred percent of
the membership interest in Flowerdale?
A If I remember it, I'm sure it happened
but I don't remember it though.
Q Who would know how much Zuchaer or its

company or companies paid Capital TT for the

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 65 of 191

[Page 65]
November 1, 2022

J. Kahlon

a hundred percent interest in Flowerdale?

A Your clients.

Q Why would my clients know that?

A Because he was part of the buying.
Q How do you know he was part of the
buying?

A How do I know?

QO Yes.

A He told me.

Q Who told you, Mr. Auchaer?

A No, your client.

Q Did you have any conversation with Mr.
Zuchaer after my client told you this

confirming what my client told you?

A Probably.

Q Were these emails or texts or some
other or just verbal?

A I wish it was email or text. But we
don't really email or text each other. All
were verbal conversations.

Q So following this transaction where
Mr. Zuchaer or his company, and as my client
at least initially told you himself acquired

this interest in Flowerdale, Mr. Auchaer

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 66 of 191

[Page 66]
November 1, 2022

J. Kahlon
never denied that, did he?
A Deny what?
Q That my client had a one-third
interest in the entity that owned Flowerdale?
A No, he didn't.
Q You don't remember exactly when or
whether it was email or text, but that
subject did come up, right, that one of your
acquaintances, Mr. Yehuda, was involved with
another of your friends or acquaintances
Mr. Moshe Zuchaer in these Flowerdale
properties?
A Yes. It wasn't a secret.
Q Did there come a point later on when
you became aware of a dispute between my
client and Zuchaer?
Yes.
When was that?
A few years ago.
Who brought this to your attention?

I was cce'd on the emails that they

Oo rt Pp © Pp O P

Let's talk about those emails.

MR. HAFFNER: Miss Court

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 67 of 191

[Page
November 1,

67]
2022

J. Kahlon

Reporter, you should have those.

Q Would you be able to read these emails

that you're talking about and tell us what
you believe they say?

A I prefer not to. Unless you have a
translator here to read it and then I'll
answer the question.

Q Well, I'm trying to refresh your
recollection. Unless you recail
independently what the dispute was and who
introduced the dispute to you, I would like
to show you these emails to refresh your
recollection?

A I'll look at it but I'm not a
translator.

MR. HAFFNER: Let's just get
these emails marked. Miss Court
Reporter I think it says Email
(Exhibit C) to production. It's
Plaintiff's Exhibit 3.

(At this point in time, email
(9 pages) were marked as Plaintiff's
Exhibit 3, for identification, as of

this date.)

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 68 of 191

[Page 68]
November 1, 2022

J. Kahlon

MR. HAFFNER: Accommodating
Rick's request, and I agreed with it,
I'm going to try to sort this exhibit
out by reading the emails.

I'm going to need the witness
to help me with identifying whose
email it is and whose email is being
forwarded and all that stuff, but
preliminarily I'm going to look for
the earliest date and time of these
emails.

So why don't we scroll from the
bottom up because I see an email from
my client, Avi Yehuda, to the witness
on November 9th at 8:05 p.m. There
may be an earlier email but I think
this could be the earliest.

MR. NAIDICH: Of what year?

MR. HAFFNER: November 9, 2017
at 8:05 p.m. which is consistent with
Mr. Kahlon's testimony that a few
years ago he became aware of a dispute
between Mr. Yehuda and Mr. Zuchaer.

For the record, those emails I see on

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 69 of 191

[Page 69]
November 1, 2022

J. Kahlon
the screen have nothing to do with what we're
talking about right now. That's for the
record.
Q I believe you're correct as to some of
them but let's not dismiss all of them
especially this first one where the subject
is "Texas agreement."
A So I see something December 12, 2017,
that's what I see.
Q I understand, Mr. Kahlon, but let me
do what your attorney asked me to do. We'll
start from the earliest and you'll tell me if
the earliest is irrelevant, if the next one
is also irrelevant or maybe if it is relevant
to these Texas property and Flowerdale. And

this agreement between Mr. Yehuda and Mr.

Zuchaer.
A I'll repeat what I said before. The
rest of them is in Hebrew. You have to have

a translator here.

Q I didn't understand what you just
Said.
A I said I gave you a heads up with the

one that I see. The rest of the email that

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 70 of 191

[Page 70]
November 1, 2022

J. Kahlon
are in Hebrew, you have to have a translator
for me to comment on it.
Q Let's just do this. We don't need
heads up. As I ask you a question you either
answer it or explain why you can't or you
won't and we'll take it one at a time.
MR. HAFFNER: Let's go to the

last page.
Q The first email I see is November 9,
2017 at 8:05 p.m. It's from Mr. Yehuda to
you. The subject is: Texas agreement. Have
you seen that email?
A Maybe. It's all gibberish.
Q Well, your attorney produced this in
response to Plaintiff's Request for
Documents.

Did you provide what we're looking at

for your attorney?

A Maybe.
QO There are two attachments to this
email.

MR. HAFFNER: Ms. Torres, let's

scroll up to page 6.

Q Have you seen this Control Agreement

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 71 of 191

[Page 71]
November 1, 2022

J. Kahlon

which begins at page 6 and ends at page 7?
A I probably saw it before this issue --
I wasn't familiar until I received it from
either Yehuda or Zuchaer.

MR. HAFFNER: Let's scroll back

to the botton.

Q Do you see this November 9, 2017 at
8:05 p.m. email from Mr. Yehuda to you, with
the attachments to that email that are
indicated, been at least one of them, been
this control agreement?
A That's what it says, yes.
Q I assume you read this email; is that
correct?
A Where is the email?
Q At the bottom, from Mr. Yehuda to you
on November 9 at 8:05 p.m.
A I can't see it.

MR. HAFFNER: All the way at

the bottom, Miss Court Reporter.

Q I believe you testified that these
attachments which appear on page 9 in this
email from Mr. Yehuda to you of November 9,

2017 at 8:05 p.m. one of them at least was

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 72 of 191

[Page 72]
November 1, 2022

J. Kahlon

the control agreement that I just showed you?

A Yes.

Q Do you know what the other one was?
A No.

Q Assuming this entire exhibit to your

document production came from you, I would
ask you to go back to your email account and
provide information as to what the second
attachment might be. We can leave a space in
the transcript.
MR. NAIDICH: We'll take that

under advisement.
REQUEST:
Q We're still on page 9 here of

Plaintiff's 3.

A This is an email from Zuchaer to
Yehuda.

Q No, it's an email from Avi to you.
A There is no body.

Q There isn't. You're correct, it's

just an attachment.
A Okay.
Q Let's scroll up the next one is --

MR. NAIDICH: He's trying to say

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 73 of 191

[Page 73]
November 1, 2022

J. Kahilon
something.
A Do you see what I see?

Yes, I see what you see, yes.

Let me ask you the next question. 5O
scrolling up on Plaintiff's Exhibit 3, same
page on page 9 it appears that the next
chronologically -- actually let's move up to
page 8, at the top of page 8 is an email from
you, Mr. Kahlon, dated November 16 at 8:54
a.m. That would be the same day -- no, no,
no -- we were talking about a November 9

email and now a week later on November 16 we

have --
MR. HAFFNER: I'm sorry. Go
back to page 9.
Q Right above the email we just spoke

about, the November 9th email, there is an
email from Avi, we don't know to whom. It's
at 2:43 a.m. Have you seen that email
before?

A It's jibberish. You can't even read
it in Hebrew. Just to let you know. For
some reason.

Q It may be because this email was

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 74 of 191

[Page 74]
November 1, 2022

J. Kahlon
copied as a mirror image. So that might be

why it's a little difficult to read.

A It's unreadable.

QO Do you read Hebrew fluently, Mr.
Kahlon?

A Yes.

Q Looking at page 9 at the top this

email from Zuchaer dated November 16 at 12:56
p.m. to Mr. Yehuda, Avi, regarding the Texas
agreement.

Are you saying you can't make out
any -- well, let me ask you have you seen
this before?
A The first line, the one from Zuchaer
to Yehuda, I can read. The following email,
the bigger body that Yehuda sent to somebody,
is unreadable.
Q Do you recall what Mr. Zuchaer said in
this email at 12:56, does that refresh your
recollection?
A You have to get a translator.
Q I can't get a translator right now but
you can answer either from your recollection

or from looking at the document. Nobody is

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 75 of 191

[Page 75]
November 1, 2022

J. Kahlon
holding you to any translation. You're
looking at page 9 of Plaintiff's Exhibit 3
and I'm asking you if this refreshes your
recollection as to what this email is about?
A This email is in response to the email
that I cannot read. You asked me to refresh
my memory to what? It has nothing to do with
anything if you don't read the one that I
can't read, the jibberish one.
Q All right, then that's your answer.
Mr. Kahlon, I'm not trying to be difficult
here. Your attorney produced these emails.
I can't help that they're in Hebrew. Yes, we
can translate them and we will.

The purpose of today is to ask you
remember if you remember things, and if you
don't you say you don't remember and then I
try to introduce documents that might refresh
your recollection.

A Okay.

Q If it doesn't, all you have to do is
say it does not refresh my recollection and
we'll move on.

A Okay.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 76 of 191

[Page 76]
November 1, 2022

J. Kahlon

Q All right. I'm in as much in the dark
as you may be here but there may be things
here that refresh your recollection. You
already testified there is a dispute, you
became aware of it and maybe some of these
emails talk about that dispute, maybe not.
I'm just trying to find out what you know.

A Okay.

MR. HAFFNER: Let's scroll up
to page 8. Mr. Yehuda has an email
here 1:29 p.m. it appears to be sent
to Mr. Zuchaer also regarding the
Texas agreement.

Q Those two lines in Hebrew, does that
refresh your recollection about anything?

MR. HAFFNER: I am.

(Court reporter is scrolling
through document.)

MR. NAIDICH: Is there an open
question?

MR. HAFFNER: Yes.

MR. NAIDICH: What is it?

Q At the bottom of page 9 there's two

lines of Hebrew here that I described. Does

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 77 of 191

[Page 77]
November 1, 2022

J. Kahlon
that refresh the witness! recollection about
anything?
A No, it's also jibberish. As I said
before, there was a dispute between then,
yes.
Q Let's do this one at a time and we can
get through it. If everything we do going
forward doesn't refresh your recollection,

it's okay to say "no," and I'll move on.
That's all I have to say. All of it may not
be jibberish. Let's look at one at a time
and I'll ask you if it refreshes your
recollection and you can say "no" or if it
does, you can say, yes, this does relate to
the dispute that I became aware of. And then
I'll ask you another question. Is that fair
enough? That's how we'll do it.

A Okay.

Q Also on page 9 there's an email from
Avi to you, same day 8:29 a.m. I'm assuming
he's just forwarding what's below. So let's
go up to the top of page 8. This one is from

you. It's Thursday November 16th at 8:54

a.m. The subject line is: Texas agreement.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 78 of 191

[Page 78]
November 1, 2022

J. Kahlon

Apparently you were forwarded some
emails because that's why the subject says
FW: Texas agreement. Regardless, there's
about ten or eleven lines of Hebrew. Is that
your email?
A Yes.
Q So does this refresh your recollection
about how you may have become aware a few
years ago of the dispute between Mr. 4uchaer
and Mr. Yehuda regarding Flowerdale and these

two properties?

A Yes.
Q Can you tell me in sum and substance.
You don't have to translate it. Frankly, I

think you probably should, it's your email
but if you don't want to translate it, if you
refuse to I can't force you.

Can you tell me the sum and substance
of what is said in this November 16, 2017

email from you to Mr. Yehuda at 8:54 a.m.?

A No.
Q No?
A No.
Q Is that because you can't understand

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 79 of 191

[Page 79]
November 1, 2022

J. Kahlon \

it?
A We need a translator.
MR. HAFFNER: Rick, can you
offer something here maybe?
A I can tell you what it says here but

somebody will translate it to something else.
I want it to be like both of us have the same
understanding of what it says. I can say
something and you say, you know what, it says
something else.
Q But it's your email. I'm assuming you
know what you intended to say.
A I have my answer to you, no.
Q Now that you've read it, do you have a
recollection now of what your comments are in
this email?
A You asked me a question before and you
want me to answer a different question to me
what the question is again?
MR. HAFFNER: Miss Court
Reporter, can you read back my very
last question.
(At this point in time, the

requested portion of the record was

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 80 of 191

[Page 80]
November 1, 2022

J. Kahlon
read back by the reporter.)
I have a recollection, yes.
Can I have it please?
No.

You're refusing to answer?

PO FP O PY

I'm not refusing to answer. I'm
telling you my recollection from this in
Hebrew, if you get a translator it might
translate different than what I would tell
you. So I don't want to give you two answer.
I don't think it's unreasonable answer.

MR. HAFFNER: Rick, can I get
some assistance here because your
witness is refusing to answer a
question that I think is appropriate.

I'm asking for his
recollection. He wrote the email, it
can be in Russian, Greek, Hebrew. He
chose Hebrew, I'm not asking him for a
translation, I'm just asking him if
this refreshes his recollection at to
what he said here. I think it's a
perfectly appropriate question.

MR. NAIDICH: Can we have a

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 81 of 191

[Page 81]
November 1, 2022

J. Kahlon
moment. I want to understand my
client's concern and if you give me a
moment.

MR. HAFFNER: Rick, in all
fairness, unless it's an
attorney-client issue, I don't think
it's appropriate for you to be talking
to him.

MR. NAIDICH: Mr. Haffner, is I
have no comment on the witness'
response.

Q Mr. Kahlon, that's your -- look, I'm
not going to belabor this, you're refusing to
answer that last question; is that correct?
A I refuse to answer something that you
cannot read also. We both have to read the
same thing. I would be very happy to

answer --

Q Mr. Kahlon, if we didn't have this
email and you were sitting here and I asked
you did you see some emails about this time
when you said you became aware of this
dispute, do you recall some emails, and you

might say, yes, I do recall them. And then I

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 82 of 191

[Page 82]
November 1, 2022

J. Kahlon
would ask you, well, in sum and substance
what did you say about this dispute and who
did you say it to? That would be a perfectly

appropriate question.

A I told you that I do recall the
dispute between them. I told you there is a
dispute. I told you I have emails that I was

cc'd on, that I was there, that I saw all
these emails. Those emails I produced to
you.

The thing is if I would tell you what
it says here, yeah, it would be like my
recollection from me reading it because I
don't remember by heart what was exactly the
dispute, it was kind of like, you know, Avi
go to Moshe Zuchaer claims 30 percent and
Moshe Zuchaer said, no, you don't have 30
percent. That's why you're suing Moshe
Zuchaer in court. So you know that answer.

Now, this is in Hebrew. You asked me
to translate to you what's it saying here.
The dispute itself we know about he had a 30
percent or not have 30 percent. That's it.

It's something that I bring to the table that

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 83 of 191

[Page 83]
November 1, 2022

J. Kahlon
doesn't have any right translate unless you
see it.
Q Are you finished? Did you express an
opinion about this dispute to either Mr.

Yehuda or Mr. Zuchaer or both?

A Yes.

Q What was your opinion?

A That it's not right on Moshe Zuchaer's
part.

Q What Mr. Zuchaer was claiming was not

right, was not correct, not fair to Mr.
Yehuda, is that basically what I'm hearing?
A Yes. I said that this is not right.
That's what I told him. Why is this
happening? That's it.

Q What was the basis of your opinion
that Mr. Zuchaer position was not right in
this dispute?

A Because as we spoke before, I knew
about the deal vaguely, what kind of a deal
they strike before when the land was --
Flowerdale was transferred to Zuchaer &
Zuchaer. And from what I heard. I haven't

even seen those documents from before, they

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 84 of 191

[Page 84]
November 1, 2022

J. Kahlon
have it between then. Because what I heard
was Avi Yehuda, the client, have a 30 percent
stake in Flowerdale. That was the whole
understanding. This was from looking at the
top from everything, that was my global
understanding. The detail itself wasn't
something that I was part of.
Q Do you recall, in any of your
communications including whatever is in these
emails, expressing to Mr. Zuchaer that you
have any interest in Flowerdale or these two
properties?
A No. I told him that Mr. Yehuda they
have like part of it at the time and that's
about it.

As you understand this partnership
here under TJ Management Mr. Yehuda don't
have anything in it or anything else that TJ
Management did but still have, as long as we
were working together it was kind of just for
my side to him was kind of compensated, you
know. But here -- what happened here is kind
of a dispute between them because Yehuda

didn't maintain his partnership according to

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 85 of 191

[Page 85]
November 1, 2022

J. Kahlon
Zuchaer. Didn't maintain his partnership
somehow.

So I tried to make it right. So I put
myself in the middle because if the three of
us are friends, I say, listen, this is not
right. You have to make it right. So it has
nothing to do with, you know what, it'smy
thing, it's his thing, whatever it is. I
said, listen, I'm here in the middle. You're
my friend, you're my partner, you're putting
me in the middle here.

QO I understand.

Do you recall Mr. Zuchaer's
explanation for denying or claiming that Mr.
Yehuda had no interest in Flowerdale or the
two properties?

A That's what we spoke about. I recall
it was disputed. What was exactly his claim?
I can't tell you that I remember it. This
email here doesn't talk about it.

Q If your recollection was that you
believe Mr. Zuchaer was wrong or acting
unfairly, you must have had some

understanding of the transaction.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 86 of 191

[Page 86]
November 1, 2022

J. Kahlon
A Again, my understanding was that you
hear about somebody making deals, my
understanding is like, you know, like I know
the major understanding of the deal. I
didn't know the details. So now it's between
them which details they're going to workout.
Q Do you recall whether Mr. Zuchaer was
complaining that Mr. Yehuda was not paying
for expenses for development of one or both
of these two properties?
A Payment that wasn't done, I don't know
if it's from the development, taxes, court
orders, whatever it was I don't remember
exactly what it was for. I remember it was
some kind of like somebody was neglecting it.
Something like that, something to this
extent.

MR. HAFFNER: I have one line
of questioning now that should take
hopefully only about ten or fifteen
minutes, then I suggest we break for
lunch for 30 to 45 minutes. Does that
work for everybody?

THE WITNESS: Yes.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 87 of 191

[Page 87]
November 1, 2022

(1) J. Kahlon

(2) MR. HAFFNER: I would ask the
(3) court reporter to mark as Plaintiff's
(4) Exhibit 4. It's a pdf titled

(5) lowercase "a" Land Map of Texas

(6) Property.

(7) (At this point in time, survey
(8) map was marked as Plaintiff's Exhibit
(9) 4, for identification, as of this

(10) date.)

(11) BY MR. HAFFNER:

(12) Q Mr. Kahlon, we've marked as

(13) Plaintiff's Exhibit 4 it looks like a survey
(14) map. Have you seen it before?

(15) A Yes.

(16) MR. HAFFNER: I'm introducing
(17) this at this point really for

(18) reference.

(19) Q As you recall we were talking about
(20) tract three and then we were talking about
(21) the other tracts, the ones that Flowerdale
(22) retained.

(23) Is it okay if every time I ask you
(24) about tract three we all agree that it's this
(25) smaller purple tract of about eight acres on

Lexitas Court Reporting
800-678-0166
Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 88 of 191

[Page 88]
November 1, 2022

J. Kahlon
this survey map?
A Agreed.
Q When I talk about the two tracts that
were conveyed or transferred with Flowerdale
to Mr. Zuchaer or his entity, we're talking
about the yellow and blue larger tracts on
this exhibit; is that agreed too?
A Yes.
Q I may say tract one or tract two, I
doubt it, I'll probably say the larger
tracks.

When I identify tract though I'll say
tract three and we'll all understand that
it's that small purple parcel. Agreed?

A Yes.

MR. HAFFNER: We can remove
that. I have another exhibit,
Plaintiff's Exhibit 5.

(At this point in time, Answer
with Affirmative Defenses and
Counterclaims was marked as
Plaintiff's Exhibit 5, for
identification, as of this date.)

BY MR. HAFFNER:

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 89 of 191

[Page 89]
November 1, 2022

J. Kahlon
Q When you, Mr. Kahlon, on behalf of TJ
conducted these various securities type
transactions, did you send to Sigalit or her
husband Mr. Yehuda trade confirmations,
purchase agreements, option agreements, or

anything else?

A Not me, the controller would have.
Q Who would have it?
A We had a controller in the office that

used to send it to them on a daily basis.
Q I didn't see any of those

communications in your production.

A Why would I produce this to you?
Q I believe plaintiff's demands, and
I'll check, included communications. They're

preliminary, but I believe they do include
communications between you and Ms. Sigalit --
A It wasn't from me, it was from
controller to them. From the controller to
Yehuda, from Anthony Renaldi on a daily basis
to Yehuda. Nothing came out of me.

Q Number 2 asks for correspondence,
emails, faxes, letters or other

communications of any kind between the

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 90 of 191

[Page 90]
November 1, 2022

J. Kahlon
plaintiff and any member, managing member,
agent, employee or servant of TJ Management
Group. I think in all fairness the demands
call for the production of that.
A It's fair enough, but I don't have
those emails. He have it because the email
went to him directly from the people that
used to work in the company and now it's ten
years away. So I don't have those emails. I
don't have record of those emails because he
got it directly from the controller.

So it would be easier for you if you
ask your client to go through his emails,
search and get everything from Anthony
Renaldi you'll see everyday on a daily basis
he used to get reports. Every week he used
to get a P&L and every month he used to get

the totals of everything.

Q What was the controller's name?

A Anthony Renaldi.

Q Can you spell that?

A He used to get opening position and

closing position.

Q When was Mr. Renaldi hired by TJ

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 91 of 191

[Page 91]
November 1, 2022

J. Kahlon
Management?
A I don't remember.
MR. HAFFNER: Rick, I'm having
a hard time hearing hin.
MR. NAIDICH: Please speak up so
they get it.
A You asked me for a time, I don't
recall the time.
MR. NAIDICH: He doesn't recall.
Q Was Mr. Renaldi on board when you

began trading in securities?

A He was on board not from the very
beginning. He got hired later on. I just
don't recall the time. I can find out for

you and send you the date when he was hired.

Q Would he have been employed in 2007 or
by 2007?
A I don't recall. I have to look into

it to give you the correct answer.

Q Was there someone in a controller or
similar capacity employed by TJ prior to
Mr. Renaldi?

A There was another person there his

Mame is Edward Gurin. G-U-R-I-N. Gurin.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 92 of 191

[Page 92]
November 1, 2022

J. Kahlon
Q Prior to Mr. Renaldi, did Mr. Gurin
send these documents, these reports, P&lLs
whatever you testified about a moment ago, to
Miss Yehuda or Mr. Yehuda?
A I believe so.
Q Is Mr. Renaldi, is he still a

comptroller or employed by TJ?

A No.
Q When did he leave?
A When TJ stopped like doing business.

2011. 2010, ‘11, something like that.

Q Was he discharged, was he terminated
or did he resign?

A There's no need for him anymore
because TJ Management stopped operating.

Q Would it be fair to say he was laid
off for that reason?

A Pretty fair, yeah.

Q Do you know Mr. Renaldi's whereabouts
right now?

A Yes.

Q Have you kept in touch with

Mr. Renaldi since he was laid off in 2010 or

‘11?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 93 of 191

[Page 93]
November 1, 2022

A

Q

J. Kahlion
Twice a year on holidays and birthday.

So you maintain sort of a social

relationship with him; is that a fair

statement?

A

If you're greeting somebody for a

holiday twice a year or birthday, it's

socially relationship, yes.

Q

A

Q

Do you know where he's employed now?

I don't think that he's employed.

How about Mr. Gurin, his predecessor?
MR. NAIDICH: What is the

question?

Whatever the name of the prior

controller was, do you keep in contact with

him?

was he

No.

Was he terminated or did he resign or
laid off?

Laid off, I guess.

MR. NAIDICH: I don't think the
witness understands the
differentiation.

MR. HAFFNER: Withdrawn.

Who made the decision to hire both of

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 94 of 191

[Page 94]
November 1, 2022

J. Kahlon

these controllers?

A Me.

Q Anyone else?

A No.

Q Who made the decision to either lay

them off, terminate them, was it you or
someone else?

A Circumstances.

Q Who actually communicated to these
employees that their services were no longer
required?

A The circumstances. They knew. There
is no work.

Q Is your answer that they resigned
because they simply knew that there would be
no work for them?

A Yes.

Q That was the first one, right, or was
that both?

A Both.

Q So let's go to Plaintiff's Exhibit 5.
A document entitled Answer with Affirmative
Defenses and Counterclaims.

Mr. Kahlon, do you recognize this

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 95 of 191

[Page 95]
November 1, 2022

J. Kahlon

document?

Q

What do I see?
Would you like the court reporter to

or maybe your attorney has a copy of

Yes.

So you've seen it before, correct?

I just see the first page I saw it,

MR. HAFFNER: It's a 20-page
document. I'll let you look at it.
If your attorney doesn't have a hard
copy, the court reporter can scroll.

MR. NAIDICH: I'm looking to see
if I have a copy in front.

THE WITNESS: The reporter can
scroll.

(Court reporter is scrolling
through document.)

I asked you if you've seen it before

and I believe you answered you saw the first

page.

A

If it's the answer, I believe you,

yes, of course. this is our answer.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 96 of 191

[Page 96]
November 1, 2022

J. Kahlon
Q I didn't quite understand your answer.

Do I understand that you seen the entire --

A This is the answer that I present to
the court and to you. This is it, yes.
Q Without telling me what your attorney

said or what you said, did you participate in
the creation of this answer?
A Yes, of course.
MR. HAFFNER: Miss Court
Reporter, can you scroll to page 15.
Q Specifically beginning at paragraph
98, there you're alleging that TJ, Sigalit

and Avi have a confidential and fiduciary

relationship with you. Is that true?
A What do you mean?
Q Is there anything in that allegation

that is untrue that you can see at this

point?

A No. It's not an allegation.

Q Well, that's what lawyers call these.
A Oh, okay.

Q The next paragraph, paragraph 99

alleges that at all relevant times --

A This is lawyers language, right? 98°?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 97 of 191

[Page 97]
November 1, 2022

J. Kahlon

Q I'm sorry?

A 98 is lawyer language you said?

Q No, I didn't say it was lawyer
language. I just said that lawyers call

paragraphs and pleadings, we generally refer
to them as allegations. It's just a word.

So when I say "allege" I'm just
describing the paragraph that I'm referring
to. I don't mean anything by it other than
that.

Tf it makes you more comfortable in 98
and 99 you say: At all relevant times Avi
has been a primary actor in the conduct and
activities of the Company and has received at
his direction 50 percent of all profits
arising from the same.

So the first part, is that true?

A Which is the first part?

Q That at all times Mr. Yehuda was a
primary actor in the activities of TJ?

A As having a stake in the company.
But -- I don't understand exactly the
question.

Q Well, I don't understand it either.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 98 of 191

[Page 98]
November 1, 2022

J. Kahlon
Your previous testimony has been pretty
consistent, as I recall it, that you
controlled decisions, day-to-day, yes?
A Yes.
Q So my understanding of this statement
or allegation is that you're stating or
alleging that Avi is a primary actor. To me
that means he was the one who made the
decisions.

MR. NAIDICH: That's your
interpretation, Mr. Haffner, of the
allegation in that paragraph is yours.
If you want to ask a question about

the witness' understanding.

Q Do you know what "primary actor"
means?
A From what I know what his role is he

was, you know, getting his stake in the
company. Primary actor, I can just assume.
Q Wouldn't someone like that be more
probably be referred to as a passive
investor?

MR. NAIDICH: Objection. I

direct you not to answer.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 99 of 191

[Page 99]
November 1, 2022

J. Kahlon

Q In your understanding.
A My understanding is passive investor
is somebody that don't get reports everyday.
Passive investment getting reports once a
month or once a year or as he required.

Although he was an investor, he get
his percentage and he gets reports twice a
day, you know, I don't know. This is kind of
a -- I didn't choose the words there, but

it's not passive investor, let's put it this

way
Q Did you read this Complaint -- this
answer --

A Of course I read it.

Q Did you read actually this

counterclaim in this answer, did you read it

before it was filed on your behalf with the

court?
A I read it. It's not like your client
doesn't even know what she was alleging. I

was part of putting it together. Maybe the
chosen words wasn't right, but it wasn't what
you suggest passive investor. Even ina

company that you have like somebody actually

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 100 of 191

[Page 100]
November 1, 2022

J. Kahlon
working hard, doesn't mean that he make
decision. You know, like it can be anybody
working, you know, doing the words or
whatever he does. It doesn't mean that he
made decision. I made the decision all the
time. I don't understand.
QO | So this choice of words here in
paragraph 99, do I understand this was your
attorney's choice of words not yours?

MR. NAIDICH: Objection. I
direct him not to answer and you're
being argumentative about it. He has
expressed already what his opinion
was.

Q So you understood when you saw this
that "primary actor" meant receiving

financial information on a regular basis?

A That's not true.

Q I'm sorry?

A No.

Q So what was your understanding?

A Daily reports, Mr. Haffner, daily

reports. If somebody is involved like

getting the report, that doesn't mean they

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 101 of 191

[Page 101]
November 1, 2022

J. Kahlon

make decisions, daily reports.

Q

A

So I ask you again --
Same thing, daily report.

MR. HAFFNER: Rick, can you
please tell your witness to let me
finish the question and not to
interrupt me.

MR. NAIDICH: I can if you're
not going to keep repeating the same
question over and over. You may not
understand fully what his words are or
you may not like his answer.

MR. HAFFNER: I'm trying to
clarify his answer and he's not
allowing me to do so.

MR. NAIDICH: His answer has
been clear. We should move on.

MR. HAFFNER: I'm going to ask
a question again. And if we have to
go to court on this one, we will. If
you wish to strike your answer.

Let's go to court.
COURT REPORTER: I can't take

down any of this.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 102 of 191

[Page 102]
November 1, 2022

J. Kahlon

MR. NAIDICH: It's okay if you
want to go to court.

THE WITNESS: Why don't you do
that. Maybe you'll loose your
lawyer's license. Why not. That's
good. That's good.

MR. NAIDICH: That's
unnecessary.

MR. HAFFNER: I'm going to ask
a question now, is that okay?

MR. NAIDICH: If it's not a
question that's been asked and
answered.

MR. HAFFNER: I'm going to ask
a question now. You can listen to it,
Mr. Naidich, and you can make whatever
objection you want. I'm going to ask
a question is that okay?

MR. NAIDICH: Yes, ask your

question of course.

A If we say "no" you're going to ask it
anyway. So ask it.
Q Mr. Kahlon, is it your testimony that

when you read paragraph 99, and specifically

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 103 of 191

[Page 103]
November 1, 2022

J. Kahlon
the term "primary actor" that you understood
that someone who receives a shareholder, a
member who receives on a daily basis
financial information on the company, is a

primary actor?

A Yes, and information about what's
happened in the company, reports. Not just
financial, everything. Like what gets

completed, any relationship between workers
who was like hired or not hired, but did not
have -- by choice he didn't have -- he wasn't
a decision maker.

MR. NAIDICH: That's his answer,
Mr. Haffner, you may or may not like
it.

A Take it to court.

MR. HAFFNER: Mr. Naidich, I
asked for the permission to ask him
that question, he answered. You have
no objection, I don't have an
objection now we can move on.

What I had a problem with was I
was trying to sum this up with one

final question which I did and he was

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 104 of 191

[Page 104]
November 1, 2022

(1) J. Kahlon

(2) talking while I was trying to sum it
(3) up. He stopped talking, I asked the
(4) question --

(5) A Instead of going three seconds you

(6) took two minutes over. Come on, let's go.
(7) You did the same thing with the reporter.

(8) MR. HAFFNER: You know

(9) something, I think this is the time
(10) for a break because if we don't take a
(11) break this thing may break up and

(12) that's not going to be good for the
(13) mediation.

(14) A You don't need to think. Just do

(15) whatever you need to do. You know what is
(16) going to happen. You want to keep going,
(17) keep going.

(18) Q Mr. Kahlon, I'm trying to make a

(19) record here and you can't keep talking while
(20) I'm speaking, and it makes it impossible for
(21) the court reporter to take down an accurate
(22) record. Everything was fine until I got toa
(23) sensitive question here.

(24) A No sensitive question. The thing is
(25) you went five times on the same thing. I

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 105 of 191

[Page 105]
November 1, 2022
(1) J. Kahlon
(2) don't understand what you want from me. You
(3) want me to give you the answer and I give it
(4) to you. What answer you want to hear, I'1l1
(5) give it to you. It has nothing to do with
(6) the lawsuit.
(7) MR. NAIDICH: Stop.
(8) MR. HAFFNER: Mr. Naidich, your
(9) client is out of control right now.
(10) After the break he cannot keep
(11) interrupting me.
(12) THE WITNESS: Oh, yes.
(13) MR. NAIDICH: Let's terminate at
(14) this point. How much time do you
(15) want?
(16) MR. HAFFNER: 40 minutes.
(17) MR. NAIDICH: So, we'll
(18) reconvene at 2:00, does that conform
(19) with your watch?
(20) MR. HAFFNER: 2 o'clock is
(21) fine.
(22) MR. NAIDICH: Okay.
(23) (Whereupon, a lunch recess was
(24) taken.)
(25) MR. HAFFNER: Let's mark this

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 106 of 191

[Page 106]
November 1, 2022

J. Kahlon
as Plaintiff's Exhibit 6.
(At this point in time, Dallas
County Tax Office Payment Information
was marked as Plaintiff's Exhibit 6,

for identification, as of this date.)

BY MR. HAFFNER:
Q First question: This was part of your
production. Are you familiar with this

document?

A

Q

A

Q

Yes.
Can you explain --
Yes.

Can you explain generally what this

So this is the taxes to be paid.
Property taxes?
Property taxes, yes.

There is an account number, it's

proceeded by 00000445612000000500000. Do you

happen

number

parcel.

to know what property has that account
for property taxes?

This is the small parcel. The third

Tract number three?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 107 of 191

[Page 107]
November 1, 2022

J. Kahlon

A Yes.
Q The "8." something parcel on that map,
the purple one on top?
A Yes.

MR. HAFFNER: Vilma, let's go

to the second page.

Q In the left hand vertical column I'm
assuming, and I'll ask you this -- rather
than my assuming anything, why don't I ask
you what this left hand vertical column is.
It has receipt date at the top. What are
those dates?
A I see it.

MR. HAFFNER: Now, scroll down.
Q What does that mean? Is that the date
the assessor's office received the property
tax payment?
A I suspect -- yes, because it's a
different date, yes, the actual payment date.
Q Moving from left to right vertical
column, the next vertical column is payment
amount. I'm assuming that's exactly what it
is, it's the property owner's payment that

the Dallas Assessor's Office received on this

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 108 of 191

[Page 108]
November 1, 2022

J. Kahlon
case on October 31, 1996; is that your
understanding?
A From this date, yes.
Q The next column over to the right tax
year period, I'm assuming, and you'll tell me
if I'm wrong, that 1995 is the tax period for
which this payment was made; is that your
understanding as well?
A It's consistent, yes. It looks like
they paid partial here and there.
Q Correct. There may be partial

payments, quarterly payments, monthly, who

knows.

A Yes.

Q But from your understanding of that

this, this bottom line here -- well, let me
finish. Let's just finish the last column.

The last number is titled "Payor" and
on this date Flowerdale Farms LLC is the
payor.

Does that mean that Flowerdale Farms
was the record owner for this year for the
year 1995; is that your understanding of

this?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 109 of 191

[Page 109]
November 1, 2022

J. Kahlion
A That is my understanding, yes.
Q Let's move one line up. The next four
lines up we have "unknown" as the payor.
What I'm trying to do here is try to identify
evidence that may inform us about who owned
tract three in various years. So the next
four lines up --
A Sorry. Mr. Haffner, this is not for
tract three. Tract three started later on.
This is -- you see tract three also have
taxes on its own. How can I say it? T'il
take it back. It's tract three as of owned
by Flowerdale.

So it was one tax payment but divided
by three. So all of them was under
Flowerdale at the beginning.

Q Let me just take it one step ata
time. I recall asking you about this account
number whether this covered all three tracts
or just one.

Are you testifying now that despite
the fact that this document has one account
number, that in the early years it covered

property tax liability and payments made by

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 110 of 191

[Page 110]
November 1, 2022

J. Kahlon

various owners against all three properties
but then at some point later on, as we scroll
up, this account was only for tract number
three, is that what you're saying?
A I'm sorry, I take it back. I made a
mistake. You see here it's parcel three.
when we paid it as one chunk but it was split
for three. You're right. So I take it back.
Q My understanding is that assessors
assign an account number for each particular
legal parcel. All right. Good. So let's
keep doing it the way I was doing it.

So October 3ist there was a payment

received in 1996 unknown from an unknown

payor. The same thing on January 24, 1997.
The same thing on December 30, 1997. The
same thing on December 31, 1997. We're not

really concerned about these years, so let's
just keep rolling up.

So then on June 29, 1999, according to
this document, my understanding is that a
Coffin Ralston H. Jr. paid $335 in 1998 taxes
or at least made a partial payment on that

date against 1998 taxes for parcel number

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 111 of 191

[Page 111]
November 1, 2022

J. Kahlon
three; is that your understanding as well?
A Yeah.
Q Do you know who Coffin Ralston H. Ur.
is, would he be one of these estate heirs or

whatever or do you not know?

A No, I don't know.
Q Also in 1998 another payment is
received now it's unknown. On January 31,

2006 another payment is received $2008.22
against 2005 property taxes also unknown
payor. There is no indication why, and maybe
you know, do you know why there are no
payments received on tract number three from
1998 through to 2005?

A So, all I know when we took over these
properties we paid the --

Q I see. I see there were
delinquencies. There were property taxes
maybe even liens when you acquired tract
three; is that your testimony?

A Yes.

Q And they were paid on February 28 at
least 26,000 was paid on February 28, 2010;

is that correct?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 112 of 191

[Page 112]
November 1, 2022

J. Kahlon

A Yes.
Q There were also large amounts paid on
January 12, 2010 by TJ, larger anyway than
the numbers we were seeing earlier, right?
Is it your recollection that those larger
numbers, for example, the 7,055 that TJ
paid against -- Well, no, strike that. That
one has 2009. So never mind.

MR. HAFFNER: I withdraw that.
Q So I do see on February 28, 2010 TJ
made a payment of $26,759 which answered my
question a moment ago what happened in '99
through 2004. I see it right here.

Do you recall whether that $26,000 was

the arrears, basically property tax arrears
for the property, for tract number three

including probably interest?

A Yes.
Q Let's go back down to the second page
top line going across. On January 31, 2007

Flowerdale LLC made a payment of $2041.13
against 2006 taxes. Is that because
Flowerdale LLC on that day still owned tract

number three, assuming that's the reason?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 113 of 191

[Page 113]
November 1, 2022

J. Kahlon

A Yes.
QO Let's go to the first page bottom
line.

MR. HAFFNER: You see I'm
giving that three-second pause so I
don't get in trouble with the court
reporter.
COURT REPORTER: Thank you.
Q This one has Flowerdale on December
14, 2007 paying $1842.57 for tax year 2007.
Is that your understanding? It's on the

page, right, Mr. Kahlon?

A Yes.
Q If I recall, Flowerdale conveyed the
third tract to TJ -- when was it around

September of 2007? If you don't know, you
don't know.

A I don't know.

Q So the next entry moving up January

31, 2008 TI Management paid $6749. 31 for

2008.

A Yes.

Q TJ next paid against 2009 taxes $7,000
approximately. We discussed this already,

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 114 of 191

[Page 114]
November 1, 2022

J. Kahlon

the next line up, TJ took care of the arrears
for those years the taxes weren't paid
between 1999 and 2004.

Again, TJ paid 2010. Let's look at
2010 taxes now. Tax year paid. On December
23, 2010 TJ paid $7154.12. Is it your
recollection that this was the full amount of
property taxes based on the assessment of
tract number three?
A It sounds right.
Q It went up slightly apparently in 2011
because around the same time at the end of
the year TJ made another similar payment
slightly more. For 2011 same thing.

Okay. So then the next one for 2012
TJ made a payment of $8160, but it was in
April. All right, maybe it was a little
late, maybe it wasn't -- it doesn't matter.
It is what it is.

MR. HAFFNER: I withdraw that

question.

Q I'm not sure why it was April versus
December for 2012. And then three years goes
by -- well, there is no indication -- oh, I

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 115 of 191

[Page 115]
November 1, 2022

J. Kahlon

see. We're going to get to it. All right.

So the next payment TJ made was on
December 24, 2015, and I guess it shows the
pay for 2015 taxes. Do you know why the
taxes weren't paid for 2014 or '15?
A No, I have no idea. Maybe I had the
controllers -- like the people who worked for
me didn't work anymore and it probably
slipped my mind.
Q So the very first line there was a
payment made November 30th, 2016 in the
amount of $29,636.33 for the years, the ones
we just discussed where TJ overlooked paying
those years or they weren't paid for whatever
reason, the controllers left this or that,
it's payment by GPS Credit Report LLC for the
tax years 2013, '14 and ‘15.

Do you know why GPS paid the taxes for
2013, '14 and '16? My recollection was that
GPS came into title of that third tract only
briefly in 2017.
A So I would assume, I don't exactly
recall it --

Q Well, don't guess. To the best of

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 116 of 191

(13)

[Page 116]
November 1, 2022

J. Kahlon
your knowledge.
A When they bought it they realized that
it was in arrear so they pay it up so not to
get repossession. But I'm sure I paid them
back for that. Either I paid them back for
that or -- this is something that TJ
Management would make at the end of the day.
When they took it over you know like you want
a clear record. You don't want to have a tax
problen. So they paid it. If there was
200,000 to be transferred, they would deduct
it from there. So if the transfer like
reverse, so I probably paid them whatever
they paid here.
Q Do you have records of that payment?
Not the payment by GPS to Dallas Assessor,
but your return of that $29,336 that GPS paid
for those tax years?
A I have to look for it. I'm not sure
if I have it, it's ten years ago. What would

I have that would be satisfied, a check or

what?
Q I don't mean to be argumentative but
it wasn't ten years ago. It was the end of

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 117 of 191

[Page 117]
November 1, 2022

J. Kahlon
2016.
A I looked at 2013. Okay, 2016, so I'll
go to the bank account and check.
MR. HAFFNER: Exactly. Thank
you.
REQUEST:
MR. HAFFNER: Let's take it off
the screen.
Q I'm going to follow-up on an answer
you gave last week which I don't really
understand and maybe you can explain it.

I'm not going to mark this, I'll
represent that this was the answer that the
court reporter took down. And I'll read a
couple of questions that preceded it. Let me
Just get to the answer I'm talking about. It
was at the very end before we broke up.

Just for reference when we get the
transcript it's at page -- let's see. All
right the question -- this would be page 20,
it's a rough transcript, but it's what the
court reporter took down towards the end of
our session last week.

"Question: Following the receipt of

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 118 of 191

[Page 118]
November 1, 2022

J. Kahlon
this $200,000 wire, did you transfer a 50
percent interest to TJ Management to Sigalit
Yehuda?"

Your answer was:

"Answer: TJ Management is a sole
owner LLC but from the paper that I see I
don't recall it. I believe it's the original
paper, so probably I've seen something like a
50 percent that we signed on this paper."

And I'll represent to you the paper
that you were referring to in this answer was
Exhibit A to the Complaint which was -- I
think it was a 2004, November and notarized
in December assignment of 50 percent of the
interest in TJ Management.

So, before I get on to my ultimate
question about this answer that I'd like you
to clarify, this triggers a question for me.
You had testified that there was $200,000,
that a wire showed up it was 200,000.

Were there further contributions by
either Sigalit or Mr. Yehuda towards TJ

Management other than the 200,000 that you

testified?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 119 of 191

[Page 119]
November 1, 2022

(1) J. Kahlon

(2) A You mean just funding money?

(3) Q Funding contribution.

(4) MR. NAIDICH: Do you only mean

(5) money when you talk about

(6) contributions?

(7) MR. HAFFNER: Yeah, I was

(8) thinking only of money.

(9) Q Other than the 200,000 wire that you
(10) said came in some period of time after that
(11) meeting in the car with Mr. Yehuda, were
(12) there other wires or payments of money from
(13) either Sigalit Yehuda or Avi Yehuda?

(14) A Never.

(15) Q Did you say no?

(16) A My answer was never. No, never, it's
(17) okay.

(18) Q What about other contributions other
(19) than money? Anything else from either of
(20) them?

(21) A Can you be more specific?

(22) Q Stocks, artwork, anything of value,
(23) services?

(24) A No.

(25) Q And then I asked: Apart from any

Lexitas Court Reporting
800-678-0166
Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 120 of 191

[Page 120]
November 1, 2022

J. Kahlon

document that might evidence a transfer of 50
percent of TJ Management to Sigalit Yehuda do
you have a recollection that you caused TJ
Management to transfer 50 percent of what had
been a hundred percent interest in that
company to Sigalit, and then you answered:

(Reading): I don't know how to answer
this question because TJ Management never
gave half of the percentage. There wasn't

any partnership in TJ Management partnership

per se. It was kind of whatever 50 percent
profit. I don't remember why her name was on
it and not his. I have no recollection of
that. I have no recollection of that. I

don't remember but he's like 50 percent for
TJ Management or whatever TJ Management does.

My next question is: (Reading) I
understand that you do recollect that he or
Sigalit was to receive 50 percent of profits
but you don't recall whether he, Avi Yehuda
or Sigalit, were formal 50 percent
shareholders for TJ Management?

So here was your answer and I'm going

to ask you to clarify that answer.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 121 of 191

[Page 121]
November 1, 2022

J. Kahlon

"Answer: So what I'm answering you
right now is from the resource that happens
later on --"

By the way, if there's a typo here I
think it would make sense if you interrupt
me, so we'll counter what we both agree to
do. Please interrupt me if there's a
typographical error here as I read it, to the
extent you can identify one.

I'll start again.

(Answer: So what I'm answering you
right now is from the resource that happens
later on so not from the recollection of this
moment. So later on in time I shared 50
percent profit, 50 percent from -- they were
like 50 percent in profit or losses whatever
is happening there. So there was a
transaction of money according to that for a
couple of years. Then it was adjusted and
transferred through there, yeah, that's where
it was. If I understand that question right
because technically I know the shares wasn't
transferred.)

If you want you can maybe summarize

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 122 of 191

[Page 122]
November 1, 2022

J. Kahlon
what you intended by that answer otherwise
I'll can ask you specific questions based
upon what I just read. Which would you

prefer?

A Please ask me the question.
Q So you say later on in time: I should
have 50 percent in profit. They were like 50

percent in profit or losses.
So when you say "later on," what's the

time reference point? Later on from what

point?

A I don't understand the answer. Me and
you together. I don't know what was exactly
there.

Q Fair enough.

(Reading) : So there was a transaction
of money according to that for a couple of
years and then it was adjusted and
transferred through there, yeah.

What does that mean?

A I don't know.
Q You have no idea. Okay.
A If you want me to answer the question

again, I'1l1 do it.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 123 of 191

[Page 123]
November 1, 2022

J. Kahlon

Q Well, the question was I said: il
understand that you do recollect that he or
Sigalit was to receive a 50 percent of
profits but you don't recall whether he, Avi
Yehuda or Sigalit, were formal 50 percent
shareholders of TJ.

And then there was this answer --
A I don't understand the language. When
you say "formal" I didn't probably catch it.
Formal you mean like all the papers,
registers that's what you meant, correct?
Q By the way, when I said "shares" your
attorney corrected me and I accepted it, I
was referring to membership interest because
we all know TJ Management is a limited
liability company that issues membership
interest and not a corporation that would
issue shares. So that was my question. You
mention here that there was, I'm not quite
sure what you mean by "it was adjusted and
transferred." You don't recall either?
A No. It happens to me a lot I don't
understand myself after I read it.

Q All right. That's fine. Maybe I

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 124 of 191

[Page 124]
November 1, 2022

J. Kahlon
should have clarified it at the time. I'm
sorry, but I would think I'd take this
opportunity. We were under the gun. Okay,
you don't understand, I don't understand, it
is what it is.

I recall you testifying you had SEC
problems, they started investigating you,
there was some kind of Wells letter in 2010
maybe and then --

A 2011.
Q -- and then within a year after you
stopped making these 504 trades; is that

correct?

A I stopped the year before the Wells
notice.
Q Oh, okay. Fine. By the way, do you

have a copy of the Wells notice?

A I should have it. I live it everyday,
so I should have it.

Q T'll ask for production of that.

A If you want I'll send you the audio of

the appeal.

Q So are you talking about the record on

the appeal that was filed with the Second

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 125 of 191

[Page 125]
November 1, 2022

J. Kahlon
Circuit? You know what a "record" is, right?
Yes? I didn't hear you.
A Fifth Circuit.
MR. NAIDICH: He said Fifth

Circuit. It's the fifth circuit, not

the Second circuit.
Q I'm just asking you for the Wells
notice where ever it is.
A Did you hear what he said? He said

the appeal was in the Fifth Circuit.

QO I know.
A Okay.
Q I just thought I heard you say that

the Wells notice would be in the submissions
to the Fifth Circuit Court of Appeals, but it
doesn't matter, all I'm asking for is the
Wells notice, so whatever it is, if you would
provide it, I'd appreciate it.

A With the answer too?

Q You don't have to answer. Your
attorney if he agrees he'll send it to me.

A No, we got the Wells and we answered.
The Wells asks the questions and then we

answered.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 126 of 191

[Page 126]
November 1, 2022

J. Kahlon
Q I see what you're saying. Oh, yes,
the answer too. Thank you. I've never seen
them before but, yes, the answer as well.
REQUEST:
Q At some point I suppose the SEC asked
you who are the members or owners of TJ
Management, is that correct?
A Yes -- no, they didn't ask me. TJ
Management was sole owner LLC.
Q But that's normally, at least in New
York and other jurisdictions I'm familiar
with, the owners of LLCs are not -- do not
typically appear in your filings with the
secretaries of state.
A You have to advertise. To be a sole
owner LLC, you have to advertise in the
newspaper.
Q If you're talking about publication
advertising in a newspaper, yes, I understand
you were the sole owner of TJ in 2005 when
you created, published and all that and the
LLC was created, but at some point afterwards
I think it was a year later maybe, 2004 if I

recall the end of 2004, TJ was no longer a

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 127 of 191

[Page 127]
November 1, 2022

J. Kahlon
sole member LLC?
COURT REPORTER: Can you repeat
the answer.
MR. NAIDICH: The answer was "It
was always a sole member LLC."
I'm not editing in any way.
When she can't hear his answer, I'm
merely repeating it.
MR. HAFFNER: Okay, I didn't
complain.
Q But in 2004 Sigalit became a 50
percent member of TJ Management; is that
correct?
A The document that you showed me was an
indication, I believe it was between us, so

we would have an understanding but this was

never -- like it was never, you know, like
registered. And she was like -- Avi was like
the one here. It's kind of like it was

complicated. I don't recall why we didn't do
it, but it's the same thing I don't recall

why she is on the paper and not him. I don't
know why. I don't remember why. Why he had

volunteer that she is going to be it and not

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 128 of 191

[Page 128]
November 1, 2022

J. Kahlon
him. I don't really remember the
circumstances.
Q Did the SEC ever take statements from
you or depose you or interview you as part of
their investigation?
A Yes.
Q And in what form did those
interrogations take place? Statements,
recorded testimony? How did they occur?
A Deposition.
Q Oh, a deposition. How many times did

the SEC depose you?

A One time.

Q One time?

A Yes.

Q Either at this deposition or otherwise

did they ask you if there were any members of
TJ Management other than you?
A No.
Q I see TJ Management is a domestic New
York Limited Liability Company showing Queens
County.

Do you know why Queens County was

chosen?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 129 of 191

[Page 129]
November 1, 2022

J. Kahlon
A Probably the accountant who opened it
was in Queens.
Q TIT think we allege this in our
Complaint, and I believe you address it in
your answer, we allege that $800,000 was
invested in developing the property. Do you
know whether that number is correct?
A It was for some developing to comply
with the city of Dallas so we negotiate a
different kind of scope of work.
Q So this $800,000 it sounds to me then
that it was for the two larger tracts, not
tract three because I recall you testifying
that the judgment was against the two larger
tracts?
A Correct.
Q As far as tract number three, was any
money spent on development?
A Again, this wasn't development. It
was to comply with -- choice of word of the
developer is different than comply with the

judgments.

Q Well, I thought we understood that the

judgment applied to the two larger tracts,

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 130 of 191

[Page 130]
November 1, 2022

J. Kahlon

one and two?

A True.
Q So now I'm asking about tract number
three. What expenses including grading,

removal of trees, construction, maybe
improvements, property -- well, I know
property taxes were paid, but were there any
expenses incurred for the actual development
of the property including zoning, applying
for zoning variances, et cetera, et cetera?
A No.

Q Are you familiar with a Delaware

corporation by the name of Project Verte,

Inc. ?

A Yes

Q Who are the current owners of Project
Verte?

A There's many, many owners. TNJ I own

it through TNJ, and on the other side it's
two partners but they bring it to at least
seven or eight entities. I don't recall
their names.

Q On these seven or eight entities were

they also the founding owners of Project

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 131 of 191

[Page 131]
November 1, 2022

J. Kahlon

Verte?
A All of us, me too, yes.
Q Is it accurate to say that other than

TNJ Holdings, all of the other owners can be
referred as the "AJ Group"?

A Yes.

Q So your ownership of shares in Project
Verte, is it correct to say that it is
through TNJ Holdings?

A Yes.

Q Along with the AJ Group, were you a
founding member or TNUJ a founding member of
Project Verte?

A Yes.

Q Can you explain to me at the time
right before Project Verte was formed, whose
idea was it to create a company with this
name and what was the purpose of the company,
what was the business plan so to speak? If
you can give me a summary, that's what
executive plans or business plans often are,
just a brief summary, whose idea was it, what
was discussed, that sort of thing.

A Amir Chaluts approached me and talked

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 132 of 191

[Page 132]
November 1, 2022

J. Kahlon

to me about real estate.

Q Who was this again? I didn't hear
you.

A Amir Chalutz.

Q I think the first name is spelled

A-M-I-R, correct?
A Yes.
MR. HAFFNER: Chaluts is

C-H-A-L-U-T-S.

A Amir Chaluts approached me, his back
office is in real estate here in New York,
and he tell me that his partners for many
years named Jane Gold is nagging him to move
into the warehousing business. Meaning,
virtual stores.

So they have the real estate and part
of it is like having regent stores, they're
weakening because this business like Amazon
kind of business. So they tried to transfer
business to something like that.

And then I wasn't working at the time,
I was retired, happily retired, and then I
really didn't want to do anything. So he

press, press like enough for a while and I

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 133 of 191

[Page 133]
November 1, 2022

J. Kahlon
okay. I said okay, let's do it. So we
talked about going into a two or three-year
venture.
Q When did these discussions begin?

Would it have been around 2017 or 18 or

later?

A Around there, ‘17. Yes.

Q So that was the plan. That was the
idea.

Did you discuss with members of the AJ
Group whether it be Jane or Amir an ownership
structure, what percentage each party would
have in the venture and what the funding
would be?
A 50/50 ownership. TNJ owns 50 percent
and AJ Group 50 percent.
Q For that 50 percent what was AJ

contributing?

A Well, mostly funding in the beginning.
Q Well, how much funding? I suppose we
can call these startup expenses. I'm

assuming a venture like this wants to
eventually compete with Amazon or in that

business there would be substantial funding

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 134 of 191

[Page 134]
November 1, 2022

J. Kahlon
necessary.
What was the startup funding that Ad
committed or contributed?
A So as everything you see here nothing
is for venture. Actually the first year of

Project Verte I was the only one funding.

Q How much did you fund?
A Like before they start putting any
money in, probably around §2 million. Before

they start funding the company.

Q $2 million in cash?
A Yes.
Q Where was that money -- where did that

money go? Did you pay a vendor, a
contractor, did you pay a seller of property?

How was that $2 million paid?

A So it went to expenses to startup
expenses. We hired people with base
salaries. We paid engineers -- we paid
engineer. The whole thing that you have to
put together to form a company. Also, we put

deposit on alteration robots, stuff like
that.

MR. NAIDICH: I'm allowing you

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 135 of 191

[Page 135]
November 1, 2022

J. Kahlon

to go into this but my question is:
What his investment was or not in
Project Verte, it seems to me to be
fair afield of the issues between your
clients and mine unless you give me
some indication of its relevancy.

MR. HAFFNER: As, you know,
Rick, there is a dispute about what
Mr. Kahlon or his company, TNJ,
received for certainly tract number
three and perhaps all three of the
properties.

MR. NAIDICH: The problem that
I'm having with what you're asking,
and maybe I'm missing something, but
the initial investment or not made
into Project Verte, as I understand
it, has nothing to do with the later
transaction between Project Verte and
Zuchaer & Zuchaer whereby Project
Verte acquired some potential interest
in the property in Texas.

What you're asking is when

Project Verte was formed initially

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 136 of 191

[Page 136]
November 1, 2022

J. Kahlon
what investment Mr. Kahlon made.

MR. HAFFNER: Why don't you let
me ask another question or two and
then we can revisit this.

Q Apart from the 2 million, did you

contribute any real property to Project

Verte?
A If I contributed my property, no.
Q Did anybody else contribute property

to Project Verte?

A When Amir Chaluts approached me he was
under the assumption that I still owned
property in Texas. The reason he was because
I tried to sell it at the time and he get
familiar with this piece of land and nothing
came out of it.

So when he approached me he said do
you still have the place in Texas, do you
still own it? I said, no, but a friend of
mine own it, which he knows also, and I said
I'll see what I can do. That's how. So he
approached me according to this land, I
didn't offer it.

Q Isn't it true that you received --

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 137 of 191

[Page 137]
November 1, 2022

(1) J. Kahlon

(2) well, isn't it true you received a $14

(3) million credit or TNJ did from Project Verte?
(4) A First of all, it's not. It's not even
(5) close to what you say. I received credit not
(6) for the land, I received credit for brokering
(7) the land not for selling the land. $14

(8) million went for the owner of the land that
(9) was like notes. Actually $6 million came

(10) like my way as a credit back after just one
(11) year that we went, I took the land, and I

(12) tried -- what we did -- I paid almost

(13) $700,000 of my money to hire an engineer to
(14) change the zoning on the land.

(15) So if the zoning would have changed,
(16) this property would probably be worth a

(17) hundred times more, yeah. But this whole

(18) time when the engineers were working on the
(19) land, I paid it from my own money, personal
(20) money. Nothing to do with Project Verte or
(21) anything like that.

(22) I told Amir I have difficulties with
(23) this land with the neighbors to change

(24) anything. So I don't know that it's a good
(25) idea. We went down there, like five people

Lexitas Court Reporting
800-678-0166
Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 138 of 191

[Page 138]
November 1, 2022

J. Kahilon
went down to Texas, we speak to the city of
Texas which they were excited. Mr. Chaluts
introduced me to his engineer, I forgot his
name, which I paid from my pocket all the
time to try to change this zoning. If you
don't want the answer, that's fine.
Q Let's go back a moment to your
testimony where you said --
A The only thing is also something else.

You told me that I received money.

Q What did you receive?
A I received for my work, my brokering
fee, I received credit. I never get money

and never, ever because you mentioned parcel
three, parcel three was never transferred not
to Project Verte and not for anybody there.
Parcel three that you claim in your lawsuit,
that because of parcel three I got $10
million, you can go online and see TJ --

Q Well, you testified that AJ Group --
it was agreed that AJ Group would get 50
percent. What contribution did AJ Group
together, because AJ Group is a bunch of

founding --

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 139 of 191

[Page 139]
November 1, 2022

J. Kahlon

MR. NAIDICH: Let's be clear in
this question because it seems to be
confusing. Are you talking about the
initial formation of Project Verte or
TNJ?

MR. HAFFNER: Of course because
initially it was decided that AJ Group
would own 50 percent of Project Verte
and TNJ would own 50 percent. So,

yes, of course I'm referring to

initially.
Q Initially what did --
A Like I told you before, the first $2

Million I put in myself, before they even put
a penny, but they still want 50 percent in
the company. Because it was like -- I was
running the daily thing in the beginning. So
the first year I put §2 million from my
pocket alone. After that it's like on the

books over there.

Q Let me make this a little more clear
because, as you said many times, this is far
from a conventional transaction.

A Correct.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 140 of 191

[Page 140]
November 1, 2022

J. Kahlon
Q My understanding is Project Verte was
incorporated before the parties had reached

agreement on a shareholder's agreement where

typically percentage -- no?

A No.

Q Is that not true?

A From the very beginning because

Project Verte that was the account

transformation, Project Verte was like I

formed it first. When I formed it, it wasn't
Project Verte, it was a different name. It
was Verte, Inc. or whatever it was. And then

after one year my partners got more involved
they registered a new company in Delaware. I
registered Project Verte, the initial company
was in New York first. And they came in, you
know, they're control freak, so they decided
they want to do another one and they want to
have it in Delaware, which I was fine with.
So that's why it's confusing.

Q In what document, if any, are the
stated percentages of ownership of Project
Verte Corp. the Delaware corporation that was

ultimately formed?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 141 of 191

[Page 141]
November 1, 2022

J. Kahlon

A So this was like a year after?

Q Yes.

A So this was like the shareholder
agreement.

Q Exactly, and that's what I was talking

about before.
A Initial investment is when you

started, right?

Q Yes, and I have no objection to your
initial answers. Not at all.
Tt was unconventional. There were

investments made by the parties who were
going to be parties to the shareholder
agreement, a year before the parties
completed their negotiations and agreed two
percentages that were reflected in the
shareholder agreement, do I have a handle on
it now?

A Yes.

Q And you will agree it's very
unconventional so I'm not trying to argue,
I'm just trying to understand it because it
is an unconventional transaction.

So there were some negotiations. I'm

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 142 of 191

[Page 142]
November 1, 2022

J. Kahlon
not going to sit here and ask you who said
what, what date, what the offers were, what
the counteroffers were --
A There wasn't any negotiations. It was
like agreed upon. No negotiations. We knew
what we were going to sign-off on.
Q But you testified, if I recall
correctly, that the first recital of which
shareholders owned what percentage of Project
Verte was first reflected in the shareholders
agreement that was executed and delivered
more than a year after the Delaware
corporation, Project Verte, was incorporated?
A Yes, but then we agreed upon, we shake
hand the year before that, that's why this
complied to a year after in the papers.

So it wasn't negotiation. It wasn't
like any -- so we agreed on something with
handshake, that's what reflected after that,
a year after.

Q So why don't you tell me about the
handshake agreement?
A I told you 50/50.

Q But what about who was going to

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 143 of 191

[Page 143]
November 1, 2022

J. Kahlon
contribute what for that 50/50?
A It wasn't really like decided on. We
paid as it goes.
Q But there was an understanding
verbally that whatever one party put in --
let me finish -- whatever one party put in
the other party would put in an equal amount
because didn't you say you agreed on 50/50?
A When you say that I thought you were
talking about what they do in position in the
company, what each one is going to do
work-wise. But 50/50, yes. 50/50 we have to
put 50/50 of our money, yes.
Q So you testified that before the
shareholders agreement you had already
invested about 2 million, what, looking into
developing or the potential of which
property?
A No, no. I hired people to work,
office, I bought the robots for the
warehouse, the engineers, the studies, all
the studies and the books that we needed, you
know, for the business. Forensic studies for

the business itself. The whole shebang.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 144 of 191

[Page 144]
November 1, 2022

J. Kahlon
Just do the whole packages for later on.
Q I misunderstood you. I thought
engineers were relating to the property but

that is not the case, correct?

A No, the engineer for the property was
separate.
Q It wasn't part of this 2 million,

correct?
A Yes.
Q Okay. Thank you. You're clarified.
Thank you.

I believe you testified that $800,000
was invested in, I think you said to settle a
judgment or comply with it or whatever for
the big properties, tracts 1 and 2; is that
correct?
A $800,000 is complying with the
judgment. The judgment was to clear the
floodplain. There was debris that was thrown
into the floodplain. It was after Katrina,
so they want us to clear the flood of the
water so they wouldn't be able to flow
through in case of 100 years, I don't know,

and it was like a fence around it but we

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 145 of 191

[Page 145]
November 1, 2022

J. Kahlon
managed to negotiate a different scope of
work.

So from the first scope of work that
they had where we managed to take out the
fence that they want to put around it and
taking the debris out of the land completely
was just to move it out the floodplain to the
land somewhere else. So the whole scope of
work was significantly done.

Q Where was the floodplain in relation

to the three parcels?

A That's a good question.
Q Thank you.
A I wouldn't know what to tell you.

It's running between the two parcels, it's
running somewhere there.

Q So your recollection is that the
floodplain was at least covering the two
larger parcels or a good part of it?

A Yeah, it was like through it. It's
kind of like a creek that you have to clean
with debris.

Q Did the floodplain go across the road

to tract number three, the smaller tract?

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 146 of 191

[Page 146]
November 1, 2022

J. Kahlon
A No.
Q So $800,000 was spent by TJ Management
to correct violations, whatever relating to a
floodplain that covered all or part of tracts
number one and two but not tract number
three; is that correct?
A Yes.
Q When was this $800,000 spent? Was it
paid in one lump sum and if so when was it
paid, and if it wasn't paid in one lump sum

when were the first expenses incurred?

A I don't know exactly the dates.
Q Approximately.
A It wasn't a lump sum, it was paid for

excavator, the guy with the bulldozer just to

remove the debris. So it was paid as it
goes.
Q And this was paid by TJ Management,

correct?

A Yes.

Q I recall you testifying that TJ
Management never took an interest in these
two properties either directly, tract 1 and

2, either directly or through an assignment

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 147 of 191

[Page 147]
November 1, 2022

J. Kahlon
of Flowerdale; is that true?
A One second. You asked me question
both of them are directly. If I have an
assignment of Flowerdale, meaning TJ
Management owns Flowerdale. Does directly
mean TJ Management didn't own the land in
Flowerdale, is that what you mean?
Q Well, I think what I meant was I
recall your testimony being -- I think you
testified that because tracts one and two
which was part of TJ's collateral had fence
liability of about $10,000,000 which offset
the appraisal for those two properties of
about $7 million, you decided that TJ was
going to take tract number three only and
leave the other two tracts alone and that
those other two tracts were later sold by an
entity owned by Flomenhaft to Moshe Zuchaer,
and my client had a one-third interest in it.
That's what I recall your testimony being.
You can tell me if you have a different
recollection.
A So the reason we didn't take it like

you said was the judgment. So the guy who

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 148 of 191

[Page 148]
November 1, 2022

J. Kahlon
actually brokered the deal, he took it upon
himself to hold this land, to hold this land,
if we had any problem with it, it's going to
be on him. But any -- if we're going to
clear -- everything is going to be cleared
out, everything is going to be okay, we're

going to own the land.

Q Who is "we"?
A TJ Management.
Q So is it your testimony that for

$800,000 that TJ spent, the problem was
cleared, the fence problem and also the

floodplain problem was cleared?

A So for $800,000 -- I think it's around
a million for some. I don't know I recall a
million. So instead of having this judgment

the way that you lawyer writing stuff it's
like, you know, pulling teeth. So we managed
to negotiate to do different work, and for
$800,000 or a million, we satisfied the city
judgment.

Q So with that condition satisfied, do [I
recall from your testimony just now, that

there was some arrangement between Ted

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 149 of 191

[Page 149]
November 1, 2022

J. Kahlon
Flomenhaft's company and yours that TJ would
have an interest in Flowerdale or these two
properties?
A Yes.
Q And then at a later point in time
Moshe Zuchaer took over these two properties
by an assignment of Flowerdale to him or his
company Z&Z as I recall you testifying; is
that correct?
A Yes. It was a few years after. A
year or two years after.
Q After these problems were fixed, the
fence, the floodplain whatever else, did you
and/or Mr. Flomenhaft or his company have an
opinion of the fair market value of tracts
one and two?
A So we thought we did, that's why if it
was valuable it probably would transfer to TJ
Management.

So the problem there was we had
difficulties all of a sudden with the people
that control this area. It was like a church
there, all Black school there, they gave us a

hard time to do anything over there. Like I

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 150 of 191

(25)

[Page 150]
November 1, 2022

J. Kahlon
spent a lot of time over there to try to do
something. And they were like blocking the
area. It was like politically motivated.

So I realized that I can't do anything
with this land, this big piece of land, and
we spent this much money there, and we kept
getting phonecalls about people throwing
tires into the place, we're getting tickets.
They didn't stop bothering us. So we decided
to get rid of it.

Q And you sold it to Moshe Zuchaer or
his company Zuchaer & Zuchaer?
MR. NAIDICH: Mr. Haffner who is

the "you" in that?

Q I'm sorry, Td. No, I'm sorry. Good
point. TJ and Flomenhaft.
A Flomenhaft is the one that made the

deal. If you're talking about like
Paper-wise that's what it was.

Q I'm not talking about paper-wise. I'm
talking about equity ownership whether it's
reflected in paper or not. As I said before
your testimony was that TJ was not interested

in the collateral because it had a fence

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 151 of 191

[Page 151]
November 1, 2022

J. Kahlon
liability maybe of $10 million, and now
you're testifying that, well, that was kind

of resolved but there was also a floodplain

problem. And then I asked you -- right?

A No, no.

Q No? Well, clarify please.

A I don't know what you're referring to.

Tell me that question again.
Q I'm just trying to get the story
straight but it's changing.
A The city of Dallas had a judgment
against Flowerdale. Yes. But the judgment
particularly was reflecting on these two
parcels. When NXSO was defaulting on the
loan, the estate of Jean Carey or Jim Carey,
whatever his name is, didn't want to deal
with the land so they rather give it to us.
When we went to check we found out about the
judgment. So I didn't want to take it
without knowing what's going to happen.

So one parcel went to TJ Management,
parcel number three, because parcel number
three had no more issues, and the other two

parcel went to Capital TT held by Ted

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 152 of 191

[Page 152]
November 1, 2022

J. Kahlon
Flomenhaft which he was the broker that
brokered the deal for us with NXSO.

Now, I think it happened around a
year, a year or 7 months, we manage to
negotiate with the city of Dallas to reduce
the scope of work and we were pursuing doing
the excavation of the floodplain.

What happened after that is when we
want to transfer it -- because this was part
of his collateral, it was there like it was
kind of like an option, if it's going to work
we're going to take it, if it's not going to
work we're not going to take it. We're given
an option.

Now, Ted Flomenhaft for holding this
received 30 percent in the company. Now, all
the story I don't have to tell you, your
client can tell you because I see you
smirking, I'm not going to tell the story.
I'm like really struggling to tell you this
again and again and again.

So after that we see nothing is going
to come out of it, all this headache that

come out of it, we decide to get rid of it.

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 153 of 191

[Page 153]
November 1, 2022

J. Kahlon

Ted Flomenhaft was part of the company, we
together decided to get rid of it and give it
to -- whatever they take it. Nobody took it
beside this Moshe Zuchaer.
Q And what did Moshe Zuchaer pay for
Flowerdale?
A I don't recall exactly. It's in the
contract. I don't really -- it's nothing
significant, but I think it was also -- oh,
this is the straw that broke the camel's
back. It was a big chunk of taxes was still
owed on Flowerdale, the two parcels.

So once Zuchaer paid something small,
I don't know it wasn't significant, paid to
TJ. Capital TT owed money to TJ, yes. So he
paid to TJ to offset it, whatever it was, and
he paid the taxes. I think I was like a
couple of hundred thousands.
Q Did Zuchaer or his company at least

reimburse TJ Management for the $800,000?

A I don't know. I'm not clear. I
wasn't clear. I just told you. The reporter
can read what I just said. Ask her. I said
it wasn't significant. He didn't pay any

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 154 of 191

[Page 154]
November 1, 2022

J. Kahlon
significant amount of money for TJ
Management.
Q So do I understand that's far less
than $800,000?
A I assume.
Q Whatever the amount paid by d4uchaer or
his company, is there an agreement that
memorializes what he paid or his company
paid?
A I believe so. I believe your client
have it.
Q I don't believe I received that in
discovery.
A Because I wasn't a party to it. The
contract itself was between Capital TT and
Zuchaer & Zuchaer, that's it. The proceeds
that came, came to TJ Management to offset an
investment with the excavation and everything
in this land. 800 plus the 125. That's all
part of it.
Q I don't recall seeing any documents
reflecting any of these agreements either
between TJ and Flomenhaft or his company or

between --

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 155 of 191

[Page 155]
November 1, 2022

(1) J. Kahlon

(2) A I'm telling you again. TJ doesn't

(3) have anything to do with Flomenhaft, but you
(4) and the other lawsuit that you have with your
(5) client, with the other case, you probably

(6) have this agreement between Zuchaer & Zuchaer
(7) and Capital TT.

(8) MR. HAFFNER: As I said, I

(9) promised everybody 3:30, so we can

(10) break now.

(11) (Continued on next page for

(12) jurat accommodation.)

Lexitas Court Reporting
800-678-0166
Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 156 of 191

[Page 156]
November 1, 2022

J. Kahlon

MR. HAFFNER: Rick, you're
taking my client's deposition for
purposes of the mediation tomorrow.
When are we starting at 10 o'clock?

MR. NAIDICH: I had it noted at
9:30, but I prefer 10:00.

MR. HAFFNER: 10:00 is fine.

(Time noted: 3:38 p.m.)

JOSSEF KAHLON

Subscribed and Sworn to before me

this day of , 2022.

Notary Public

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 157 of 191

[Page 157]
November 1, 2022
(1) J. Kahlon
(2) EXAMINATION BY PAGE
(3) MR. HAFFNER 5
(4)
(5) EXHIBITS
(6) PLAINTIFF'S
FOR IDENTIFICATION DESCRIPTION PAGE
(7)
(8) Special Warranty Deed Executed 42
(9) September 10, 2007
(10)
(11) Bill of Sale 48
(12)
(13) Emails (9 pages) 67
(14)
(15) Survey map 87
(16)
(17) Answer with Affirmative Defenses and 88
(18) Counterclaims
(19)
(20) Dallas County Tax Office Payment 106
(21) Information
(22) REQUESTS
(23) DESCRIPTION PAGE
(24) Production of that appraisal 37
(25) (Continued on next page.)

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG

Document 63-1 Filed 01/30/23 Page 158 of 191

[Page 158]
November 1,

email

Production of attachment referred to in

Bank account records for 2016 check

Wells notice and Answer

J. Kahlon
REQUESTS (Continued)
DESCRIPTION PAGE

72

117

126

XXXXX

Lexitas Court Reporting
800-678-0166

2022

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 159 of 191

[Page 159]
November 1, 2022

J. Kahlon
CERTIFICATE

I, VILMA TORRES, hereby certify that the
Deposition held before me on the Ist day of
November, 2022; that said witness was duly sworn
before the commencement of testimony; that the
testimony was taken stenographically by myself and
then transcribed by myself; that the party was
represented by counsel as appears herein;

That the within transcript is a true record
of the Deposition of said witness;

That I am not connected by blood or marriage
with any of the parties; that I am not interested
directly or indirectly in the outcome of this
matter; that I am not in the employ of any of the
counsel.

IN WITNESS WHEREOF, I have hereunto set my

hand this 14th day of November, 2022.

abn. Lerrns

VILMA TORRES

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 160 of 191

[Page 160]
November 1, 2022

ERRATA SHEET FOR: JOSSEF KAHLON
JOSSEF KAHLON, being duly sworn, deposes and
Says: I have reviewed the transcript of my
proceeding taken on 11/01/2022. The following

changes are necessary to correct my testimony.

PAGE LINE CHANGE REASON

Witness Signature:

Subscribed and sworn to, before me

this  __ day of , 20

(NOTARY PUBLIC) MY COMMISSION EXPIRES

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 161 of 191

November 1, 2022
[Page 161]
A 32:11 35:7,23 | 126:16,17 71:12 72:2 Amir (6)
A-M-I-R (1) 37:21 47:3 advertising (1) 74:11 76:14 131:25 132:5
132:7 55:12 59:2,21 | 126:20 77:25 78:4 132:11
a.m (6) acquired (18) | advised (1) 140:4,4 141:5 133:12
1:21 73:11,20 | 22:18,19 31:16 | 19:22 141:15,18 136:12
77:21,25 31:18,19 advisement (2) 142:12,23 137:22
78:2] 32:18 33:3,18 | 36:22 72:13 143:16 154:8 | amount (14)
able (3) 37:15 39:18 | advisor (1) 155:6 5:24 6:8 7:22
29:3 67:3 47:23 59:5,16 | 17:18 agreements (3) | 8:7,20 30:9
144:23 61:3 64:19 affirm (1) 89:6,6 154:23 30:11,13
accept (5) 65:24 111:20 | 11:8 agrees (1) 107:23 114:8
10:15 28:20 135:22 affirmative (4) | 125:22 115:13 143:8
37:11,12 acquiring (3) 7:16 88:21 ahead (4) 154:2,7
60:12 22:16,22 63:12 | 94:23 157:17 | 23:19 24:22,23 | amounts (1)
accepted (5) acquisition (2) | affirmed (2) 42:6 112:3
31:10,24 37:8 | 16:6 33:5 6:2 8:17 AJ (11) analysis (1)
37:24 123:14 | acres (1) affirms (1) 131:6,12 17:19
accident (1) 87:25 8:11 133:11,17,18 | and/or (1)
15:2 acting (2) afield (1) 134:3 138:21 | 149:15
Accommodat... | 39:12 85:23 135:5 138:22,23,24 | answer (73)
68:2 action (1) against- (2) 139:8 6:16,18 12:21
accommodat... | 9:11 1:8,14 allegation (4) 20:5 24:25
26:23 38:11 activities (2) agent (2) 96:17,20 98:7 43:17 54:15
155:12 97:15,21 39:12 90:3 98:13 55:15 57:14
account (10) actor (8) ago (8) allegations (1) 60:17 67:8
72:8 106:19,21 | 97:14,21 98:8 12:6 66:20 97:7 70:6 74:24
109:19,23 98:16,20 68:23 78:10 | allege (4) 75:11 79:14
110:4,11 100:17 103:2 92:4 112:13 6:18 97:8 79:19 80:6,7
117:4 140:9 103:6 116:21,25 129:4,6 80:11,12,15
158:7 actual (2) agree (3) alleges (1) 81:15,16,19
accountant (1) 107:20 130:9 87:24 121:7 96:24 82:20 88:20
129:2 addition (1) 141:21 alleging (3) 91:20 94:15
accuracy (1) 25:23 agreed (18) 96:13 98:8 94:23 95:24
5:21 address (3) 3:2 4:3,8,12 99:21 95:25 96:2,4
accurate (6) 5:9 23:10 8:19 10:7 allocate (1) 96:8 98:25
10:9 13:16 129:5 49:17 60:11 36:12 99:14,17
19:25 22:8 adjusted (3) 68:3 88:3,8 allowed (1) 100:12
104:21 131:4 | 121:20 122:19 88:15 138:22 | 9:6 101:13,15,17
acquaintanc... 123:21 141:16 142:6 | allowing (2) 101:22
52:3 administer (1) 142:15,19 101:16 134:25 103:14 105:3
acquaintance... 4:14 143:9 alteration (1) 105:4 117:10
66:10,11 administerin... | agreement (21) | 134:23 117:14,17
acquire (8) 3:6 10:22 69:8,17 | Amazon (2) 118:5,6,12,18
advertise (2) 70:12,25 132:19 133:24 119:16 120:8

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

November 1,

Page 162 of 191

2022
[Page 162]

120:24,25
121:2,12
122:2,13,24
123:8 125:20
125:21 126:3
126:4 127:4,5
127:8 129:6
138:7 157:17
158:9
answered (9)
18:21 53:6
95:22 102:14
103:20
112:12 120:7
125:23,25
answering (3)
18:18 121:2,12
answers (2)
5:21 141:11
Anthony (3)
89:21 90:15,21
anybody (4)
18:12 100:3
136:10
138:17
anymore (2)
92:15 115:9
anyway (2)
102:23 112:4
Apart (2)
119:25 136:6
apparently (2)
78:2 114:12
appeal (4)
8:11 124:23,25
125:11
Appeals (2)
8:18 125:16
appear (3)
32:16 71:23
126:14
appears (4)
42:25 73:7
76:12 159:9

applied (1)
129:25
applying (1)
130:10
appraisal (12)
35:14,17,18,19
36:2,5,7,12
36:20 60:21
147:14
157:24
appreciate (1)
125:19
approached ...
55:7 131:25
132:11
136:12,18,23
appropriate ...
80:16,24 81:8
82:5
approximate...
7:9,12,23 8:4
8:12 10:8
14:12 18:25
51:17 113:25
146:14
April (2)
114:18,23
area (4)
11:18 28:18
149:23 150:4
argue (1)
141:22
argumentati...
100:13 116:24
arising (1)
97:17
arrange (1)
12:15
arranged (1)
15:17
arrangement...
148:25
arrear (1)
116:4

arrears (3)
112:16,16
114:2
articles (1)
11:3
artwork (1)
119:22
aside (1)
31:23
asked (20)
9:15 20:21
21:3 35:8
43:13,13
69:12 75:7
79:18 81:21
82:21 91:8
95:21 102:13
103:19 104:3
119:25 126:6
147:3 151:5
asking (15)
7:15 17:16
37:10 57:22
61:8 75:4
80:17,20,21
109:19 125:8
125:17 130:4
135:15,24
asks (2)
89:23 125:24
assess (2)
34:25 58:11
assessment (1)
114:9
Assessor (1)
116:17
assessor's (2)
107:17,25
assessors (1)
110:10
assets (3)
9:12 10:6
59:13
assign (1)

110:11
assigned (5)
40:22 41:2
57:8 60:4
61:24
assignee (1)
62:8
assignment (...
37:17,17 56:15
60:3,6 63:2
64:20 118:15
146:25 147:5
149:8
assist (2)
17:14 18:12
assistance (1)
80:14
assume (5)
35:19 71:14
98:20 115:23
154:6
assuming (10)
8:7 72:6 77:21
79:12 107:9
107:10,23
108:6 112:25
133:23
assumption (1)
136:13
attached (2)
46:21,23
attachment (3)
72:10,22 158:4
attachments ...
70:21 71:10,23
attention (1)
66:21
attorney (14)
2:4,11 3:12
32:23 44:20
69:12 70:15
70:19 75:13
95:5,13 96:6
123:14

125:22
attorney's (1)
100:10
attorney-clie...
81:7
attorneys (1)
4:4
audio (1)
124:22
authorized (1)
4:14
Avenue (1)
2:5
Avi (16)
62:11,21 68:15
72:19 73:19
74:10 77:21
82:16 84:3
96:14 97:13
98:8 119:13
120:21 123:5
127:19
AVRAHAM ...
1:15 2:17
award (1)
8:17
aware (9)
62:24 63:11,23
66:16 68:23
76:6 77:16
78:9 81:23

B

back (23)

15:8 20:6
25:16,17 29:4
34:3 50:14
63:20 71:6
72:8 73:16
79:22 80:2
109:13 110:6
110:9 112:20
116:6,6
132:11

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 163 of 191

November 1, 2022
[Page 163]
137:10 138:8 89:15,17 92:6 | borrower (16) | brokerage (1) | called (4)
153:12 95:22,24 25:20 26:10,12 | 39:5 20:11,13,20
bank (2) 118:8 127:16 26:15,16 27:7 | brokered (2) 21:5
117:4 158:7 129:5 144:13 27:13 31:25 148:2 152:3 callers (5)
base (1) 154:11,11,13 33:8,17 38:8 | brokering (2) | 18:16,22,25
134:19 belong (1) 38:12,15,15 137:6 138:13 19:5,10
based (4) 13:23 39:2 57:12 brokers (1) calling (1)
29:21 32:23 belongs (1) borrower's (1) | 14:3 20:24
114:9 122:3 13:22 26:24 brought (1) camel's (1)
basically (2) best (2) borrowing (1) | 66:21 153:11
83:13 112:16 60:17 115:25 26:19 bulldozer (1) capacity (1)
basis (6) better (2) BOS-TJ (1) 146:16 91:22
83:17 89:11,21 | 14:3 24:25 48:20 bunch (1) Capital (33)
90:16 100:18 | big (7) bothering (1) 138:24 29:14,14 31:15
103:4 18:6 20:10 150:10 business (21) 33:6 34:10,13
bear (1) 35:2 41:17 bottom (7) 11:18 16:22,23 34:21 35:4,7
3:15 144:16 150:6 | 68:14 71:7,17 20:3 23:3,13 37:23,25 38:5
becoming (1) 153:12 71:21 76:24 53:17 54:11 38:18,25
47:15 bigger (1) 108:17 113:3 54:13,14,19 40:11,12,15
began (1) 74:17 bought (5) 92:11 131:20 40:23 41:2,3
91:12 Bill (4) 11:24 64:5,10 131:22 41:25 42:2
beginning (15) | 48:23 49:9 116:3 143:21 132:15,19,20 59:5,6, 16,24
11:11 16:20 50:8 157:11 | break (10) 132:21 60:4 61:4
17:22 23:20 | birth (2) 7:2 17:6 41:7 133:25 64:25 151:25
23:21 24:5 14:25 15:18 55:20 86:22 143:24,25 153:16
52:15 54:16 | birthday (2) 104:10,11,11 | buy (7) 154:16 155:7
58:12 91:14 93:2,7 105:10 11:22,22,25 ear (3)
96:12 109:17 | bit (4) 155:10 12:16 16:11 10:12 11:6
133:20 21:21 34:22 brief (5) 16:13 17:20 119:11
139:18 140:8 47:10 61:7 41:8 45:15,25 | buyers (1) care (2)
begins (1) Black (1) 55:25 131:23 | 14:4 31:6 114:2
71:2 149:24 briefly (4) buying (2) Carey (2)
behalf (2) blocking (1) 12:4 50:24 65:5,7 151:16,16
89:2 99:18 150:3 56:4 115:22 Carrey (1)
belabor (1) blood (1) bring (2) C 39:22
81:14 159:12 82:25 130:21 | C4) case (6)
believe (26) blue (1) broke (2) 2:2 67:20 6:18 9:5 108:2
6:16 7:19 88:7 117:18 153:11 | _159:2,2 144:5,24
10:17,20 board (2) broken (1) C-H-A-L-U-... | 155:5
14:16 18:17 | 91:11,13 7:6 132:10 cases (1)
47:18 49:12 | body (2) broker (8) call (7) 9:18
50:22 52:24 | 72:20 74:17 13:11 29:12,13 | 16:8 20:9 37:4 | cash (1)
67:5 69:5 books (2) 35:6 39:3 90:5 96:21 134:12
71:22 85:23 | 139:21 143:23 | 61:2,18 152:2 | 97:5 133:22 | eateh (1)

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 164 of 191

November 1, 2022
[Page 164]
123:10 checking (1) 138:18 26:23 comfortable ...
caused (2) 10:25 claiming (2) Coffin (2) 97:12
32:7 120:4 choice (4) 83:11 85:15 110:23 111:4 | coming (2)
ce'd (2) 100:8,10 claims (3) cold (5) 20:19 50:25
66:22 82:9 103:12 32:2 33:7 18:15,22,25 commencem...
certain (2) 129:21 82:17 19:5,10 159:6
41:19 44:18 choices (1) clarified (2) collateral (15) | comment (2)
certainly (1) 29:7 124:2 144:11 22:25 23:8 70:3 81:11
135:11 choose (1) clarify (5) 24:19 36:4 comments (1)
certification ... | 99:10 32:22 101:15 38:10 56:22 79:16
4:5 chose (2) 118:19 57:3,3,25 commission (...
certify (1) 28:6 80:20 120:25 151:7 59:25 61:21 19:11 39:5
159:3 chosen (2) clean (1) 61:21 147:12 160:25
cetera (2) 99:23 128:25 145:22 150:25 committed (1)
130:11,11 chronologica... | clear (12) 152:11 134:4
Chaluts (5) 73:8 32:20 57:11 collateralize... | common (2)
131:25 132:9 | chronology (2) 61:20 101:18 | 23:7 26:10,11
132:11 23:17,18 116:10 139:2 | collect (3) communicat...
136:12 138:3 | chunk (2) 139:22 28:20 29:4 94:10
Chalutz (1) 110:8 153:12 144:19,22 30:25 communicati...
132:5 church (1) 148:6 153:22 | collectability... | 84:10 89:13,16
change (10) 149:23 153:23 8:21 89:18,25
29:25 30:2,4 circle (1) cleared (3) collected (1) companies (1...
30:15,17 31:2 | 59:4 148:6,13,14 29:23 12:16,24 13:15
137:14,23 circuit (11) client (18) collectibility ... 13:19 16:9,13
138:6 160:5 6:2,22 8:11,17 | 41:18 47:24 10:5 16:17,21 17:9
changed (1) 125:2,4,6,6,7 64:3 65:12,14 | collectible (1) 17:15 18:14
137:15 125:11,16 65:15,23 66:4 | 33:12 18:20 19:17
changes (1) Circuit's (1) 66:17 68:15 | Collecting (1) 20:24 23:23
160:3 6:6 84:3 90:14 13:13 64:25
changing (2) circumstanc... 99:20 105:9 | collection (7) | company (64)
9:16 151:11 32:13 51:23 147:20 30:3,5,24 31:5 | 11:11,20 13:23
chaotic (1) 94:9,13 128:3 | 152:19 31:7,8,12 14:6,20,22,22
14:19 city (12) 154:11 155:5 | column (6) 17:2 22:23
charges (3) 15:12 28:10 client's (2) 107:8,11,22,22 24:2,11,14
19:22 20:6,14 29:10 46:25 81:3 156:3 108:5,18 25:19 26:9,13
chased (1) 58:10 60:19 | clients (3) come (14) 26:14,18
15:2 60:24 129:10 | 65:3,4 135:6 12:25 31:8 27:25 28:2
check (5) 138:2 148:21 | close (4) 34:21 35:13 29:13,19,19
89:16 116:22 151:12 152:6 | 6:23,24 55:11 41:11 54:10 30:24 38:24
117:4 151:19 | civil (3) 137:5 59:24 61:23 39:10 48:8
158:7 3:17 9:4,4 closing (1) 62:11 66:9,15 | 56:5 58:5
checked (1) claim (3) 90:24 104:6 152:24 59:7,21 60:7
60:20 44:22 85:19 co-owner (1) 152:25 61:24 64:18

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 165 of 191

November 1, 2022
[Page 165]
64:25 65:23 129:9,21,22 61:9 74:12 72:2 corporation (...
90:9 97:15,22 | 144:15 considered (1) 105:9 140:18 | 123:18 130:14
98:20 99:25 | complying (1) | 3:9 149:23 140:24
103:5,8 120:7 | 144:18 considering (1) | controlled (1) 142:14
123:17 comptroller (... | 19:22 98:4 correct (63)
128:22 92:8 consistent (7) | controller (7) 7:18 13:8
131:18,19 concern (1) 6:11 32:8,16 89:8,10,20,20 20:18 21:20
134:11,22 81:3 38:13 68:21 90:12 91:21 23:4,16 26:2
135:10 concerned (2) 98:3 108:10 93:15 26:3 27:9
139:17 22:4 110:19 construction ... | controller's (1) | 28:23 31:4
140:15,16 condition (2) 130:6 90:20 32:4 33:17
143:12 149:2 | 5:19 148:23 consult (1) controllers (3) 34:11 35:20
149:9,15 conduct (2) 17:12 94:2 115:8,16 37:8,19 38:12
150:13 3:15 97:14 consultant (1) | conventional... | 39:10 40:10
152:17 153:2 | conducted (2) | 17:16 139:24 47:13 50:11
153:20 154:8 | 3:3 89:3 consulting (2) | conversation... | 52:7,16 54:25
154:9,24 conducting (2) | 18:8 62:9 65:13 56:7,8,10,23
compensated... | 19:23 20:2 contact (1) conversation... 56:24 59:11
84:22 conference (3) | 93:15 45:21 65:21 59:12,14,15
compensatio... | 3:3,8,15 continue (1) conversion (1) 59:18,19
19:11,14 25:8 | confidential... | 24:21 29:22 62:17 69:5
48:14 96:14 continued (5) | convertible (3) | 71:15 72:21
compete (1) confirmation... | 1:18 21:12 25:11,12 30:19 | 81:15 83:12
133:24 89:5 155:11 convey (7) 91:20 95:8
complain (1) confirming (2) 157:25 158:2 | 28:21,21 43:2 108:12
127:11 3:7 65:15 continuing (3) 44:14,24 111:25
complaining ... | conform (1) 30:7 31:5,8 47:16 61:14 123:12
86:9 105:18 contract (2) conveyance (4) | 124:14 126:8
complaint (5) | confused (1) 153:9 154:16 41:14 44:16 127:14 129:8
10:21 15:24 29:17 contractor (1) 48:7 50:10 129:17 131:9
99:13 118:13 | confusing (3) 134:16 conveyed (7) 132:7 139:25
129:5 34:22 139:4 contribute (3) | 31:1441:12,15 | 144:5,9,17
completed (3) 140:21 136:7,10 143:2 | 59:9,10 88:5 146:4,7,20
50:9 103:10 connect (1) contributed (... | 113:15 149:10 160:3
141:16 38:14 134:4 136:9 convict (1) corrected (1)
completely (1) | connected (1) | contributing... | 9:18 123:14
145:7 159:12 133:19 copied (1) correctly (2)
completeness... | connection (1) | contribution ... | 74:2 21:8 142:9
5:21 26:21 119:3 138:23 copy (7) corresponde...
complicated ... | consent (1) contribution... | 3:13,16 49:13 | 89:23
127:21 3:9 118:22 119:6 95:5,14,16 cost (1)
complied (1) consideratio... 119:18 124:18 58:11
142:17 17:9 39:4,6 control (7) Corp (1) costs (1)
comply (4) 48:10 60:6,8 | 3:5 70:25 140:24 3:15

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 166 of 191

November 1, 2022
[Page 166]
counsel (5) 96:5,10 99:19 | 17:3,3 89:11 29:12 35:6 deed (11)
3:2,4,14 159:9 101:21,23,24 89:21 90:16 48:2,2,11,12 | 15:19 41:23
159:16 102:3 103:17 100:23,23 48:16 55:11 42:7,12,18,24
counter (1) 104:21 113:7 101:2,4 103:4 | 60:25 61:2 44:10,21,22
121:7 113:9 117:15 139:18 83:21,21 86:5 | 44:22 157:8
counterclaim... | 117:23 Dallas (12) 148:2 150:19 | default (5)
6:17 7:16 125:16 127:3 | 28:10 46:25 151:17 152:3 | 24:17,20 29:20
99:17 covered (4) 58:10 60:19 | deals (1) 56:21 57:5
Counterclai... | 40:19 109:20 60:24 106:3 86:3 defaulted (2)
1:16 109:24 146:5 107:25 dealt (1) 27:8 37:8
Counterclai... | covering (1) 116:17 13:4 defaulting (1)
1:13 145:19 129:10 debris (4) 151:15
Counterclai... | CPLR (2) 151:12 152:6 | 144:20145:7 | Defendant (2)
88:22 94:24 3:3,16 157:20 145:23 1:18 2:11
157:18 create (1) damage (1) 146:17 Defendant(s)...
counteroffer... | 131:18 34:25 debt (4) 1:10
142:4 created (2) dark (1) 27:13 29:24 Defenses (3)
County (4) 126:22,23 76:2 57:6 58:18 88:21 94:24
106:4 128:23 | creation (1) date (16) December (8) 157:17
128:24 96:8 42:21 49:2 69:9 110:17,18 | definitely (1)
157:20 credit (8) 67:25 68:11 113:10 114:6 | 45:12
couple (5) 50:11,13 87:10 88:24 114:24 115:4 | degree (1)
46:13 117:16 115:17 137:3 91:16 106:6 118:15 49:7
121:20 137:5,6,10 107:12,16,20 | decide (4) Delaware (5)
122:18 138:14 107:20 108:4 | 17:20 18:20 130:13 140:15
153:19 creditor (1) 108:20 43:16 152:25 140:20,24
course (10) 57:24 110:25 142:3 | decided (10) 142:13
27:15 53:5,6,9 | creek (1) dated (3) 19:5 22:6 delay (1)
95:25 96:9 145:22 11:4 73:10 28:19 30:6 32:6
99:15 102:21 | crime (1) 74:9 139:8 140:18 | delinquencie...
139:7,11 9:10 dates (3) 143:3 147:15 | 111:19
court (46) criminal (1) 47:21 107:13 150:10 153:3 | delivered (1)
1:2 3:3,5,7 9:11 146:13 decision (14) 142:12
4:16 5:10,25 | curious (1) day (11) 6:5,6,22 16:7 | demands (3)
6:5,8 8:9,10 8:6 14:5 17:4 16:11,16 37:3 89:15
8:17 9:23 current (1) 73:11 77:21 19:20 50:16 90:4
42:10 43:9,20 | 130:17 99:9 112:24 93:25 94:6 denied (1)
43:22,25 currently (1) 116:8 156:14 100:3,6,6 66:2
48:18 51:3 47:11 159:4,18 103:13 Deny (1)
66:25 67:18 | cut (1) 160:24 decisions (5) 66:3
71:21 76:18 10:8 day-to-day (1) | 6:3 17:14 98:4 | denying (1)
79:21 82:20 98:4 98:10 101:2 85:15
86:13 87:3 D deal (19) deduct (1) depose (2)
95:4,14,19 | daily (11) 13:4 17:7 116:12 128:5,13

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 167 of 191

November 1, 2022
[Page 167]
deposed (1) 147:22 dismiss (1) domestic (1) efforts (1)
3:16 148:20 69:6 128:21 30:25
deposes (1) differentiatio... | dispute (19) DOS (1) eight (3)
160:1 93:23 66:16 67:11,12 } 11:2 87:25 130:22
deposit (1) difficult (2) 68:23 76:5,7 | double (1) 130:24
134:23 74:3 75:12 77:5,16 78:10 | 31:17 either (16)
deposition (12) | difficulties (2) 81:24 82:3,7 | doubt (1) 33:8 70:5 71:5
1:18 3:3,6,15 | 137:22 149:22 | 82:8,16,23 88:11 74:24 83:5
4:13 37:5 diligence (1) 83:5,19 84:24 | due (2) 94:6 97:25
128:11,12,17 | 17:5 135:9 17:5 27:8 116:6 118:23
156:3 159:4 | direct (5) disputed (1) duly (3) 119:13,19
159:11 35:24 37:10 85:19 5:3 159:5 123:22
describe (2) 60:12 98:25 | District (8) 160:1 128:17
22:17 44:9 100:12 1:2,3 5:25 6:4 146:24,25
described (4) | direction (1) 6:5,8 8:9,10 E 154:23
44:24 46:16,18 | 97:16 divided (1) E (5) elect (1)
76:25 directly (11) 109:15 2:2,2 5:2 159:2 | 25:23
describing (1) | 22:22 39:25 Docket (1) 159:2 eleven (5)
97:9 40:3,4 90:8 ie E*Trade (1) 15:20,23,25
description (4) | 90:12 146:24 | document (25) | 18:6 16:12 78:5
46:7 157:6,23 146:25 147:4 | 10:18,20 37:3 | earlier (6) email (45)
158:3 147:6 159:14 | 43:4,1444:2 | 16:4 46:18 65:19,20 66:8
despite (1) disagree (1) 44:3,23 45:2 51:20,21 67:19 68:8,8
109:22 32:21 46:5,17 48:19 | 68:17 112:5 68:14,17
detail (1) discharge (2) 72:7 74:25 earliest (4) 69:25 70:10
84:7 31:20,22 76:19 94:23 | 68:11,18 69:13 | 70:13,22 71:9
details (2) discharged (1) | 95:2,12,20 69:14 71:10,14,16
86:6,7 92:13 106:10 early (2) 71:24 72:8,17
determined (1) | discovery (1) 109:23 51:19 109:24 72:19 73:9,13
19:14 154:14 110:22 120:2 | easier (2) 73:17,18,19
developer (1) | discuss (1) 127:15 39:13 90:13 73:20,25 74:9
129:22 133:11 140:22 Kastern (1) 74:16,20 75:5
developing (3) | discussed (4) documents (.... | 6:4 75:6,6 76:11
129:7,9 143:18 | 54:11 113:25 | 8:2 10:15 11:3 | easy (3) 77:20 78:6,16
development... | 115:14 42:11 45:19 | 9:13,18,19 78:21 79:12
86:10,13 131:24 63:9 70:17 _| editing (1) 79:17 80:18
129:19,20 discussing (1) 75:19 83:25 | 127:7 81:21 85:21
130:9 54:14 92:3 154:22 | Edward (1) 90:7 158:5
different (13) | discussion (2) | doing (5) 91:25 emailed (2)
33:2 57:14,19 | 10:3 12:20 92:11 100:4 effect (3) 3:13 42:11
57:22 79:19 | discussions (1) | 110:13,13 4:15 11:17 emails (28)
80:10 107:20 | 133:5 152:7 57:13 63:19,19,21
129:11,22 disgorgemen... | dollars (1) effectively (1) 65:17 66:22
140:12 145:2 | 5:25 7:7 60:23 39:6 66:24 67:3,13

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 168 of 191

November 1, 2022
[Page 168]
67:18,22 68:5 | 48:20 94:23 exactly (27) 42:24 46:10 | fact (1)
68:12,25 entity (5) 8:23 11:9,16 46:16 48:21 109:23
75:13 76:7 40:2 59:2 66:5 12:3 36:8 48:24 49:4,4 | fair (13)
78:3 81:22,24 | 88:6 147:19 44:5,7 45:8 49:11 55:21 17:8 27:11,22
82:8,10,10 entry (1) 47:19,20 51:6 | 67:20,21,24 36:14 77:17
84:11 89:24 113:20 52:5 55:3 68:4 72:6 83:12 90:6
90:7,10,11,14 | equal (1) 60:16 61:5 73:6 75:3 92:17,19 93:4
157:13 143:8 66:7 82:15 87:4,8,13 122:16 135:5
employ (1) equity (2) 85:19 86:15 88:8,18,19,23 | 149:16
159:15 13:16 150:22 97:23 107:23 94:22 106:2,5 | fairly (3)
employed (5) | ERRATA (1) 115:23 117:5 118:13 10:9 19:25
91:17,22 92:8 | 160:1 122:14 141:6 | exhibits (2) 53:7
93:9,10 error (1) 146:13 153:8 | 3:12 157:5 fairness (2)
employee (1) 121:9 EXAMINAT... | existed (1) 81:6 90:4
90:3 escrow (1) 5:12 157:2 24:13 familiar (7)
employees (1) | 56:16 examined (1) | expenses (7) 8:25 45:7 71:4
94:11 especially (1) 5:4 86:10 130:5,9 106:9 126:12
ended (1) 69:7 example (1) 133:22 130:13
6:14 ESQ (2) 112:7 134:18,19 136:16
ends (1) 2:7,14 excavation (3) 146:12 famous (1)
71:2 estate (12) 35:3 152:8 EXPIRES (1) | 64:15
engage (1) 28:7 36:16 154:19 160:25 far (4)
19:2 39:21 40:3,4 | excavator (1) | explain (7) 23:15 129:18
engaged (5) 40:22 43:7 146:16 8:23 32:12 139:23 154:4
14:15,18 23:14 | 111:5.132:2 | exceeded (1) 70:6 106:12 | Farms (2)
23:15 27:19 132:12,17 60:21 106:14 108:20,22
engineer (4) 151:16 exceptions (1) 117:12 faxes (1)
134:21 137:13 | et (2) 15:11 131:16 89:24
138:4 144:6 130:11,11 excited (1) explained (1) | feature (1)
engineers (4) | eventually (1) | 138:3 23:5 29:22
134:20 137:18 | 133:24 executed (5) explanation (... | February (3)
143:22 144:4 | everybody (4) | 41:23 42:18,25 | 85:15 111:23,24
enlightened (1) | 31:25 63:19 142:12 157:8 | express (2) 112:11
9:2 86:24 155:9 | executive (1) 3:9 83:4 federal (2)
entail (1) everyday (4) 131:22 expressed (1) 8:17 15:12
58:4 17:22 90:16 exemption (1) | 100:14 fee (6)
entered (1) 99:4 124:19 15:13 expressing (1) | 34:5,7,8 40:5
15:21 evidence (2) exercise (1) 84:11 44:24 138:14
entire (3) 109:6 120:2 24:3 extent (2) fence (7)
46:17 72:6 evolution (1) exercising (1) | 86:18 121:10 58:13 144:25
96:3 16:19 30:19 145:6 147:12
entities (2) exact (4) exhibit (32) F 148:13
130:22,24 7:10,11 8:3 3:12,13,14 F (2) 149:14
entitled (2) 30:22 10:21 42:19 | 5:2 159:2 150:2¢

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

November 1,

Page 169 of 191

2022
[Page 169]

fencing (2)
58:14,15
fiduciary (1)
96:14
fifteen (2)
16:12 86:21
fifth (9)
6:2,6,22 8:11
125:4,5,6,11
125:16
filed (3)
6:18 99:18
124:25
filing (1)
4:5
filings (1)
126:14
final (1)
103:25
finalized (1)
49:17
finance (6)
11:18 12:15
13:24 17:13
23:22 24:8
financial (4)
10:6 100:18
103:5,9
financier (1)
12:15
financiers (3)
12:21,22 13:6
financing (1)
24:9
find (7)
12:25 13:2
14:4 38:21
58:9 76:8
91:15
fine (8)
30:17 104:22
105:21
123:25
124:17 138:7

140:20 156:8
finish (4)
101:7 108:18

108:18 143:7
finished (1)
83:4
firm (2)

12:2 20:10

first (34)

5:3 6:6 14:5,12
20:15 29:2
43:16 51:16
51:24 52:21
53:16,22 69:7
70:10 74:15
94:19 95:9,22
97:18,19
106:8 113:3
115:11 132:6
134:6 137:4
139:14,19
140:11,17
142:9,11
145:4 146:12

five (6)

18:3 19:3
45:13 53:24
104:25
137:25

five-minute (2)

41:6 55:20

fixed (1)

149:13

Flomenhaft (...

35:5 38:6,7,23
39:9,11 42:2
59:8,24 60:24
147:19
149:15
150:17,18
152:2,16
153:2 154:24
155:3

Flomenhaft's...

39:9 59:7,21
60:7 61:24
149:2

flood (1)

144:22

floodplain (12)

35:3 144:20,21
145:8,11,19
145:24 146:5
148:14
149:14 151:4
152:8

Florida (4)

52:25 53:8
54:4,8

flow (1)

144:23

Flowerdale (...

28:22 29:16
31:15 32:11
33:6 34:12,17
34:18 35:7
37:17,18,25
38:18,19,20
39:14 40:3,4
40:5,9,9,15
40:17,20,22
41:11,15,24
42:13 43:2,8
44:8 45:3,5
54:24 55:4,13
56:8,9,14,14
56:16,23 57:2
57:7 59:3,5,9
59:16,20,22
60:7,13,14,15
60:17 61:4,25
63:2,14,24
64:21 65:2,25
66:5,12 69:16
78:11 83:23
84:4,12 85:16
87:21 88:5
108:20,22

109:14,17
112:22,24
113:10,15
147:2,5,6,8
149:3,8
151:13 153:7
153:13
Flowerdale's...
59:13
fluently (1)
74:5
follow-up (1)
117:10
following (5)
56:21 65:22
74:16 117:25
160:2
follows (1)
5:5
force (2)
4:15 78:18
foreclosure (1)
28:3
Forensic (1)
143:24
forgot (2)
29:12 138:4
forgotten (1)
18:12
form (4)
4:9 19:23
128:8 134:22
formal (4)
120:22 123:6
123:10,11
formality (1)
36:18
formation (2)
11:3 139:5
formed (10)
11:10,13 29:13
35:7,22
131:17
135:25

140:11,11,25
forth (1)
63:20
forward (1)
77:9
forwarded (2)
68:9 78:2
forwarding (1)
77:22
found (3)

15:6 64:8
151:19

founding (4)

130:25 131:13
131:13
138:25

four (2)

109:3,8

Frankly (1)
78:15
freak (1)

140:18

free-trading ...

15:14

frequently (1)

53:7

friend (3)

52:3 85:11

136:20
friends (3)

64:15 66:11
85:6

front (2)

49:8 95:16

full (2)

64:19 114:8

fully (1)

101:12

fund (5)

13:2 14:20
23:23 24:3
134:8

funding (10)

12:23 119:2,3

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 170 of 191

November 1, 2022
[Page 170]
133:14,20,21 | global (1) 147:16 148:4 | guess (7) 88:17,25 91:4
133:25 134:3 | 84:6 148:5,6,7,8 | 9:17 13:16 93:24 95:11
134:7,11 go (40) 151:21 26:8 28:7 96:10 98:12
further (5) 8:8 13:20 14:8 | 152:12,13,13 | 93:20 115:4 100:23 101:5
3:2,12 4:8,12 18:4,9 23:18 152:14,20,23 | 115:25 101:14,19
118:22 24:22,22 27:4 | Gold (1) gun (1) 102:10,15
future (1) 34:3 43:20 132:14 124:4 103:15,18
13:24 44:6 45:8 Goldman (1) Gurin (4) 104:8 105:8
FW (1) 48:12,16 18:5 91:25,25 92:2 105:16,20,25
78:4 49:21,25 good (9) 93:11 106:7 107:6
50:19 51:3 5:14 102:7,7 | guy (10) 107:15 109:9
G 59:4 70:8 104:12 13:3 14:24 112:10 113:5
G-U-R-I-N (1) | 72:8 73:15 110:12 15:6 29:12 114:21 117:5
91:25 77:23 82:17 137:24 39:22 60:25 117:8 119:7
gap (1) 90:14 94:22 145:13,20 64:14,15 127:10 132:9
50:18 101:21,23 150:16 146:16 135:8 136:3
gatherings (1) | 102:3104:6 |GORDON(1) | 147:25 139:7 150:14
62:22 107:6 112:20 | 2:3 155:8 156:2,8
General (1) 113:3 117:4 | gospel (1) H 157:3
44:22 134:15 135:2 | 10:16 H (3) half (2)
generally (2) 138:8,20 GPS (10) 5:2 110:23 6:10 120:10
97:6 106:14 145:24 48:20 50:11,13 | 111:4 hand (5)
getting (5) goes (3) 51:10,11 Haffner (95) | 28:6 107:8,11
98:19 99:5 114:24 143:4 115:17,19,21 | 2:3,7 5:13 9:22 | 142:16
100:25 150:8 146:18 116:17,18 12:18 18:21 159:18
150:9 going (49) grading (1) 21:17 28:14 | handle (1)
gibberish (1) | 13:21 21:6 130:5 32:9,14,21 141:18
70:14 25:9 35:12 grantee (3) 36:18,24 handshake (2)
give (19) 50:18,19 59:4 | 42:3,4 44:25 39:19 41:5,10 | 142:20,23
9:19 15:8 23:9 68:4,6,10 grantor (1) 42:8,22 43:19 | happen (5)
25:16,17 77:8 81:14 41:24 45:14,17,24 | 48:17 50:3
33:20 36:3 86:7 101:10 | Great (4) 46:3 48:18 104:16
45:11,13 101:19 2:12,13 5:10 49:3 50:5 106:21
80:11 81:3 102:10,15,18 | 45:14 53:10,14 151:21
91:20 105:3,3 | 102:22 104:5 | Greek (1) 55:16,19,24 | happened (19)
105:5 131:21 | 104:12,16,16 | 80:19 56:3 57:9,21 | 6:7 9:17 24:12
135:6 151:18 | 104:17 greeting (1) 66:25 67:17 24:20 34:23
153:3 112:21 115:2 | 93:6 68:2,20 70:8 47:10 49:18
given (2) 117:10,13 Group (11) 70:23 71:6,20 | 49:19,20,22
44:7 152:14 120:24 43:3 90:4 73:15 76:10 51:6 61:5,16
giving (1) 127:25 133:3 | 131:6,12 76:17,22 79:4 | 64:22 84:23
113:6 141:14 142:2 | 133:12,17 79:21 80:13 103:8 112:13
glad (1) 142:7,25 138:21,22,23 | 81:5,10 86:19 | 152:4,9
8:15 143:12 138:24 139:8 | 87:2 1,16 | happening (2)

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 171 of 191

November 1, 2022
[Page 171]
83:16 121:18 | 111:5 153:19 140:3 142:14 | intended (2)
happens (7) held (6) husband (1) incurred (2) 79:13 122:2
14:5 20:22,22 | 1:19 10:3 89:5 130:9 146:12 ‘| interest (45)
50:21 121:3 12:20 57:3 independentl... | 6:9 7:6 25:6
121:13 151:25 159:4 I 67:11 26:4,17 31:16
123:23 help (3) idea (8) indicated (1) 31:18,20 33:3
happily (1) 18:19 68:7 18:3 24:6 71:11 33:5 35:23
132:23 75:14 115:7 122:23 | indication (4) 37:11,12,14
happy (1) helped (1) 131:18,23 111:12 114:25 | 37:16,18,21
81:18 17:19 133:10 127:16 135:7 | 38:8,24 41:2
hard (6) hereunto (1) 137:25 indirect (1) 54:18 55:13
25:3 44:8 91:5 | 159:17 identificatio... | 35:24 56:14,15,25
95:13 100:2 | highway (1) 42:20 48:25 indirectly (6) 57:7 59:22
149:25 29:8 67:24 87:9 31:17,17 39:19 | 63:5,13 64:21
Harrison (1) _| hire (2) 88:24 106:6 39:20 59:23 65:2,25 66:5
2:6 93:25 137:13 157:6 159:14 84:12 85:16
he'll (1) hired (7) identified (2) | inform (1) 112:18 118:3
125:22 90:25 91:14,16 | 15:25 44:15 109:6 118:16 120:6
headache (1) 103:11,11 identify (4) information... | 123:15,18
152:24 134:19 55:21 88:13 20:24 21:2,4 135:22
heads (2) 143:20 109:5 121:10 | 51:5 72:9 146:23
69:24 70:5 hold (3) identifying (2) | 100:18 103:5 | 147:20 149:3
hear (7) 41:5 148:3,3 18:13 68:7 103:7 106:4 | interested (3)
55:16 86:3 holding (3) identity (1) 157:21 55:8 150:24
105:4 125:3 60:13 75:2 3:7 informed (2) 159:13
125:10 127:8 | 152:16 Iend (1) 16:11,16 interfere (1)
132:3 Holdings (2) | 23:9 inheritance (1) | 5:20
heard (5) 131:5,10 image (1) 56:19 interpretatio...
32:14 57:21 holiday (1) 74:2 inherited (2) | 98:12
83:24 84:2 93:7 important (1) | 28:8 56:19 interrogatio...
125:14 holidays (1) 27:5 initial (5) 128:9
hearing (3) 93:2 impossible (1) | 135:17139:5 | interrupt (3)
60:11 83:13 hopefully (1) | 104:20 140:16 141:8 | 101:8 121:6,8
91:5 86:21 improvemen... 141:11 interrupting ...
heart (1) hourly (1) 130:7 initially (7) 105:11
82:15 19:11 include (1) 10:13 62:19 interview (1)
Hebrew (12) | Hudson (1) 89:17 65:24 135:25 | 128:5
69:20 70:2 18:5 included (1) 139:8,12,13 | introduce (3)
73:23 74:5 ‘| huge (1) 89:16 insiders (1) 24:9 62:14
75:14 76:15 | 58:13 including (5) | 14:7 75:19
76:25 78:5 hundred (7) 38:24 84:10 instrument (1) | introduced (...
80:9,19,20 17:11 63:13 112:18 130:5 | 44:23 13:3 29:11
82:21 64:20 65:2 130:10 intact (1) 35:6 52:2
heirs (1) 120:6 137:17 | imcorporated... | 9:8 60:25 62:17

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 172 of 191

November 1, 2022
[Page 172]
63:6 64:3 81:7 123:19 77:1 78:1 January (5) jurat (1)
67:12 138:4 | issues (3) 79:1 80:1 110:16 111:9 155:12
introducing (... | 123:17 135:5 81:1 82:1 112:4,21 jurisdictions ...
87:16 151:24 83:1 84:1 113:20 126:12
invested (3) it'smy (1) 85:1 86:1 Jean (1)
129:7 143:17. | 85:8 87:1 88:1 151:16 kK
144:14 89:1 90:1 Jefferies (1) K (1)
investigating... J 91:1 92:1 18:5 5:2
20:16,20,25 J (156) 93:1 94:1 jibberish (4) | Kahlon (186)
22:5 124:8 5:1,2 6:1 7:1 95:1 96:1 73:22 75:10 1:9,12,19 2:11
investigation... | 8:1 9:1 10:1 97:1 98:1 77:4,12 5:1,8,14 6:1
22:2 128:6 1:1 12:1 99:1100:1 | Jim (2) 7:1 8:1 9:1
investment (7) | 13:1 14:1 101:1 102:1 | 39:22 151:16 10:1 11:1
17:18 99:5 15:1 16:1 103:1 104:1 | JOSEPH (1) 12:1 13:1
135:3,17 17:1 18:1 105:1106:1 | 2:11 14:1 15:1
136:2141:8 | 19:1 20:1 107:1 108:1 | Jossef (7) 16:1 17:1
154:19 21:1 22:1 109:1110:1 | 1:9,12,18 5:8 18:1,23 19:1
investments (... | 23:1 24:1 111:1 112:1 156:11 160:1 | 19:22 20:1
64:7,16 141:13 | 25:1 26:1 113:1 114:1 160:1 21:1 22:1
investor (5) 27:1 28:1 115:1116:1 | Jr (2) 23:1 24:1
98:23 99:3,7 29:1 30:1 117:1118:1 | 110:23 111:4 25:1 26:1
99:11,24 31:1 32:1 119:1 120:1 | judge (1) 27:1 28:1
involved (4) 33:1 34:1 121:1122:1 | 9:17 29:1 30:1
11:10 66:10 35:1 36:1 123:1124:1 | judgment (36) | 31:1 32:1,10
100:24 37:1 38:1 125:1126:1 | 6:9 7:16 8:25 32:23 33:1
140:14 39:1 40:1 127:1 128:1 27:25 28:3,9 34:1 35:1
IPO (4) 41:1 42:1 129:1 130:1 28:15 29:10 36:1 37:1
11:19,22 12:5 43:1 44:1 131:1 132:1 30:10 33:10 38:1 39:1
12:9 45:1 46:1 133:1 134:1 33:17 34:24 40:1 41:1
IPOs (4) 47:1 48:1 135:1 136:1 35:10 38:19 42:1,23 43:1
11:24,25 23:8 49:1 50:1 137:1 138:1 38:22 40:20 43:9 44:1
23:22 S1:1 52:1 139:1 140:1 40:21 46:24 45:1 46:1
irrelevant (2) 53:1 54:1 141:1 142:1 57:12 58:10 47:1 48:1
69:14,15 55:1 56:1 143:1 144:1 58:12,24,24 49:1,5,10
Israel (3) 57:1 58:1 145:1 146:1 60:19 61:16 50:1 51:1
54:4 62:23 59:1 60:1 147:1 148:1 129:15,25 52:1 53:1
64:14 61:1 62:1 149:1 150:1 144:15,19,19 | 54:1 55:1
Israeli (1) 63:1 64:1 151:1 152:1 147:25 56:1 57:1
64:13 65:1 66:1 153:1 154:1 148:17,22 58:1 59:1
Israelis (1) 67:1 68:1 155:1 156:1 151:12,13,20 | 60:1 61:1
54:13 69:1 70:1 157:1 158:1 | judgments (1) | 62:1 63:1
issue (7) 71:1 72:1 159:1 129:23 64:1 65:1
5:24 8:21 10:5 | 73:1 74:1 Jane (2) June (1) 66:1 67:1
25:13 71:3 75:1 76:1 137 14 133:12 | 110:21 68:1 69:1,11

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 173 of 191
November 1, 2022
[Page 173]

70:1 71:1 152:1 153:1 35:10,11,12 151:8 153:15 | language (5)
72:1 73:1,10 154:1 155:1 36:17 40:14 153:22 45:10 96:25
74:1,6 75:1 156:1,11 40:20 44:11 | knowing (3) 97:3,5 123:9
75:12 76:1 157:1 158:1 44:19 47:19 17:23 22:5 large (2)
77:1 78:1 159:1 160:1,1 | 47:20 50:17 151:21 22:20 112:3
79:1 80:1 Kahlon's (1) 51:14 52:6,9 | knowledge (1) | larger (8)
81:1,13,20 68:22 52:10,11,13 | 116:2 88:7,11 112:4
82:1 83:1 Katrina (1) 52:14 54:15 | knows (2) 112:6 129:13
84:1 85:1 144:21 58:1759:10 | 108:14136:21 | 129:15,25
86:1 87:1,12 | keep (11) 60:16 62:10 145:20
88:1 89:1,2 | 46:14 61:15 62:11,13,16 L late (1)
90:1 91:1 63:15 93:15 63:16 64:17. | L @) 114:19
92:1 93:1 101:10 64:24 65:4,6 | 4:2 5:2 law (2)
94:1,25 95:1 104:16,17,19 | 65:8 72:4 laid (4) 3:9 44:12
96:1 97:1 105:10 73:19,23 76:8 | 92:17,24 93:19 | lawsuit (3)
98:1 99:1 110:13,20 79:10,13 93:20 105:6 138:18
100:1101:1 | kept (3) 82:16,20,23 | land (68) 155:4
102:1,24 56:16 92:23 84:23 85:8 15:16,16 22:17 | lawyer (3)
103:1 104:1 150:7 86:4,4,6,12 22:17,22,24 | 97:3,4 148:18
104:18 105:1 | kind (25) 92:20 93:9 23:5 24:10,18 | lawyer's (1)
106:1107:1 | 11:13,17 15:2 98:16,18,19 26:11,12 28:6 | 102:6
108:1 109:1 16:19 25:7 99:9,9,21 28:6,9,21,22 | lawyers (4)
110:1 111:1 28:9 48:13,15 | 100:3,4 104:8 | 29:9 33:18,19 | 5:17 96:21,25
112:1 113:1 58:20 82:16 104:15 34:24 35:11 97:5
113:13 114:1 | 83:21 84:21 106:21 111:4 | 35:16 36:3 lay (1)
115:1 116:1 84:22,23 111:6,7,13,13 | 37:9 38:20 94:6
117:1 118:1 86:16 89:25 111:16 41:22 44:14 | Jearn (1)
119:1 120:1 99:9 120:12 113:17,18,19 | 44:2447:23 | 23:13
121:1 122:1 124:9 127:20 | 115:5,19 47:25 49:20 | learned (2)
123:1 124:1 129:11 116:9 120:8 54:24 55:5,9 | 16:22 20:16
125:1 126:1 132:20 121:23 58:7,13,14,14 | learning (1)
127:1 128:1 145:22 151:3 | 122:14,22 58:16,21,23 | 17:21
129:1 130:1 152:12 123:16 125:2 | 60:9,1361:6 | leave (4)
131:1 132:1 | knew (4) 125:12 61:14,15 7:12 72:10
133:1 134:1 | 83:20 94:13,16 | 127:18,24 83:22 87:5 92:10 147:17
135:1,10 142:6 128:24 129:8 | 136:16,23 left (4)
136:1,2 137:1 | know (113) 130:7 135:8 137:6,7,7,8 107:8,11,21
138:1139:1 | 5:158:199:19 | 137:24 137:11,14,19 | 115:16
140:1 141:1 9:21 11:9 140:18 137:23 145:7 | Jegal (5)
142:1 143:1 12:6 16:21 143:24 145:9 147:7 | 34:18 47:3
144:1 145:1 17:23 23:15 144:24 148:3,3,8 50:10,19
146:1 147:1 24:8 25:3,8,8 | 145:15 150:6,6 110:12
148:1 149:1 26:17 28:10 146:13 151:18 legally (2)
150:1 151:1 29:8 34:6 148:16,19 154:20 34:7,9

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 174 of 191

November 1, 2022
[Page 174]

LegalView/Z... | 60:14 LLCs (1) loose (1) 40:16 41:12

3:5 lifestyle (1) 126:13 102:5 41:16 42:3

lend (2) 9:16 LLP (2) losses (2) 43:3,7 47:3,7

24:11,14 limited (2) 2:3,10 121:17 122:9 47:11 48:6,9

lending (1) 123:16 128:22 | loan (21) lot (2) 55:12 57:8,24

23:3 line (11) 22:23 24:17,19 | 123:23 150:2 58:8,19 59:11

let's (39) 13:10 74:15 25:2,3,5,11 lowercase (1) 60:3,20 84:18

37:14 41:6 77:25 86:19 25:25 26:4 87:5 84:20 90:3
43:12,15 108:17 109:3 | 27:1428:14 | lump (4) 91:2 92:16
48:19,21 49:3 | 112:21113:4 | 29:2031:21 | 24:16 146:10 113:21 116:8
66:24 67:17 114:2115:11 | 33:9 36:3 146:11,15 118:3,6,16,24
69:6 70:4,8 160:5 37:8 38:25 | Iunch (2) 120:3,5,9,11
70:23 71:6 | lines (5) 56:5 58:6,6 | 86:23 105:23 120:17,17,23
72:24 73:8 76:15,25 78:5 151:16 123:16 126:8
76:10 77:7,12 | 109:4,8 loaned (2) M 126:10
77:22 94:22 | liquidity (2) 29:18 32:3 magnitude (1) | 127:13
99:11 101:23 | 17:10,25 loaning (1) 38:21 128:19,21
104:6 105:13 | listen (3) 13:7 main (1) 146:3,19,23
105:25 107:6 | 85:6,10 102:16 | locations (1) 16:25 147:6,7
108:18 109:3 | listening (1) 3:4 maintain (3) 148:10
110:12,19 24:22 long (8) 84:25 85:2 149:20
112:20 113:3 | litigation (2) 12:6 14:5,17 93:3 151:22
114:5117:8 | 3:10,17  ~ 21:22 35:22 | major (1) 153:21 154:3
117:20 133:2 | little (11) 50:13 52:6 86:5 154:18
138:8 139:2 | 9:23 21:9,21 84:20 maker (3) Management...

letter (2) 29:17 34:22 | longer (2) 18:2,4 103:13 | 23:2

21:7 124:9 47:10 58:21 | 94:11 126:25 | makers (2) managing (5)

letters (1) 61:7 74:3 look (12) 18:10,11 41:20 42:2,4

89:24 114:18 6:3 15:9 46:10 | making (2) 56:13 90:2

Lexitas (2) 139:22 60:8 67:15 86:3 124:13 manner (1)

3:5 42:12 live (1) 68:10 77:12 | Mamaronec... | 3:8

liability (9) 124:19 81:13 91:19 | 2:5 map (6)

40:21 58:20,20 | livelihood (3) 95:12 114:5 | manage (1) 87:5,8,14 88:2
61:22 109:25 | 9:7,7,9 116:20 152:5 107:3 157:15
123:17 lives (1) looked (2) managed (4) | mark (8)
128:22 53:8 15:24 117:3 30:25 145:2,5 | 42:14,15 48:19
147:13 151:2 | LLC (15) looking (12) 148:19 48:21 49:3

license (1) 41:24,25 43:2 | 16:20 21:3 Management... | 87:3 105:25

102:6 50:11,14 64:7,8,16 10:23 11:2,15 117:13

liens (1) 108:20 70:18 74:8,25 | 11:21 14:13 | marked (12)

111:20 112:22,24 75:3 84:5 14:15 15:4,19 | 3:12 42:19,23

lieu (5) 115:17118:7 | 95:15 143:17 | 24:5 29:15 48:24 49:8,11

25:24 27:20 126:10,17,23 | looks (2) 35:23 38:16 67:18,23 87:8
31:10 60:13 27:2,6 87:13 108:10 38:17 39:12 87:12 88:22

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 175 of 191

November 1, 2022
[Page 175]
106:5 100:17 123:12 | 13:7 18:11 135:16 152:5
market (10) 147:9 63:4 138:15 | mistake (1) morning (2)
14:2,7 18:2,2,4 | mechanism (1) | merely (2) 110:7 5:14 42:12
18:11 29:5 56:12 22:4 127:9 mistaken (1) mortgage (1)
36:14,16 mediation (4) | met (2) 28:17 27:2
149:16 37:2 50:25 24:7 62:19 misundersto... | mortgaged (2)
markets (2) 104:13 156:4 | middle (4) 38:3 144:3 26:25 27:2
17:13 18:10 medication (1) | 47:18 85:5,10 | mixed (1) Moshe (13)
marriage (1) 5:18 85:12 12:7 51:13 62:2,11
159:12 meet (1) middleman (2) | moment (6) 66:12 82:17
matter (8) 51:16 12:24 13:9 81:2,4 92:4 82:18,19 83:9
9:4,5 10:11 meeting (9) middlemen (1) 112:13 147:19 149:7
48:5 50:21 3:5 10:12 11:6 | 14:4 121:15 138:8 | 150:12 153:5
114:19 51:24 52:18 | million (37) money (45) 153:6
125:17 52:21 53:16 | 6:9,10,10,13 8:7,22 13:7,13 | motions (1)
159:15 53:22 119:11 | 6:19,19,23,24 | 13:14 15:8 8:9
matters (1) meetings (3) 7:3,5,8,9,13 23:9 24:11,14 | motivated (1)
3:17 54:3 63:3,16 7:18 8:13,13 | 25:3,7,16,17 | 150:4
mature (2) member (14) 8:14 9:14 26:19 27:17 | move (9)
25:15 29:3 38:7 41:20,25 36:9,10 27:18 29:4,18 | 27:5 73:8
matured (2) 42:2,4 56:13 134:10,12,17 | 29:21,23 31:2] 75:24 77:10
42:5 48:3 90:2,2 103:4 | 136:6 137:3,8 | 32:3 33:19,20 | 101:18
maturing (1) 127:2,6,13 137:9 138:20 | 48:9 119:2,5 103:22 109:3
25:13 131:13,13 139:15,19 119:8,12,19 132:14 145:8
mean (24) members (4) 143:17 144:8 121:19 moving (2)
7:4 8:16 15:23 | 40:9 126:7 147:15 122:18 107:21 113:20
35:12 37:11 128:18 148:16,17,21 | 129:19 mutual (1)
42:7 44:10 133:11 151:2 134:10,14,15 | 52:2
48:14 49:18 | membership ... | millions (1) 137:13,19,20
96:16 97:10 | 10:22 37:18 60:23 138:11,14 N
100:2,5,25 41:2 56:25 mind (3) 143:14 150:7 | NG)
107:16 57:7 59:22 12:8 112:9 153:16 154:2 | 2:2 4:2 5:2
108:22 63:13 64:21 115:10 month (8) nagging (1)
116:24 119:2 | 123:15,17 mine (2) 20:12 48:5 132:14
119:4 122:21 | memorializes... | 135:6 136:21 50:16,21,22 | Naidich (51)
123:11,21 154:9 minimal (1) 50:22 90:18 | 2:10,14 18:17
147:7,8 memory (2) 14:10 99:6 28:13 32:6,15
meaning (4) 47:9 75:8 minutes (6) monthly (1) 36:21 39:17
20:20 60:22 mental (1) 45:13 63:18 108:13 45:23 49:25
132:15 147:5 | 5:19 86:22,23 months (12) 53:12 55:23
means (5) mention (1) 104:6 105:16 | 15:3,5 20:10 57:9,18 68:19
34:6,8 44:11 123:20 mirror (1) 20:23 21:5,23 | 72:12,25
98:9,17 mentioned (6) | 74:2 21:25 22:6,11 | 76:20,23
meant (3) 10:11 12:21 missing (1) 50:17,23 80:25 81:10

Lexitas Court Reporting
800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 176 of 191

November 1, 2022

[Page 176]
91:6,10 93:12 | needs (2) 6:14 110:4,11,25 28:21 79:5
93:21 95:15 13:14 43:20 normally (1) 111:14 136:24
98:11,24 neglecting (1) | 126:11 112:17,25 offered (3)
100:11 101:9 | 86:16 notarized (1) 114:10 129:8 | 11:19 31:9,10
101:17 102:2 | negotiate (6) 118:14 129:18 130:4 | offers (1)
102:8,12,17 | 9:12,20 129:10 | Notary (4) 135:11 142:3
102:20 145:2 148:20 | 1:21 5:3 145:25 146:6 | office (7)
103:14,18 152:6 156:17 146:6 147:16 | 89:10 106:4
105:7,8,13,17 | negotiated (2) 160:25 151:23,23 107:17,25
105:22 119:4 | 9:3 10:5 note (3) numbers (3) 132:12
125:5 127:5 | negotiation (1) | 27:21 29:22 34:4 112:5,7 143:21
134:25 142:18 30:20 NXSO (14) 157:20
135:14 139:2 | negotiations ... | noted (2) 22:24 24:11,15 | officer (2)
150:14 156:6 | 27:19 56:20 156:6,9 25:21 26:18 | 3:64:14

name (17) 57:6 141:16 | notes (1) 28:2,4,5 offset (3)

5:7 14:22,23 141:25 142:5 | 137:9 33:11,15 35:9 | 147:13 153:17
29:12 62:5,7 142:6 notice (19) 36:3 151:15 154:18
64:19 90:20 | neighbors (1) | 20:4,5,7,15,19 | 152:3 oh (10)

91:25 93:14 | 137:23 21:6,9,13,20 16:3 21:15
120:13 neither (1) 21:25 22:3,7 O 46:12 96:22
130:14 44:13 22:11 124:16 | OG) 105:12
131:19 132:6 | never (19) 124:18 125:9 | 4:2 5:2,2 114:25

138:5 140:12 | 14:24 29:15 125:15,18 o'clock (2) 124:17 126:2
151:17 35:9 48:3,12 158:9 105:20 156:5 128:12

named (5) 49:17 66:2 | notwithstand... | oath (2) 153:10

22:23 24:15 112:9 119:14 | 3:15 3:6 4:14 okay (35)
29:13 39:22 119:16,16 November (19) | objection (6) | 7:9 8:5 20:12
132:14 120:9 126:3 | 1:20 12:11 98:24 100:11 30:2,6 45:13

names (2) 127:18,18 68:16,20 102:18 45:14 46:12

18:6 130:23 138:14,15,16 | 70:10 71:8,18 | 103:21,22 46:12 47:14

necessary (2) 146:23 71:24 73:10 141:10 49:15 72:23

134:2 160:3 new (20) 73:12,13,18 | objections (1) | 75:21,25 76:9

Neck (3) 1:3,22 2:6,13 74:9 77:24 4:9 77:10,19

2:12,13 5:10 5:4,10 10:25 78:20 115:12 | obligated (2) 87:23 96:22

need (14) 20:11 52:25 118:14 159:5 | 31:21 44:17 102:2,11,19

3:6 9:24 14:2 53:4,8 54:3,8 | 159:18 obligation (1) 105:22
34:3 43:5,14 54:9 62:20 | number (32) ‘| 3:16 114:16 117:3
44:6 55:9 126:11 6:20 7:10,11 | occur (1) 119:17
68:6 70:4 128:21 7:20,25 8:3 128:10 122:23 124:4
79:3 92:15 132:12 16:13 30:22 | occurred (1) 124:17
104:14,15 140:15,17 89:23 106:19 | 11:6 125:13

needed (3) newspaper (2) | 106:22,25 October (2) 127:10 133:2

13:15 47:24 126:18,20 108:19 108:2 110:14 133:2 144:11

143:23 nine (1) 109:20,24 offer (3) 148:7

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 177 of 191

November 1, 2022
[Page 177]
once (4) orders (1) 29:16 37:24 61:10 64:25 106:23,24
55:4 99:5,6 86:14 40:17 44:24 106:16 107:3 110:7
153:14 original (1) 45:3 54:18 108:11 110:8 | 110:12,25
one-third (2) | 118:8 55:4 60:12,14 | 110:23 138:15,16,18
66:4 147:20 _| outcome (1) 131:8 133:12 | 111:17,23,24 | 138:19
ones (2) 159:14 133:16 112:3,8 151:22,23,23
87:21 115:13 | outsider (1) 140:23 113:21,24 151:25
online (2) 17:17 150:22 114:3,5,6,7 parcels (31)
50:19 138:20 | overlooked (1) | owns (2) 115:6,15,19 | 22:19,20 31:11
open (7) 115:14 133:16 147:6 116:5,6,11,14 | 31:25 32:12
10:11 11:12 owed (7) 116:15,18 34:10,15
14:7 29:5 28:12,13 30:12 P 130:8 134:17 | 35:15,25
33:11,12 31:3,11 P (3) 134:20,20 36:13 37:9,12
76:20 153:13,16 2:2,2 4:2 137:12,19 37:16,22 40:6
opened (4) owing (1) P&L (1) 138:5 143:4 45:6 46:21
11:10,12,14 27:9 90:18 146:10,11,11 } 55:8 56:7,10
129:2 owned (17) P&Ls (1) 146:15,17,19 | 56:22 60:18
opening (1) 28:22 32:11 92:3 153:14,15,17 | 60:18 63:12
90:23 34:1735:4 | pm (9) 153:18 154:7 | 63:25 64:8
operate (1) 38:5 39:14,23 | 68:16,21 70:11 | 154:9,10 145:12,16,20
44:14 56:9,23 57:2 | 71:9,18,25 | paper (6) 151:15
operates (1) 66:5 109:6,13 | 74:10 76:12 | 118:7,9,10,11 153:13
44:23 112:24 156:9 127:23 part (32)
operating (1) 136:13 packages (1) 150:23 7:14 11:7
92:16 142:10 144:2 paper-wise (2) | 13:21 16:3
opinion (5) 147:19 page (35) 150:20,21 17:6 22:23
83:5,8,17 owner (19) 6:7 46:10 70:9 | papers (3) 24:10 31:12
100:14 26:24 28:5 70:24 71:2,2 | 20:8 123:11 37:7 48:11
149:16 34:6,7,7,8,9 71:23 72:15 142:17 56:6 57:5
opinions (1) 34:18 40:5 73:7,7,9,9,16 | paperwork (1) | 58:23 62:21
6:15 47:8,11,15 74:8 75:3 20:21 65:5,6 83:10
opportunity... | 57:25 108:23 | 76:11,24 paragraph (7) | 84:8,15 97:18
62:25 63:7,11 118:7126:10 | 77:20,23 95:9 | 96:12,23,23 97:19 99:22
63:24 64:5 126:17,21 95:23 96:11 97:9 98:13 106:8 128:5
124:4 137:8 107:7 112:20 | 100:9 102:25 | 132:17 144:8
option (3) owner's (1) 113:3,13 paragraphs (1) | 145:20 146:5
89:6 152:12,15 | 107:24 117:20,21 97:6 147:12
options (1) owners (8) 155:11 157:2 | parcel (30) 152:10 153:2
24:2 33:19 110:2 157:6,23,25 | 22:21 41:16,17 | 154:21
order (3) 126:7,13 158:3 160:5 45:5 46:20,22 | partial (5)
47:25 55:10 130:17,19,25 | pages (2) 46:24 47:4,8 | 57:23 58:3
59:21 131:5 67:23 157:13 47:23,25 108:11,12
ordered (1) ownership (17) | Paid (50) 50:10,14 55:5 | 110:24
6:2 26:10,11 29:14 | 19:10 61:9,9 59:10 88:15 | participate (1)

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 178 of 191

November 1, 2022
[Page 178]
96:7 106:4 107:18 120:16,20,22 | 3:6 52:1954:5 | 39:6,7
participating... | 107:20,22,24 121:16,16,17 54:25 61:13 | plus (2)
3:4 108:8 109:15 122:8,9 123:4 | 128:9 136:19 | 6:9 154:20
particular (2) 110:14,24 123:6 127:13 150:9 pocket (2)
16:17 110:11 111:8,10 133:16,17,18 | placed (1) 138:5 139:20
particularly ... 112:12,22 138:23 139:9 | 25:25 point (32)
151:14 114:14,17 139:10,16 plaintiff (3) 10:2 12:19
parties (10) 115:3,12,17 152:17 1:19 2:4 90:2 27:7,11 29:18
3:2,9,15 4:4 116:16,17 percentage (7) | plaintiff's (24) 30:6 31:4,7
31:21 140:3 157:20 41:20 48:15 42:16,19,24 41:8 42:17
141:13,14,15 | payments (5) 99:8 120:10 48:21,24 49:4 | 45:15,25 47:7
159:13 108:13,13 133:13 140:5 49:8,11 67:21 | 48:23 55:25
partner (5) 109:25 142:10 67:23 70:16 59:9 66:15
41:19 64:6,11 111:14 percentages (...| 72:16 73:6 67:22 79:24
64:12 85:11 119:12 140:23 141:17 75:3 87:3,8 87:7,17 88:20
partners (3) payor (5) perfectly (2) 87:13 88:19 96:19 105:14
130:21 132:13 | 108:19,21 80:24 82:4 88:23 89:15 106:3 110:3
140:14 109:4 110:16 | performed (1) 94:22 106:2,5 | 122:11,12
partnership ... 111:12 35:15 157:6 126:6,23
11:13 84:17,25 | pdf (1) period (3) Plaintiff(s) (1) 149:6 150:17
85:2 120:11 87:4 108:6,7 119:10 | 1:6 politically (1)
120:11 penalties (2) permission (1) | plan (2) 150:4
party (10) 7:7 8:12 103:19 131:20 133:9 portion (2)
3:16,16 26:7 pending (1) person (5) plans (2) 6:17 79:25
60:15 133:13 | 45:18 24:7 29:11 131:22,22 position (4)
143:6,7,8 penny (1) 35:5 47:22 player (1) 83:18 90:23,24
154:15 159:8 | 139:16 91:24 64:14 143:11
passive (5) people (12) personal (1) pleadings (1) | possession (1)
98:22 99:3,5 13:2 18:15 137:19 97:6 3:14
99:11,24 24:2 28:7 phonecalls (1) | please (9) possible (2)
pause (1) 56:19 90:8 150:8 43:23 45:22 11:5 46:14
113:6 115:8 134:19 | physical (1) 57:17 80:4 possibly (1)
pay (13) 137:25 5:19 91:6 101:6 26:22
6:19 9:14,15 143:20 picking (1) 121:8 122:6 | potential (2)
27:13 58:6 149:22 150:8 | 5:23 151:7 135:22 143:18
61:12,13 percent (38) piece (11) pledge (4) precaution (1)
115:5 116:4 10:23 17:11 41:22 54:23 39:8 56:14 22:10
134:15,16 41:21 63:13 55:9 58:13,21 | 58:7 60:4 preceded (1)
153:6,25 64:20 65:2 58:23 60:9,12 | pledged (8) 117:16
paying (3) 82:17,19,24 61:6 136:16 26:7,25 27:23 | predecessor (...
86:9 113:11 82:24 84:3 150:6 38:10,15 93:11
115:14 97:16 118:3 | pieces (1) 39:24 58:5 prefer (3)
payment (23) 118:10,15 61:15 59:20 67:6 122:5
61:11 86:12 120:3,5,6,12 | place (8). pledging (2) 156:7

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 179 of 191

November 1, 2022
[Page 179]
preliminaril... 98:22 112:18 | Project (27) 109:25 3:3
68:10 115:9 116:14 | 130:14,17,25 111:11,19 pursue (2)
preliminary ... 118:9 123:10 131:8,14,17 112:16,17 30:5,7
89:17 129:2 134:10 134:7 135:4 114:9 129:7 | pursuing (3)
present (3) 137:16 135:18,20,21 | 130:7,8,10 20:14 30:3
2:16 3:2 96:4 149:19 155:5 | 135:25136:7 | 134:16 152:7
presentation ... | problem (15) 136:11 137:3 135:23 136:7 | put (16)
61:19 17:24,25 18:7 137:20 136:9,10,14 | 22:24 24:18
presented (4) 20:25 45:23 138:17 139:5 137:16 25:9 54:24
3:13 36:4,5 58:9 103:23 139:9 140:2,9 | 143:19144:4 | 85:4.99:11
61:18 116:11 140:10,12,16 | 144:6 134:22,22
presenting (1) 135:14 148:4 140:23 propose (1) 139:15,15,19
3:12 148:12,13,14 | 142:10,14 54:22 143:6,7,8,14
press (2) 149:21 151:5 | promised (1) proposed (3) 145:6
132:25,25 problems (2) 155:9 51:2,9,11 putting (3)
presumably (...| 124:8 149:13 | properties (25) | prosecuting (... | 85:11 99:22
49:6 procedure (2) | 28:5 31:13,19 | 8:8 134:9
presupposes ... | 27:24 43:20 33:4 38:11 provide (3)
57:14 proceeded (1) 39:7,8,16,18 | 70:18 72:9 Q
pretty (4) 106:20 59:14,23 62:2 | 125:19 quarterly (1)
16:23 51:8 proceeding (1) | 66:13 78:12 | public (11) 108:13
92:19 98:2 160:2 84:13 85:17. | 1:21 5:4 13:20 | Queens (3)
previous (1) _| proceeds (1) 86:11 110:2 13:20,21 14:8 | 128:22,24
98:2 154:17 111:17 49:21,22 50:2 | 129:3
primary (9) process (1) 135:13 156:17 question (77)
17:8 97:14,21 | 17:21 144:16 160:25 3:14 4:9 5:17
98:8,16,20 | produce (2) 146:24 publication (1) | 7:21,22 11:5
100:17 103:2 | 15:13 89:14 147:14 149:4 | 126:19 16:15 18:18
103:6 produced (3) 149:7 published (1) 18:19 21:18
principal (7) 70:15 75:13 property (50) 126:22 23:11,11
16:25 26:6,9 82:10 16:7 25:25 pulling (1) 24:24 26:14
27:3,8,14,21 | production (9) | 26:8,24,25 148:19 32:7,15,25
prior (8) 36:19 67:20 27:2,20,23 purchase (4) 35:9 43:13,18
3:14 21:10 72:7 89:13 31:11,16 62:25 63:12,24 | 45:18 46:4
54:23 57:15 90:5 106:9 32:19 34:16 89:6 51:8 54:15
57:20 91:22 124:21 38:16 39:23 | purple (3) 57:4,13,19,22
92:2 93:14 157:24 158:4 | 39:24 43:2 87:25 88:15 67:8 70:5
private (1) profit (5) 44:16 46:16 107:4 73:5 76:21
13:16 120:13 121:16 | 46:1747:12 | purpose (4) 77:17 79:18
probably (19) 121:17 122:8 | 50:15 56:6 3:10 14:9 79:19,20,23
12:2 28:16 122:9 69:16 87:6 75:16 131:19 | 80:16,24
37:2 54:9 profits (3) 106:17,18,21 | purposes (1) 81:15 82:5
65:16 71:3 97:16 120:20 106:22 156:4 93:13 97:24
78:16 88:11 123:5 107:17,24 Pursuant (1) 98:14 101:7

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 180 of 191

November 1, 2022
[Page 180]
101:11,20 81:17,17 25:22 30:21 154:13 104:19,22
102:11,13,16 | 99:13,15,16 34:5 35:21 ‘| receives (2) 108:23
102:19,21 99:17,20 36:6,15 46:6 | 103:3,4 116:10
103:20,25 102:25 46:6 52:22 _| receiving (2) 124:24 125:2
104:4,23,24 117:15 121:9 | 53:3,23 59:17 | 15:17 100:17 159:10
106:8 112:13 122:4 123:24 62:7,20 64:2 | recess (5) recorded (2)
114:22 153:24 67:10 74:19 | 41:9 45:16 3:8 128:10
117:21,25 reading (7) 81:24,25 82:6 | 46:2 56:2 recording (1)
118:18,19 19:21 45:19 84:9 85:14,18 | 105:23 3:8
120:9,18 68:5 82:14 86:8 87:19 recital (1) records (2)
121:22 122:6 | 120:8,18 91:9,10,15,19 | 142:9 116:16 158:7
122:24 123:2 122:17 98:3 109:19 | recognize (1) recovered (2)
123:19 135:2 | real (10) 112:15 94:25 29:21 30:18
136:4 139:3 16:7 25:25 113:15 recollect (2) recovery (1)
145:13 147:3 | 27:20 36:15 115:24 118:8 | 120:19 123:3 | 37:7
151:9 43:2,7 132:2 120:21 123:5 | recollection (... | reduce (1)
questioning (2) | = 132:12,17 123:22 124:7 | 6:11 10:16 152:6
3:14 86:20 136:7 126:25 45:20 49:6,16 | refer (2)
questions (4) _| realized (2) 127:21,22 63:10,22 13:11 97:6
46:13 117:16 116:3 150:5 129:14 67:10,14 reference (3)
122:3 125:24 | really (17) 130:22 142:8 | 74:21,24 75:5 | 87:18 117:19
Quick (1) 11:21 14:14 146:22 75:20,23 76:4 | 122:11
44:22 17:6 23:10 147:10,21 76:16 77:2,9 | referred (3)
quite (2) 34:25 36:16 148:16,24 77:14 78:8 98:22 131:6
96:2 123:20 45:9 53:19 149:9 153:8 79:16 80:3,8 158:4
quoted (1) 65:20 87:17 154:22 80:18,22 referring (6)
58:15 110:19 receipt (2) 82:14 85:22 | 49:5 97:9
117:11 128:2 | 107:12 117:25 | 112:6 114:8 118:12
R 132:24 143:3 | receive (6) 115:20 120:4 123:15
R (2) 152:21 153:9 | 48:6,9 60:5 120:14,15 139:11 151:8
2:2 159:2 realty (1) 120:20 123:4 | 121:14 reflected (4)
Ralston (2) 41:12 138:12 145:18 141:17 142:11
110:23 111:4 | reason (16) received (22) 147:23 142:20
reached (3) 7:14 11:14 21:9,19 33:10 | reconvene (1) 150:23
15:6 27:15 21:24 31:6 39:15 71:4 105:18 reflecting (2)
140:3 35:8 38:19 97:15 107:17 | reconvey (1) 151:14 154:23
read (30) 40:14,18 107:25 50:14 refresh (15)
19:20 44:3 58:21 73:24 110:15 111:9 | record (21) 45:20 49:6
45:11,12 67:3 | 92:18 112:25 | 111:10,14 5:7 10:3 12:18 | 63:10,22 67:9
67:7 71:14 115:16 135:11 12:20 47:8 67:13 74:20
73:22 74:3,5 136:14 136:25 137:2 | 49:21,22 50:2 | 75:7,19,23
74:16 75:7,9 147:24 160:5 | 137:5,6 50:19 63:15 76:4,16 77:2
75:10 79:15 | recall (55) 138:11,13,14 | 68:25 69:4 77:9 78:8
79:22 80:2 11:16 15:3 152:17 79:25 90:11 | refreshes (3)
Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 181 of 191

November 1, 2022
[Page 181]
75:4 77:13 57:2 27:3 126:5 review (1)
80:22 relevancy (1) | repeat (3) requested (1) 43:15
refreshing (1) | 135:7 16:15 69:19 79:25 reviewed (1)
47:9 relevant (3) 127:3 REQUESTS ... | 160:2
refuse (2) 69:15 96:24 repeating (3) 157:22 158:2 | revisit (1)
78:18 81:16 97:13 30:16 101:10 | required (2) 136:5
refusing (4) remaining (3) 127:9 94:12 99:6 RICHARD (1)
80:6,7,15 30:11 33:7 report (5) reserved (1) 2:14
81:14 59:14 50:11,14 4:10 Rick (8)
regarding (4) | remains (1) 100:25 101:4 | resign (2) 57:21 79:4
3:14 74:10 44:17 115:17 92:14 93:18 80:13 81:5
76:13 78:11 | remember (36) | reporter (32) | resigned (1) 91:4 101:5
Regardless (1) | 6:21 7:25 3:4,7 5:69:23 | 94:15 135:9 156:2
78:4 11:19 14:22 42:10 43:9,21 | resolved (1) Rick's (1)
regent (1) 22:15 30:21 43:22,25 151:4 68:3
132:18 33:21,25 34:3 | 48:19 51:4 resource (2) rid (3)
register (4) 35:21 36:8 67:2,19 71:21 | 121:3,13 150:11 152:25
14:8 15:9 18:3 44:5 45:2,4 76:18 79:22 | respect (2) 153:3
50:20 51:18 52:4,18 | 80:2 87:3 16:5 50:9 right (50)
registered (4) 55:3 56:18 95:4,14,17,19 | respective (1) | 6:15 7:12 9:9
13:24 127:19 62:10,23 96:11 101:24 | 4:4 11:19 14:14
140:15,16 64:22,23 66:7 | 104:7,21 response (3) 18:23 25:23
registers (1) 75:17,17,18 113:8,9 70:16 75:6 34:6 37:10
123:12 82:15 85:20 117:15,23 81:12 56:11 61:13
regular (1) 86:14,15 91:3 127:3 153:23 | responsibilit... 63:19 66:9
100:18 120:13,16 Reporting (1) | 61:17 69:3 73:17
reimburse (1) 127:24 128:2 | 3:5 rest (2) 74:23 75:11
153:21 remote (1) reports (9) 69:20,25 76:2 83:2,9
relate (1) 3:4 90:17 92:3 restore (1) 83:12,14,18
77:15 remotely (2) 99:4,5,8 35:3 85:4,7,7
relating (2) 1:19 3:7 100:23,24 restricted (2) 92:21 94:19
144:4 146:4 removal (1) 101:2 103:8 25:13,14 96:25 99:23
relation (1) 130:6 repossession ... | results (1) 105:9 107:21
145:11 remove (2) 116:5 18:6 108:5 110:9
relationship ... | 88:17 146:17 | represent (2) | retain (1) 110:12 112:5
52:15 53:17 Renaldi (9) 117:14 118:11 | 14:2 112:14
54:12,17 93:4 | 89:21 90:16,21 | representati... | retained (1) 113:13
93:8 96:15 90:25 91:11 44:18 87:22 114:11,18
103:10 91:23 92:2,7 | represented (... | retired (2) 115:2 117:21
release (3) 92:24 27:13 159:9 132:23,23 121:3,13,22
31:22 33:14 Renaldi's (1) _| request (7) return (1) 123:25 125:2
59:25 92:20 36:25 37:6 116:18 131:17 141:9
released (3) repayment (3) 68:3 70:16 reverse (1) 151:5
31:25 35:9 25:24 26:9 72:14 117:7 116:14 road (4)

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 182 of 191

November 1, 2022
[Page 182]
2:12 22:20,21 | says (10) 147:3 seen (17) 14:23,24,24
145:24 45:9 47:5 seconds (1) 43:4,14,17 74:17 76:12
robots (2) 67:19 71:13 104:5 44:4 46:4 separate (4)
134:23 143:21 78:3 79:6,9 secret (1) 49:10 70:13 3:4 27:24
rocky (1) 79:10 82:13 | 66:14 70:25 73:20 58:25 144:7
17:22 160:2 secretaries (1) 74:13 83:25 | separated (1)
role (1) school (1) 126:15 87:14 95:8,21 | 60:10
98:18 149:24 secretary (1) 96:3 118:9 September (7)
rolling (1) scope (5) 63:18 126:3 41:23 42:13,18
110:20 129:11 145:2,4 | section (1) select (1) 42:25 47:2
rough (1) 145:9 152:7 3:3 16:16 113:17 157:9
117:22 screen (2) secured (4) selecting (3) servant (1)
routinely (1) | 69:2 117:9 23:3 56:5,9 17:9 18:13,13 | 90:3
20:22 scroll (14) 60:15 self-learning ... | Service (1)
run (1) 43:5,15,24 securities (4) 18:9 3:5
8:22 68:13 70:24 17:13 23:15 self-mature (1) | services (2)
running (3) 71:6 72:24 89:3 91:12 25:18 94:11 119:23
139:18 145:16 76:10 95:5,14 | security (4) self-registere... | session (1)
145:17 95:18 96:11 | 25:25 26:8 12:17 13:5,19 | 117:24
Russian (1) 107:15 110:3 | 27:3 56:13 13:22 14:21 | set (2)
80:19 scrolling (5) see (48) 23:23 24:4 31:23 159:17
43:11,25 73:6 16:22 27:24 self-registrat... | setoff (1)
s 76:18 95:19 43:544:6,9 | 13:15 7:15
S (S) scrolls (1) 49:21 50:2,18 | sell (4) settle (3)
2:2 4:2,2 5:2,2 | 43:16 61:11,15 14:6,10 47:16 | 8:14,19 144:14
Sachs (1) se (1) 68:14,25 69:9 | 136:15 settlement (7)
18:5 120:12 69:10,25 seller (3) 7:6 27:21 57:6
salaries (1) sealing (1) 70:10 71:8,19 | 44:16,17 57:11,16,23
134:20 4:5 73:3,3,4,4 134:16 58:3
sale (5) search (1) 81:22 83:3 selling (5) settling (2)
48:3,24 49:9 | 90:15 89:12 90:16 | 16:23,24 17:25 | 6:21 20:8
50:8 157:11 | SEC (14) 95:3,9,15 45:5 137:7 | seven (2)
satisfied (3) 6:21 8:6,14.9:5 | 96:18 107:14 | send (7) 130:22,24
116:22 148:21 | 15:25 19:19 109:11 110:7 | 21:6 89:4,11 | shake (1)
148:23 19:21 20:9,16 | 111:18,18 91:16 92:3 142:15
satisfy (3) 20:23 124:7 112:11,14 124:22 share (1)
58:7,18 60:23 126:6 128:4 113:5 115:2 125:22 25:17
saw (6) 128:13 117:20 118:7 | sends (1) shared (2)
11:2 71:3 82:9 | SEC's (1) 126:2 128:21 | 63:19 54:18 121:15
95:9,22 15:24 134:5 136:22 | sense (1) shareholder ...
100:16 second (8) 138:20 121:6 103:3 141:4,14
saying (4) 41:6 55:4 72:9 | 152:19,23 sensitive (2) 141:18
74:12 82:22 107:7 112:20 | seeing (2) 104:23,24 shareholder’...
110:5 126:2 124:25 125:7 | 112:5 154:22 | sent (5) 140:4

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 183 of 191

November 1, 2022
[Page 183]
140:4 118:23 47:8,25 55:9 | 17:18 25:11 stake (3)
shareholders... 119:13 120:3 58:23 59:10 26:22 68:4 84:4 97:22
120:23 123:7 120:7,20,22 60:9,12 61:6 93:3 131:24 98:19
142:10,11 123:4,6 88:15 106:23 | sounds (3) start (7)
143:16 127:12 153:14 25:2 114:11 16:20 22:3
shares (25) sign-off (1) smaller (2) 129:12 24:6 69:13
13:25 14:25 142:7 87:25 145:25 | SOUTHERN... | 121:11 134:9
15:7,9,14,18 | Signature (1) | smirking (1) 1:3 134:11
16:24,24 17:2 | 160:23 152:20 space (1) started (5)
18:8 23:8 signed (6) soccer (1) 72:10 16:20 23:6
25:5,6,7,13 4:13,15 41:25 | 64:14 speak (3) 109:10 124:8
25:15,19,24 42:3 49:13 social (5) 91:6 131:20 141:9
26:3,5 29:2 118:10 51:25 52:16 138:2 starting (1)
121:23 significant (5) 63:3,15 93:3 | speaking (1) 156:5
123:13,19 8:7 153:10,15 | socially (2) 104:20 startup (3)
131:8 153:25 154:2 | 62:19 93:8 Special (5) 133:22 134:3
she'll (1) significantly ... | sold (6) 42:17,24 44:10 134:18
43:15 145:10 29:4 41:17 44:21 157:8 | state (8)
shebang (1) similar (2) 44:7,9 147:18 | specific (3) 1:22 5:4,7 11:2
143:25 91:22 114:14 150:12 7:25 119:21 15:12 53:2
SHEET (1) simple (1) sole (7) 122:3 54:5 126:15
160:1 46:14 41:25 118:6 specifically (4) | stated (1)
show (4) simply (1) 126:10,16,21 | 51:11 62:7 140:23
42:8,14 55:22 | 94:16 127:2,6 96:12 102:25 | statement (4)
67:13 simultaneous... | somebody (14) | speculating (1) | 10:9 27:22
showed (10) 41:16 8:25 12:14 53:13 93:5 98:6
9:11,14 10:6 sit (2) 18:19 52:10 | spell (1) statements (3)
10:14,18,20 8:2 142:2 52:13 55:8 90:22 10:7 128:4,9
13:3 72:2 sitting (2) 74:17 79:7 spelled (1) states (3)
118:21 30:23 81:21 86:3,16 93:6 | 132:6 1:2 52:23 54:6
127:15 situation (1) 99:4,25 spends (1) stating (2)
showing (2) 14:19 100:24 8:6 43:6 98:7
8:2 128:22 six (2) someplace (1) | spent (6) stay (1)
shown (1) 18:4 19:4 54:4 129:19 146:3,9 | 9:7
63:5 slightly (2) somewhat (1) 148:12 150:2 | stayed (2)
shows (2) 114:12,15 31:2 150:7 33:11 57:13
60:22 115:4 slipped (1) sorry (11) split (1) stays (1)
side (4) 115:10 21:15 51:7 110:8 33:12
22:20,21 84:22 | slow (1) 52:12 73:15 | spoke (5) stenographic...
130:20 9:25 97:2 100:20 8:12 48:7 159:7
Sigalit (17) slower (2) 109:9 110:6 73:17 83:20 | step (1)
1:5,15 7:17 9:23 49:23 124:3 150:16 85:18 109:18
10:23 89:4,18 | small (14) 150:16 SRGX (1) STEVEN (1)
96:13 118:3 41:15 46:20,22 | sort (6) 14:23 om

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 184 of 191

November 1, 2022
[Page 184]
STIPULAT... | 152:21 supply (1) 58:19 63:18 115:18
3:2,12 4:3,8,12 | studies (3) 3:16 70:7 72:12 116:10,19
stipulation (1) | 143:22,23,24 | suppose (3) 86:20 101:24 157:20
14:9 stuff (6) 25:15 126:6 103:17 taxes (21)
stock (8) 14:11 36:17 133:21 104:10,21 86:13 106:16
12:17 13:5,19 63:4 68:9 supposed (2) 109:13,18 106:17,18,22
13:22 14:6,21 134:23 47:20 48:13 110:6,9 117:8 109:12
23:24 24:4 148:18 supposedly (1) 124:3 128:4,9 | 110:23,25
Stocks (1) subject (5) 41:19 145:5 147:16 111:11,19
119:22 66:9 69:7 sure (16) 147:24 112:23
stop (3) 70:12 77:25 7:19 8:15 151:20 113:24 114:3
22:6 105:7 78:3 11:21 12:3 152:13,14 114:6,9 115:5
150:10 submissions ... 25:10 32:5 153:4 115:6,19
stopped (12) 125:15 55:23 61:4 taken (8) 130:8 153:12
19:17,23 20:2 | submit (1) 62:15,17,18 1:19 41:9 153:18
21:19,24 20:8 64:22 114:23 45:16 46:2 technically (1)
22:10 31:6 Subscribed (2) 116:5,20 56:2 105:24 121:23
92:11,16 156:13 160:23 123:21 159:7 160:2 | Ted (13)
104:3 124:13 | subsequent (2) | surprise (1) talk (9) 35:4 38:5,7,23
124:15 37:3 47:15 60:2 9:22 43:16 39:9,9,11
stores (2) substance (3) | survey (4) 49:23 54:13 42:2 60:24
132:16,18 78:14,19 82:2 | 87:7,13 88:2 66:24 76:7 148:25
story (3) substantial (1) 157:15 85:21 88:4 151:25
151:10 152:18 | 133:25 suspect (1) 119:5 152:16 153:2
152:20 sudden (1) 107:19 talked (4) teeth (1)
straight (1) 149:22 suspected (1) 20:7 22:16 148:19
151:11 sued (1) 10:4 131:25 133:3 | tell (24)
straightforw... | 27:24 sworn (8) talking (22) 10:17 11:8
51:8 suggest (3) 3:7 4:13,15 5:3 | 34:14,15 56:4 14:17 30:9
straw (1) 63:17 86:22 156:13 159:5 67:4 69:3 47:21 67:4
153:11 99:24 160:1,23 73:12 81:8 69:13 78:14
Stream (1) suing (1) 87:19,20 88:6 | 78:19 79:6
5:10 82:19 T 104:2,3,19 80:10 82:12
street (5) sum (9) T (4) 117:17 85:20 101:6
46:20,22 55:6 | 24:16 78:14,19 | 4:2,2 159:2,2 124:24 108:6 132:13
55:10 58:25 82:2 103:24 | table (1) 126:19 139:4 | 142:22
strictly (1) 104:2 146:10 | 82:25 141:6 143:11 | 145:15
43:12 146:11,15 take (38) 150:19,21,22 | 147:22 151:9
strike (3) summarize (1) | 8:21 9:6 25:23 | tax (13) 152:18,19,20
83:22 101:22 | 121:25 27:20 29:8,9 | 106:4 107:18 152:21
112:8 summarizing... | 36:21 38:17 108:5,7 telling (3)
structure (1) | 6:7 40:17 41:6 109:15,25 80:8 96:6
133:13 summary (2) 43:10 50:20 112:16 155:2
struggling (1) | 131:21,23 52:19 55:19 113:11 114:6 | ten (5)

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 185 of 191

November 1, 2022
[Page 185]
78:5 86:21 15:11,16,17 20:10 24:15 36:13 37:9,12 | 40:8,16 41:8
90:9 116:21 22:17,19 23:6 | 29:5 32:6 37:16,22 41:11 42:17
116:25 24:10,19 26:7 | 33:11,12,13 38:11 39:7,15 | 44:9 45:10,11
tens (1) 31:11,24 33:4 | 36:9,11 41:20 | 40:6 45:6 45:15,25
60:22 34:16 35:15 42:5 48:14 46:21 56:6,10 | 48:23 50:20
term (4) 35:24 37:22 51:3,8 55:2,2 56:22 60:18 50:25 52:6
14:3 25:4 34:6 38:20 44:11 57:10 61:5,13 | 85:5 87:20,24 | 54:10,13,14
103:2 56:6,7,10 63:21 64:13 88:14 104:5 55:25 56:22
terminate (2) 63:25 69:8,16 | 67:19 68:17 106:25 109:7 61:6,20,23
94:7 105:13 70:12 74:10 78:16 80:12 109:10,10,11 67:22 68:11
terminated (2) 76:14 77:25 80:16,23 81:7 109:13,16,20 70:7 77:7,12
92:13 93:18 78:4 87:5 90:4 93:10,21 | 110:2,5,7,9 79:24 81:22
terms (2) 135:23 104:9,14 111:2,14,21 84:15 87:7,23
12:4 64:17 136:14,19 118:14 121:6 112:17,25 88:20 91:5,8
testified (14) 138:2,3 124:3 126:24 114:10,24 91:9,15 100:7
5:5 10:13,17 text (4) 129:4 132:6 129:14,18 104:9 105:14
32:18 71:22 64:2 65:19,20 144:14 147:9 130:5 135:12 106:3 109:19
76:5 92:4 66:8 147:10 135:12 114:13
118:20,25 texts (4) 148:15 152:4 138:16,16,18 119:10
138:21 142:8 | 63:20,21,21 153:10,18 138:19 121:15 122:7
143:15 65:17 thinking (2) 145:12,25 122:11 124:2
144:13 Thank (8) 63:18 119:8 146:7 147:16 128:14,15
147:11 45:24 55:24 third (6) 151:23,24 131:16
testifying (6) 113:9 117:5 8:20 26:7 three-second... 132:22
109:22 124:7 126:3 144:11 41:15 106:23 | 113:6 136:15
129:14 144:12 113:16 three-year (1) 137:18 138:6
146:22 149:9 145:14 115:21 133:3 149:6,25
151:3 thing (19) third-party (3) | throwing (1) 150:2 156:9
testimony (26) | 27:4 81:18 24:18 26:2,16 | 150:8 times (11)
5:20 25:22 82:12 85:9,9 | thought (8) thrown (1) 23:14 53:20,22
32:8,17 34:5 101:4 104:7 14:20 40:19 144:20 53:24 96:24
38:4 40:25 104:11,24,25 47:10 125:14 | Thursday (1) 97:13,20
57:10,15,20 110:16,17,18 129:24 77:24 104:25
59:17,18 114:15 143:10 144:3 | tickets (1) 128:12
68:22 98:2 127:22 149:18 150:9 137:17
102:24 131:24 thousands (1) | time (79) 139:23
111:21 134:21 153:19 4:10 10:2 12:6 | tires (1)
128:10 138:9 138:10 three (68) 12:7,19 14:17 | 150:9
147:10,21 139:18 6:9 19:3 20:23 15:3,15 23:17 | title (4)
148:11,24 things (4) 22:19 23:22 23:25 24:11 34:18 42:12
150:24 159:6 | 20:22 23:12 31:11,13,19 25:15 27:7 47:3 115:21
159:7 160:3 75:17 76:3 31:24 33:4 28:4,12 29:18 | titled (4)
Texas (38) think (49) 34:10,15 31:8 34:10 34:7,9 87:4
6:5 15:10,10 10:12 11:18,20 | 35:14,24 35:13 39:14 108:19

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 186 of 191

November 1, 2022
[Page 186]
TJ (155) 120:17,17,23 | 73:9 74:8 13:25 149:19
10:23 11:2,9 123:7,16 77:23 84:6 trades (2) 152:10
11:10,12,14 126:7,9,21,25 | 107:4,12 12:10 124:13 | transferred (...
11:20,22,25 127:13 112:21 trading (6) 37:25 40:9,12
12:10 14:13 128:19,21 Torres (3) 17:2,3 21:19 40:15 46:8
14:14 15:4,19 | 138:20 146:3 | 70:23 159:3,21 | 21:25 22:6 57:8 58:22
15:21 22:16 146:19,22 totals (1) 91:12 61:3,24 83:23
23:2,14,15,21 147:5,7,15 90:19 tranches (2) 88:5 116:12
24:5 25:2 148:10,12 touch (1) 24:16,16 121:21,24
27:12 28:19 149:2,19 92:23 transact (2) 122:20
28:22 29:15 150:16,17,24 | tough (1) 16:8 17:15 123:22
29:18,21 151:22 16:23 transacting (1) 138:16
30:24 31:3,9 153:16,16,17 | tracks (1) 19:17 transferring ...
31:15,18,23 153:21 154:2 | 88:12 transaction (... | 10:22
31:24 32:3,18 | 154:18,24 tract (34) 14:14 19:24 transformati...
33:3,20 35:13 | 155:2 46:18 47:16,17 | 23:16 32:3 140:10
35:22 37:8,12 | TJ's (5) 48:20 87:20 41:18 49:17 | translate (7)
37:15,21 16:5 20:17 87:24,25 50:3,7 51:2,9 | 75:15 78:15,17
38:16,17 38:25 56:21 88:10,10,13 51:12 64:18 79:7 80:10
39:12,15,18 147:12 88:14 106:25 65:22 85:25 82:22 83:2
40:10,16 41:3 | TNJ (10) 109:7,10,10 121:19 translation (2)
41:12,16 42:3 | 130:19,20 109:11,13 122:17 75:2 80:21
42:4,13 43:3 131:5,10,13 110:4 111:14 135:20 translator (8)
43:7 44:8 133:16 111:20 139:24 67:7,16 69:21
45:6 47:2,6 135:10 137:3 112:17,24 141:24 70:2 74:22,23
47:11,15,16 139:6,10 113:16 transactions ... 79:3 80:9
48:6,8 50:11 | today (3) 114:10 12:5,9,10 trees (1)
50:14 55:12 5:19 8:3 75:16 115:21 15:21 16:2,6 | 130:6
56:5 57:2,2,8 | told (24) 129:14,18 16:14,18 trial (1)
57:24 58:8,18 | 15:6 17:21 130:4 135:11 20:17 23:14 4:10
58:22 59:10 22:2 23:21,25 | 145:25,25 89:4 tried (6)
59:20 60:3,5 37:23 39:21 146:6,24 transcribed (1) | 32:12 58:7
60:11,20 61:7 | 51:5,7 65:10 147:16 159:8 85:4 132:20
84:18,19 89:2 | 65:11,14,15 | tracts (15) transcript (6) 136:15
90:3,25 91:22 | 65:24 82:6,7 | 62:2,25 87:21 | 3:16 72:11 137:12
92:8,11,16 82:8 83:15 88:4,7 109:20 | 117:20,22 triggers (1)
96:13 97:21 84:14 137:22 129:13,16,25 159:10 160:2 | 118:19
112:4,7,11 138:11 144:16 146:5 | transfer (15) trouble (1)
113:16,21,24 139:14 147:11,17,18 | 10:22 28:22 113:7
114:2,5,7,14 142:24 149:16 29:14 47:16 | true (10)
114:17 115:3 153:23 trade (6) 49:19,20,22 19:18 96:15
115:14 116:7 | tomorrow (1) 14:13,13 21:12 | 64:20 116:13 97:18 100:19
118:3,6,16,23 | 156:4 22:13,14 89:5 | 118:2 120:2,5 | 130:3 136:25
120:3,4,9,11 | top (7) traded (1) 132:20 137:2 140:7

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 187 of 191

November 1, 2022
[Page 187]
147:2 159:10 54:17 55:5 3:9 undone (2) 110:2
trust (2) 59:14,23 unconventio... | 48:4 49:19 vendor (1)
17:23,24 60:18 61:15 | 141:12,22,24 | undue (1) 134:15
try (12) 61:25 62:2,25 | understand (... | 48:3 venture (4)
8:23 9:22 63:12,25 7:11 21:8 23:2 | unfairly (1) 133:4,14,23
16:21 23:13 70:21 76:15 25:10 26:21 | 85:24 134:6
43:12 46:14 76:24 78:12 45:8,9 49:14 | United (2) verbal (2)
60:17 68:4 80:11 84:12 49:24 50:6,7 | 1:2 52:23 65:18,21
75:19 109:5 85:17 86:11 53:8 59:5,17 | unknown (5) __| verbally (1)
138:6 150:2 88:4,10 104:6 | 69:11,22 109:4110:15 | 143:6
trying (15) 129:13,15,25 78:25 81:2 110:15 111:9 | versus (1)
23:12 28:19 130:2,21 84:17 85:13 111:11 114:23
55:20 67:9 133:3 136:4 88:14 96:2,3 | unloading (1) | Verte (28)
72:25 75:12 141:16 97:23,25 18:7 130:14,18
76:8 101:14 145:16,19 100:7,9 unnecessary ... 131:2,9,14,17
103:24 104:2 | 146:6,24 101:12 105:2 | 102:9 134:7 135:4
104:18 109:5 | 147:11,14,17 }| 117:12 unreadable (2) | 135:18,20,22
141:22,23 147:18 149:3 | 120:19 74:4,18 135:25 136:8
151:10 149:7,12,17 121:22 unreasonabl... 136:11 137:3
TT G3) 151:14,24 122:13 123:3 | 80:12 137:20
29:14,15 31:15 153:13 123:9,24 unrecovered ... 138:17 139:5
33:6 34:10,13 | two-thirds (1) 124:5,5 29:24 139:9 140:2,9
34:21 35:4,7 | 10:8 126:20 unsatisfied (1) | 140:10,12,13
37:23 38:2,5 | type (2) 135:18 33:16 140:16,24
38:18,25 19:10 89:3 141:23 154:4 | unsigned (1) 142:11,14
40:11,12,15 | types (2) understandi... | 50:9 vertical (4)
40:23 41:2,3 | 23:13,22 36:17 37:15 untrue (1) 107:8,11,21,22
41:25 42:2 | typically (2) 38:13 44:19 | 96:18 video (3)
59:5,6,16,24 | 126:14 140:5 44:20 47:6 3:3,8,15
60:4 61:4 typo (1) 79:9 84:5,7 v Videoconfer...
64:25 151:25 | 121:5 85:25 86:2,4 | vaguely (1) 1:20 3:5
153:16 typographic... | 86:5 98:6,15 | 83:21 Vilma (3)
154:16 155:7 | 121:9 99:2,3 100:22 | valuable (1) 107:6 159:3,21
twice (4) 108:3,9,16,24 | 149:19 violation (1)
8:10 93:2,7 U 109:2 110:10 | valuation (3) | 3:9
99:8 U@) 110:22 111:2 | 35:14 36:6,14 | violations (2)
two (60) 4:2 113:12 value (3) 8:8 146:4
11:24,25 12:9 | U.S) 127:17 140:2 | 35:11.119:22 | virtual (1)
20:23 22:20 | 25:5 143:5 149:16 132:16
24:15,16 ultimate (1) understands ... | Variances (1) | volume (2)
27:24 41:17 | 118:17 93:22 130:11 17:2,3
46:21,23 ultimately (1) | understood (3) | Various (5) volunteer (1)
47:23 50:17 | 140:25 100:16 103:2 | 19:15 23:14 127:25
50:22,23 unautho’ ze... 129:24 89:3 109:7

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 188 of 191

November 1, 2022
[Page 188]
WwW 36:16 46:24 59:4 69:2 win (1) 115:9 129:11
waived (1) 56:25 57:16 70:18 72:15 9:5 138:13
4:6 57:23 58:23 88:6 110:18 | wire (3) 143:20 145:3
want (41) 58:24 61:18 115:2 148:5,7 | 118:2,21 119:9 | 145:4,10
14:3 15:8 61:20 66:14 150:9 152:13 | wires (1) 148:20 152:7
23:18 24:21 71:4 84:7 152:14,14 119:12 152:12,14
28:8 32:22 86:12 89:19 | we've (1) wish (2) work-out (1)
40:17 44:6 99:23,23 87:12 65:19 101:22 27:12
45:11 49:12 103:12 weakening (1) | withdraw (4) | work-wise (1)
55:21 57:18 114:19 132:19 21:17 53:10 143:13
58:12 78:17 116:25 week (7) 112:10 worked (3)
79:8,19 80:11 120:10 5:16,23,24 114:21 18:15 19:3
81:2 98:14 121:23 73:13 90:17 | withdrawn (2) 115:8
102:3,18 129:20 117:11,24 53:14 93:24 workers (1)
104:16 105:2 132:22 weekend (1) witness (23) 103:10
105:3,4,15 140:11 142:5 | 6:3 3:4,6,7,13,13 | working (6)
116:9,10 142:18,18 Wells (22) 3:14 42:15 48:2 84:21
121:25 143:3 144:8 20:4,5,7,15,19 43:23 45:19 100:2,4
122:24 146:11,15 21:6,9,13,20 55:22 68:6,15 | 132:22
124:22 153:15,23,25 21:25 22:3,7 80:15 86:25 137:18
132:24 138:7 154:15 22:11 124:9 93:22 95:17 | workout (3)
139:16 watch (1) 124:15,18 101:6 102:4 | 39:15 40:8
140:19,19 105:19 125:8,15,18 105:12 159:5 86:7
144:22 145:6 | water (1) 125:23,24 159:11,17 works (3)
151:17,20 144:23 158:9 160:23 12:14 13:18
152:10 way (16) went (20) witness' (4) 35:5
wants (1) 14:18 23:7 5:15 18:9 57:15 77:2 worry (1)
133:23 33:2,7 43:19 19:16 26:20 81:11 98:15 7:24
warehouse (1) 60:21 61:19 29:19 42:6 witnesses (1) | worth (1)
143:22 71:20 99:12 48:12 58:11 3:7 137:16
warehousing... 110:13 121:5 61:7 90:8 woods (1) wouldn't (3)
132:15 123:13 104:25 20:12 98:21 144:23
warranted (1) 124:17 127:7 114:12 word (3) 145:15
46:9 137:10 134:18 137:8 | 14:14 97:7 wow (1)
Warranty (6) 148:18 137:11,25 129:21 8:16
42:18,24 44:10 | we'll 11) 138:2 151:19 | words (6) writing (1)
44:21,22 7:12 16:8 151:22,25 99:10,23 100:4 | 148:18
157:8 42:15 69:12 | weren't (4) 100:8,10 written (1)
wasn't (44) 70:7 72:12 13:7 114:3 101:12 3:9
8:24 9:10,11 75:24 77:18 115:6,15 work (19) wrong (3)
17:6 22:22 88:14 105:17 | whereabouts... | 19:5 28:25 10:17 85:23
26:5 27:4 121:7 92:20 35:2 56:17 108:7
33:11,13 we're (15) WHEREOF ... | 86:24 90:9 wrote (1)
20:13 21:6 159:17 94:14,17 80:18

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 189 of 191

November 1, 2022
[Page 189]
WURMAN (1) | 116:19,21,25 | 130:10,11 1:20 42:16,20 | 154:20
2:10 121:20 137:14,15 42:24 144:16 | 126 (1)
122:19 138:6 146:24 157:8 | 158:9
x 132:14 Zoom/Legal... | 1.6 (1) 13 (1)
x (3) 144:24 1:20 7:17 20:10
1:4,11,17 149:11,12 | Zuchaer (74) | 1:29 (1) 14 (5)
XXxxxx (3) Yehuda (48) | 41:17,18,21,21 | 76:12 113:11 115:18
3:19 4:19 1:5,15,15 2:17 | 47:22,23 48:8 | 10 (12) 115:20 137:2
158:12 10:12,24 51:13,14,16 | 6:12 8:13 9:14 | 137:7
= 11:12 15:4 51:2452:21 | 41:2442:13 | 14th (1)
62:11,21 53:7,21 54:17 | 42:18,25 55:3 | 159:18
yeah (9) | 66:10 68:15 | 54:21 62:3,4 | 138:19 151:2 | 15 (3)
ae ae 68:24 69:17 | 62:4,6,6,8,8 | 156:5157:9 | 96:11 115:6,18
92:19 11:3 | 79:14 -71:5,9 | 62:12,20,24 | 10,000,000 (2) | 16 (5)
Mea Weed | 709,28 63:11,23 58:15 147:13 | 73:10,13 74:9
meee 72:18 74:10 | 64:18,24 10:00 (2) 78:20 115:20
aay 74:16,17 65:11,14,23 | 156:7,8 16th (1)
ioea 76:11 78:11 | 65:25 66:12 | 10:10 (1) 77:24
year (32) 78:21 83:6,13 | 66:1768:24 | 1:21 17 (1)
20:4,9 21:10 | 94:3,14,18,24 | 69:1871:5 | 100 (1) 133:8
29:14 53:22 | 85:16 86:9 72:17 74:9,15 | 144:24 18 (1)
93:25 68:19 | 39:5,21,22 74:19 76:13 | 100,000 (3) 133:6
93:2,7 99:6 | 99:5,597:20 | 78:1082:17 | 14:23,24 33:22 | 1842.57 (1)
108:6,23,24 | 118:4,23 82:18,20 83:6 | 10022 (1) 113:11
MI3T1 1146 | 149:11,13,13 | 83:11,18,23 | 2:13 1995 (2)
114.14 120:3,21 83:24 84:11 | 10528 (1) 108:7,24
124:12,15 123:6 85:2,23 86:8 | 2:6 1996 (2)
126:24 134:6 | yellow (1) 88:6 135:21 | 106 (1) 108:2 110:15
or 88:7 135:21 157:20 1997 (3)
139:19 | York (19) 147:19 149:7 | 11 (2) 110:16,17,18
140:14 141:2 | 4:3,.922:6,13 | 150:12,13,13 | 92:12,25 1998 (4)
ila 5:4,10 11:2 | 153:5,6,14,20 | 11/01/2022 (1) | 110:23,25
142:13,16,17 | 99:11 52:25 | 154:7,17,17 | 160:2 111:8,15
142.21 | 53:4,854:4,8 | 155:6,6 11023 (1) 1999 (2)
149:12 152:5 | 54:9 62:21 | Zuchaer's (3) | 5:11 110:21 114:4
152:5 126:12 59:6 83:9 111 (1) Ist (1)
years (22) 128:22 85:14 2:12 159:4
35:17 66:20 132-12 117 (1)
68:23 78:10 140-17 0 158:7 2
90:10 109:7 00000445612... | 12 (2) 2 (21)
109:24 Z 106:20 69:9 112:4 6:19,19 48:20
110:19 114:3 | Z.&Z (1) 12:56 (2) 48:22,25 49:4
114:24 149:9 1 74:9.20 49:9,11 89:23
115:17,15,18 | zoning (5) 1(7) 125 (1) 105:20

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1

Filed 01/30/23

Page 190 of 191

November 1, 2022

[Page 190]
134:10,12,17 | 2008 (3) 23 (1) 3:3 139:10,16
136:6 139:14 | 10:14113:21 | 114:7 31st (1) 50,000 (2)
139:19 113:22 24 (2) 110:14 29:6 30:19
143:17 144:8 | 2008.22 (1) 110:16 115:4 | 335 (1) 50/50 (7)
144:16 111:10 26,000 (2) 110:23 133:16 142:24
146:25 2009 (2) 111:24 112:15 | 350 (3) 143:2,9,13,13
157:11 112:9 113:24 | 26,759 (1) 28:17,20 29:24 | 143:14

2:00 (1) 2010 (10) 112:12 37 (1) 504 (13)

105:18 19:19 92:12,24 | 28 (3) 157:24 12:17 14:12,19

2:43 (1) 111:24 112:4 | 111:23,24 14:25 15:18

73:20 112:11114:5 | 112:11 4 15:20,25 16:8

20 (2) 114:6,7 124:9 | 29 (1) 4 (5) 23:6,6 24:12

117:21 160:24 | 2011 (8) 110:21 46:10 87:4,9 24:13 124:13

20-page (1) 19:19,21 21:10 | 29,336 (1) 87:13 157:15 | 504-type (1)

95:11 55:2 92:12 116:18 40 (1) 22:13

200 (2) 114:12,15 29,636.33 (1) | 105:16 504s (1)

33:24 34:2 124:11 115:13 400 (2) 23:16

200,000 (7) 2012 (3) 28:17,17

48:15 116:12 | 55:3 114:16,24 3 400,000 (2) 6
118:2,20,21 | 2013 (3) 3 (14) 28:20 29:24 6 (6)

118:24 119:9 | 115:18,20 6:23,24 7:2,5,8 | 42 (1) 70:24 71:2

2003 (4) 117:3 7:9,12 8:14 | 157:8 106:2,5 137:9

11:4,7,15 2014 (1) 67:21,24 45 (1) 157:20
12:11 115:6 72:16 73:6 86:23 60 (1)

2004 (10) 2015 (2) 75:3: 157:13 48 (1) 29:6

10:19 12:11 115:4,5 3:30 (1) 157-11 67 (1)

19:16 51:19 | 2016 (6) 155:9 480 (1) 157-13
112:14 114:4 | 54:21 55:2 3:38 (1) 2:5 6749 (1)
118:14 115:12 117:2 | 156:9 113:21
126:24,25 117:3 158:7 | 30) .

127:12 2017 (8) 41:20 82:17,18 | 5 (6) 7

2005 (4) 68:20 69:9 82:23,24 84:3 | 19:16 88:19,23 | 7 (6)

35:20 11:11 } 70:11 71:8,25 | 86:23 110:17 | 94:22 157:3 | 6:8 36:9,10
11115 78:20 115:22 | _152:17 157.17 71:2 147:15
126:21 133:6 300 (6) 50 (26) eee

111:10 112:23 | 1:21156:14 | _30:14,1731:2 | 118:2,10,15, | 36:13

2007 (14) 159:5,18 ‘| 30th (1) P20:229212-16 ff 7, 000K2)

10:14 41:24 | 2041.13 (1) | -(115:12 120:20,22 | 13:26
42:13,19,25 | 112:22 31 (6) 121°15,16,17 [7,055 (1)
47:2,791:17 |21() 108:2 110:18 122:8,8 123:4 | 112:7
113:11,11,17 | 21-CV-8921... | _113:21,21 133:16,07,18 ff 137-13
157:9 1:7 3113(d) (1) 138:22 139:9 | 7154.12 (1)

Lexitas Court Reporting

800-678-0166

Case 1:21-cv-08921-MMG Document 63-1 Filed 01/30/23 Page 191 of 191

November 1, 2022
[Page 191]

114:7 96:13,25 97:3
72 (1) 97:12
158:4 99 (5)
96:23 97:13

8 100:9 102:25
8 (5) 112:13
73:9,9 76:11 | 9th (2)

77:23 107:3 68:16 73:18
8:05 (6)
68:16,21 70:11

71:9,18,25
8:29 (1)
77:21
8:54 (3)
73:10 77:24

78:21
800 (1)

154:20
800,000 (11)
129:6,12

144:13,18

146:3,9

148:12,15,21

153:21 154:5
8160 (1)
114:17
87 (1)

157:15
88 (1)
157:17

9

9 (19)

5:10 8:13,13
67:23 68:20
70:10 71:8,18
71:23,24
72:15 73:7,12
73:16 74:8
75:3 76:24
77:20 157:13

9:30 (1)

156:7

98 (4)

Lexitas Court Reporting
800-678-0166
